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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF TEXAS
                            AMARILLO DIVISION

 BRENT RAY BREWER,                        §
               Petitioner,                §
                                          §
 v.                                       §         No. 2:15-cv-00050-Z-BR
                                          §           *CAPITAL CASE*
 LORIE DAVIS,                             §
 Director, Texas Department of            §
 Criminal Justice,                        §
 Correctional Institutions Division,      §
                     Respondent.          §

                        RESPONDENT DAVIS’S ANSWER
                          WITH BRIEF IN SUPPORT

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                                        ANSWER

        Petitioner Brent Ray Brewer was convicted and sentenced to death in Texas

  state court for the brutal murder of Robert Laminack. After the grant of federal

  habeas relief, Brewer received a new punishment hearing.           Once again he was

  sentenced to death, and he now challenges that presumptively valid sentence in this

  Court pursuant to 28 U.S.C. §§ 2241 & 2254. Brewer presents fourteen claims, and

  numerous sub-claims, in the instant petition.        Several of these allegations are

  procedurally barred, and all are meritless. In short, Brewer was not deprived of any

  constitutional right. Therefore, he is not entitled to habeas relief.

                              BREWER’S ALLEGATIONS

        The Director understands Brewer to raise the following grounds for federal

  habeas corpus relief:

        1.     Trial counsel were ineffective for failing to challenge expert
               testimony from Dr. Richard Coons regarding his future
               dangerousness.

        2.     The State failed to disclose evidence casting doubt on the
               reliability of the autopsy findings by Dr. Ralph Erdmann and
               presented false and misleading testimony; the trial court erred in
               admitting Dr. Erdmann’s testimony; and trial counsel were
               ineffective for failing to challenge the evidence.

        3.     Appellate counsel was ineffective for failing to challenge the trial
               court’s admission of transcripts and evidence from the first trial.

        4.     Trial counsel were ineffective for failing to conduct an
               investigation into Brewer’s prior bad acts and failed to present
               evidence that he had never been the subject of an investigation
               while on death row.

        5.     Trial counsel were ineffective for failing to investigate and
               present mitigating evidence.

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        6.    Trial counsel were ineffective for failing to investigate and
              present evidence that Kristie Nystrom had a larger role in the
              crime.

        7.    The State suppressed favorable evidence; the trial court erred by
              failing to order the disclosure of the evidence; and trial counsel
              were ineffective for failing to request or obtain the evidence.

        8.    The State presented false and misleading testimony regarding
              conditions of confinement in prison; trial counsel were ineffective
              for failing to present evidence rebutting this testimony; and
              appellate counsel was ineffective for failing to raise this issue.

        9.    His conviction and sentence are unconstitutional due to the
              cumulative errors by trial counsel, the State, and the trial court.

        10.   He was tried under an unconstitutional statutory scheme; the
              trial court erred in denying his motion declaring Texas Code of
              Criminal Procedure Article 37.0711 unconstitutional; and
              appellate counsel was ineffective for failing to raise this claim.

        11.   The trial court erred in failing to excuse unqualified jurors from
              the venire.

        12.   The trial court erred by allowing jurors who should have been
              excluded for cause to remain on the jury.

        13.   The State’s failure to provide him with a new trial on both guilt-
              innocence and punishment as required by Texas law at the time
              of the offense violated the Ex Post Facto Clause.

        14.   His execution after a prolonged stay on death row constitutes
              cruel and unusual punishment.




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                              STATEMENT OF THE CASE

         In 1991, Brewer was convicted and sentenced to death for murdering Robert

  Doyle Laminack while in the course of committing and attempting to commit robbery.

  CR1 1, 253, 289–94.1 The Texas Court of Criminal Appeals (CCA) affirmed Brewer’s

  conviction and sentence. Brewer v. State, No. 71,307, slip op. (Tex. Crim. App. June

  22, 1994) (not designated for publication), cert. denied, 514 U.S. 1020 (1995). A state

  habeas application was subsequently denied.           Ex parte Brewer, No. 46,587-01,

  50 S.W.3d 492 (Tex. Crim. App. Jan. 31, 2001), cert. denied, 534 U.S. 955 (2001).

         Brewer sought federal habeas relief, and this Court conditionally granted

  Brewer relief pertaining to the punishment phase of his trial. Brewer v. Dretke,

  No. 2:01-cv-0112-J, 2004 WL 1732312 (N.D. Tex. Aug. 2, 2004). The Fifth Circuit

  reversed this Court’s grant of habeas relief. Brewer v. Dretke, 442 F.3d 273 (5th Cir.

  2006). The United States Supreme Court then reversed the Fifth Circuit’s decision.

  Brewer v. Quarterman, 550 U.S. 286 (2007).

         Brewer was re-tried on punishment in 2009 and again sentenced to death.

  2 CR2 602–05, 610–14; 25 RR 239–40.              The CCA affirmed Brewer’s sentence.




  1      “CR1” refers to the clerk’s record of pleadings and documents filed with the court
  during Brewer’s first trial in 1991, followed by page number(s). “CR2” refers to the clerk’s
  record of pleadings and documents filed with the court during Brewer’s second trial in 2009,
  preceded by volume number and followed by page number(s). “RR” refers to the state record
  of transcribed trial proceedings from Brewer’s 2009 trial, preceded by volume number and
  followed by page number(s). “SHCR” refers to the state habeas record from Brewer’s state
  habeas proceeding following his 2009 re-trial, preceded by volume number and followed by
  page number(s). “SHH” refers to the record of the state habeas hearing, preceded by volume
  number and followed by page number(s). “SHCR2” refers to the state habeas record from
  Brewer’s second state habeas proceeding after his re-trial, followed by page number(s).

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  Brewer v. State, No. AP-76,378, 2011 WL 5881612 (Tex. Crim. App. Nov. 23, 2011)

  (not designated for publication).

        Brewer then filed a state habeas corpus application challenging his re-trial.

  2 SHCR 63. Following an evidentiary hearing, the trial court submitted findings of

  fact and conclusions of law recommending that Brewer be denied habeas relief.

  10 SHCR 3070–169.       The CCA adopted most of the trial court’s findings and

  conclusions and denied Brewer habeas corpus relief. Ex parte Brewer, No. 46,587-02,

  2014 WL 5388114 (Tex. Crim. App. Sep. 17, 2014) (not designated for publication).

        Brewer filed a federal habeas petition in this Court, Docket Entry (DE) 19 &

  31, and the Director answered, DE 40. Brewer then filed a motion to stay and abate

  these proceedings to return to state court to exhaust various claims.       DE 53.

  Ultimately, this Court granted the motion. DE 67 & 76. Brewer returned to state

  court and filed a subsequent habeas application. See SHCR2. The CCA dismissed

  the application as an abuse of the writ without considering the merits. Ex parte

  Brewer, No. 46,587-03, 2019 WL 5420444 (Tex. Crim. App. Oct. 23, 2019) (not

  designated for publication); DE 93. On March 30, 2020, Brewer filed his second

  amended petition in this Court. DE 103. Brewer has also filed a motion for discovery

  and an evidentiary hearing, which is currently pending. DE 94.




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                              STATEMENT OF FACTS

  I.    State’s Evidence

        A.     Facts of the crime

        Brewer met Kristie Nystrom at a state hospital in Big Spring, Texas. 22 RR

  173–74; 25 RR 65–67. The two developed a relationship and met up in Amarillo when

  they were discharged. 22 RR 176–77. Ultimately, they moved to an apartment leased

  by Michelle Christian and Charlotte Clarkson. 21 RR 251–52; 22 RR 186; 25 RR 70.

  However, they were not paying the girls any money for rent. 21 RR 253; 22 RR 189–

  90. Christian subsequently found an eviction notice on her door stating that Brewer

  and Nystrom had to vacate the premises. 21 RR 255–56; 25 RR 72. One night, Brewer

  suggested “rolling” someone, which meant he and Nystrom would rob someone and

  take the person’s money and/or car. 21 RR 259–61, 266–67; 22 RR 191–94.

        On the night of April 26, 1990, Brewer and Nystrom first attempted to carry

  out their plan when Nystrom approached Ivy Craig outside of Mr. Wonderful’s Bar.

  21 RR 109–11; 22 RR 195–96; 25 RR 74. Nystrom asked Craig if she could give her

  and Brewer a ride. 21 RR 109–11; 22 RR 196–97; 25 RR 75. Craig was suspicious of

  the two, told Nystrom “no,” got in her car, and left. 21 RR 110–16; 22 RR 197; 25 RR

  75. The pair then spotted Mr. Laminack in an alley outside of his business, Amarillo

  Flooring Company. 22 RR 198–99; 25 RR 77. According to Nystrom, Brewer put his

  arm around her, approached Mr. Laminack, and asked him if he could give them a

  ride to the Salvation Army because his girlfriend was cold and they needed a place to

  stay. 22 RR 198–99. Mr. Laminack—by all accounts a compassionate and empathetic



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  man who enjoyed helping others—told Brewer and Nystrom to get in his truck and

  he would take them to the Salvation Army. 22 RR 201; 25 RR 77–78.

        Mr. Laminack went inside, told his daughter Anita that he was taking two kids

  to the Salvation Army, and would be back shortly. 21 RR 127–30; 22 RR 201. He

  then got in his truck and drove off. 21 RR 133, 135–36; 22 RR 202. Nystrom was in

  the front passenger seat, and Brewer was in the back seat toward the middle. 21 RR

  134–35; 22 RR 201–02; 25 RR 78. Soon after Mr. Laminack began to drive, Brewer

  reached around Mr. Laminack and started stabbing him in his neck with a butterfly

  knife. 22 RR 206; 25 RR 79, 154–55. Mr. Laminack begged for his life, stating:

  “[P]lease don’t kill me, boy. Please don’t kill me.” 22 RR 95, 208. Brewer told

  Mr. Laminack to give Nystrom his wallet and keys. 22 RR 209; 25 RR 156, 158.

  Mr. Laminack gave Nystrom his wallet and tried to give her the keys but became

  unconscious. 22 RR 210. The truck stopped, and Brewer grabbed the keys. 25 RR

  81, 160–61, 169. Brewer and Nystrom got out of the truck and fled, but Brewer

  dropped his knife at the scene. 21 RR 163; 22 RR 211; 25 RR 81, 85, 162, 164.

        The two ran back to Christian’s apartment. 22 RR 212; 25 RR 85. Christian

  saw they were both covered in blood. 21 RR 271–73. They told Christian that Brewer

  cut his hand while they were trying to climb a chain-link fence. 21 RR 272–73. In

  fact, Brewer had badly cut his hand on his own knife while attacking Mr. Laminack.

  25 RR 85–86, 164, 167. After they changed clothes, a friend of Brewer’s, Stephen

  Callen, took them to Palo Duro Canyon Hospital so that Brewer could get stitches.

  21 RR 275–76; 22 RR 69–71, 213; 25 RR 86–87. While there, Nystrom told Callen



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  that Mr. Laminack said “please don’t kill me.” Callen said that Brewer smirked and

  giggled in response. 22 RR 72. After Brewer received the stitches, he and Nystrom

  gathered their possessions, bought bus tickets with the money they took from

  Mr. Laminack’s wallet, and traveled to the Dallas area. 21 RR 277–79; 22 RR 214–

  17; 25 RR 87–89. They were arrested a few weeks later. 22 RR 218–19.

        The autopsy showed that Mr. Laminack died due to hemorrhaging caused by

  sharp force injuries in the neck region. 23 RR 32–33. Brewer struck Mr. Laminack’s

  left carotid artery and right internal jugular vein. Mr. Laminack also sustained

  defensive wounds to his left hand and sharp force injuries to his neck and right

  shoulder. 23 RR 35–37. Blood found on the knife recovered at the crime scene was

  consistent with that from both Mr. Laminack and Brewer. 21 RR 242–44. Brewer’s

  blood and fingerprints were also found inside Mr. Laminack’s truck. 21 RR 210–11,

  225. At trial, Brewer admitted his guilt for the murder. 25 RR 70–89, 150–69.

        B.    Additional evidence of future dangerousness

        The State presented the transcribed testimony from Brewer’s first trial of

  Richard Lepicier, Deputy Sheriff of Monroe County, Mississippi. In July of 1989,

  Lepicier answered a family disturbance call at the home of Albert Brewer, Brewer’s

  biological father. 22 RR 41. Lepicier found that Albert was bleeding and could not

  talk. Albert and Brewer’s mother got into an argument, and Brewer got a broom and

  hit Albert, knocking him to the floor. While Albert was on the floor, Brewer kept

  hitting and kicking him. 22 RR 42. Albert was bleeding from the nose, mouth, and

  side of the head, and blood was on the floor and wall. 22 RR 44–45. During cross-



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  examination, Lepicier stated the incident occurred because Albert had been beating

  Brewer’s mother. 22 RR 48–49. No charges were filed in the case, and the Sheriff’s

  Office had come to the home on several occasions because Albert was drunk and the

  family was fighting. 22 RR 50–51, 53. On re-direct, Lepicier stated that on the night

  of the incident and even the next morning, Albert was not capable of signing a

  complaint affidavit. 22 RR 54. Indeed, Albert was hospitalized for a considerable

  period of time and developed muscle control and speech problems. 22 RR 56–57.

        Henry Bargas, a staff photographer for the Amarillo Globe News in 1990,

  testified that he took a photograph of Brewer while he was coming out of the court

  house and getting into a police vehicle. 22 RR 60–61. The photograph showed Brewer

  gesturing and giving Bargas “the finger.” 22 RR 63–64; SX 202.

        Aimee Long testified that she dated Brewer when they were both living in

  Mississippi. 22 RR 76–77. At one point, she decided to end the relationship. 22 RR

  77. Afterwards, Brewer threatened to kill Aimee on more than one occasion. 22 RR

  80. In May, toward the end of the school year, she got into an argument with Brewer

  about their former relationship, and Brewer picked her up and shoved her into some

  lockers. She felt a stabbing sensation in between her shoulder blades and sought

  medical treatment. 22 RR 81. Tests showed that she had three dislocated discs in

  her back, and she lost the use of her right arm for a while. 22 RR 82. Brewer also

  threatened Aimee’s new boyfriend, and her fears intensified after this assault. 22 RR

  83–84, 86. At one point, Aimee and her boyfriend went over to Brewer’s house to




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  retrieve some of her possessions, but she was not successful. Brewer and his family

  were there, and it was a very unfriendly meeting. 22 RR 86–87.

         Kevin Lewis testified that he met Brewer in April of 1990 while they were both

  in the Randall County Jail. 22 RR 92. He overheard a conversation between Brewer

  and two others. 22 RR 94. Brewer said he was there for murder and that the murder

  occurred during a robbery.     Brewer stated that as he was stabbing the victim,

  Mr. Laminack said, “[P]lease don’t kill me, boy. Please don’t kill me.” 22 RR 95.

  When Brewer made this statement, he showed no emotion. 22 RR 103.

         The State next presented the testimony from Kathleen Bailey from Brewer’s

  first trial. Bailey was the assistant principal at Brewer’s middle school in Cedar Hill,

  Texas. 22 RR 137–38. She had problems with Brewer during his seventh-grade year

  because he threatened a student with a knife. 22 RR 138–39, 141. He also injured

  another child in a fight. 22 RR 139. As a result, Brewer was sent to an alternative

  school for a few days. 22 RR 140. She further said Brewer had a temper and

  displayed mood swings. 22 RR 142. Bailey described another incident where Brewer

  got angry, threatened a teacher, and was made to leave the class. 22 RR 142–43.

         Ronald Mosher, a police officer in Naples, Florida, testified that on January 4,

  1989, he encountered Brewer in a car owned by John and Ammy Greenman. 22 RR

  232–36. The Greenmans were well known to the police and had threatened to harm

  officers.   Brewer was driving the car because the Greenmans’ licenses were

  suspended. 22 RR 233–35. When Mosher approached, he saw Brewer in the driver’s

  seat, Ammy in the passenger seat, and a knife between the driver’s seat and the



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  center console. 22 RR 235–37. Brewer was arrested and pled guilty to possession of

  a concealed weapon. 22 RR 237–38. Brewer, however, was cooperative. 22 RR 239.

        Russell Pinckard, a correctional officer on the Polunsky Unit, testified that he

  approached Brewer one day and found that he had cut his wrists with a razor blade.

  23 RR 73–74, 76–77, 79. Brewer said he had “cut too deep,” but Pinckard said that

  Brewer had just scratched his wrists. 23 RR 78. As a result, they took Brewer to the

  infirmary. 23 RR 79. On cross-examination, Pinckard testified that Brewer had

  never given him any problems, and he was not aware of Brewer causing any other

  guards problems. 23 RR 86.

        Stephen Bryant, a captain on the Polunsky Unit, said that while on death row,

  Brewer had never taken the steps to be a work-capable offender. 22 RR 103; 23 RR

  88–89. Thus, Brewer had been in administrative segregation the whole time. 23 RR

  104. Brewer’s medical records document the above suicide attempt but showed that

  he had no contact with the mental-health department apart from routine rounds.

  23 RR 106. Shortly after Brewer’s suicide attempt, he was sent to the University of

  Texas Medical Branch, out-patient mental-health services. 23 RR 107–08. The

  records indicated that Brewer tried to commit suicide because of frustration with his

  case and being sent back for re-sentencing.      23 RR 109–10.     However, Brewer

  presented as cheerful and denied any suicidal thoughts or hallucinations. 23 RR 110.

  Further, Brewer’s classification folder showed that he had a few disciplinary

  violations, one for possession of marijuana, which is a major offense because it is a

  violation of state law, and Brewer had to breach numerous security measures to



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  obtain it. 23 RR 111–12. On cross-examination, Bryant testified that Brewer is

  classified as a level one offender, which means he is among the best-behaved

  offenders on death row. 23 RR 115. Brewer’s disciplinary records showed one offense

  for possession of two extra state-issued towels, the marijuana possession charge,

  using vulgar language toward a guard, and refusing to have his hair cut. 23 RR 122–

  24. Those are the extent of Brewer’s violations. 22 RR 125.

        A. P. Merillat, investigator for the special prosecution unit out of Huntsville,

  testified generally about the differences in security measures between general

  population and death row, the differences in ability to interact with others between

  general population and death row, and classification procedures. 23 RR 140–63. He

  said that death row is the most secure area of the Texas prison system and that there

  are more opportunities to commit criminal acts of violence in general population.

  23 RR 162–63. However, he conceded that inmates on death row do commit criminal

  acts of violence and that he never recalled investigating Brewer. 23 RR 164–66.

        Dr. Richard Coons, a psychiatrist, testified about Brewer’s risk for committing

  future acts of violence. The prosecution posed a hypothetical to Dr. Coons. He was

  asked to assume facts that mirrored those presented by the State against Brewer,

  and the State asked him if there is a probability that Brewer would commit criminal

  acts of violence in the future. 23 RR 212–18. Dr. Coons stated, “There is that

  probability, which I believe to be more likely than not.” 23 RR 218. Dr. Coons based

  his prediction on several factors, specifically Brewer’s history of violence; his attitude

  about violence; the crime itself; Brewer’s personality; Brewer’s conscience; and where



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  Brewer will be housed in prison. 23 RR 219–23. On cross-examination, the defense

  elicited several concessions from Dr. Coons, including that he had no specific data to

  support his conclusion, that he rarely followed up on inmates to determine if his

  predictions were accurate, and that he testified in 1991 that Brewer was at risk to

  commit future acts of violence. 23 RR 224–33.

  II.   Defense’s Evidence

        The defense first presented John Edens, an associate professor of psychology

  at Texas A&M University and licensed clinical psychologist. 24 RR 11–13. He

  conducted extensive research into the accuracy           of   predictions of future

  dangerousness. 24 RR 15–22. A large study he conducted examining acts of violence

  by inmates sentenced to death showed that 8 of 155, or five percent, had committed

  the prison system’s definition of a serious assault. 24 RR 28. He stated that much of

  the research does not support the argument that inmates convicted of murder pose a

  future danger. In fact, studies showed that the rates of subsequent murders by people

  in prison for murder are lower than others in the general population. 24 RR 32. He

  further testified that the type of crime committed is not necessarily a good indicator

  of how people behave once they are in prison. 24 RR 34–35.

        Dr. Edens then questioned Dr. Coons’s methodology. Specifically, Dr. Coons’s

  methods are not “an accurate means of identifying individuals who are going to be

  violent in prison in the future . . . . Reliance on clinical intuition and subjective

  impressions about someone within the field of mental health are generally not very

  good ways of making predictions about people . . . .” 24 RR 36. Although Dr. Edens



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  did not believe that risk assessment is nonsense, he believed Dr. Coons’s statements

  lacked credibility and support. 24 RR 68–69.

        Two Randall County officers, Scott Castleberry and Debbie Unruh, testified

  that Brewer had never given them any problems or committed any disciplinary

  violations. 24 RR 74–76, 105–07. Two TDCJ death-row guards, Jared Wilson and

  Kyle Rains, testified that acts of violence do occur on death row. 25 RR 19–22, 29–

  32. Wilson stated that he did not recall ever having to write Brewer up for any

  disciplinary infractions. 25 RR 22–23.

        Brewer’s mother Karen, testified that he was good at sports as a child. 24 RR

  80. But he developed scoliosis and had to have a back operation, which precluded

  him from engaging in any contact sports. 24 RR 83–84. Brewer had an “extreme

  change” at that point; the physical ailment “just flipped his world over.” 24 RR 84.

  Karen and Albert got back together when Brewer was about fifteen years old, and

  Brewer started to have more interaction with Albert. The family moved to Hamilton,

  Mississippi, which was a bad decision on Karen’s part. Brewer tried to develop a

  relationship with his father, but Albert “was mean to him, so abusive.” 24 RR 85.

        Regarding the incident where Brewer assaulted Albert, the issue started with

  a dispute about Albert not depositing checks into Karen’s account. Brewer went with

  Albert to the bank, and when they got home, Brewer still had envelopes for bills

  Karen intended to pay. Brewer said, “Mom, I didn’t put these in the mailbox because

  Dad stole your check and so the money didn’t go into your account.” An argument

  ensued, and Albert said he had Karen’s money and she would not see it again. Karen



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  said she “couldn’t do this anymore,” and Albert grabbed her hair. Brewer then picked

  up a broom and hit his father in the head. Brewer had also witnessed physical

  violence between Karen and Albert on other occasions. 24 RR 86–90.

        Billie Anne Young, the daughter of Karen and Don Bartlett, told the jury that

  when Karen was married to Don, she and Brewer had a good childhood, played all

  the time, went to the park, and “did family things.” 24 RR 96–98. When Albert and

  Karen got back together, she moved with the family to Mississippi. 24 RR 99. But

  Billie Anne did not want to make the move and neither did Brewer. While in

  Mississippi, she saw fights between Albert and Brewer. She would try to avoid them

  by staying in her room, but when she came out, Albert and Brewer “would be fighting,

  in a headlock, hitting.” She recalled Albert “just beating up on [Brewer] one day.”

  Karen was also involved, but it was “more screaming and fighting.” 24 RR 100.

        Brewer was the last witness to testify.    He testified that Albert went to

  Vietnam, and when he came back, he was not the same person and abused his mom.

  They divorced as a result.   Then Karen married Don Bartlett, and they had a

  daughter, Billie Anne. 25 RR 40. Don was gone most of the time, but when he was

  home, he and Brewer did not get along. 25 RR 41. Billie Anne got most of the

  attention from Don, whereas Brewer did not get much at all. 25 RR 41–42. Don

  would often beat Brewer with a belt or extension cord. After fourth grade, Brewer

  learned Don was not his real father. 25 RR 42.

        Brewer said that his mother was there for him his entire life. However, at one

  point his mother became physically abusive toward his sister and problems developed



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  between Brewer and his mother. Karen would use Don as the disciplinarian. 25 RR

  43. As he got older, Brewer noticed that Don and his mother were not close, and they

  would often fight. 25 RR 43–44.

        As a kid, Brewer enjoyed sports and art. 25 RR 44. But he was diagnosed with

  scoliosis, and he spent several weeks in the hospital following surgery. 25 RR 45–46.

  Before the surgery, his friends were his teammates. 25 RR 47. After the surgery, he

  could not play sports, so he started hanging out with “stoner types” who smoked

  marijuana and drank alcohol. 25 RR 48. This continued throughout his teenage

  years, and he experimented “with probably everything.” 25 RR 49. He stopped doing

  his school work and got in trouble at school, namely when he brought his step-father’s

  buck knife to school. 25 RR 49–51, 54. As a result, he was sent to an alternative

  program for a few days. 25 RR 50. He would also frequently run away from home.

  25 RR 54.

        When Brewer was about fifteen, Albert came back into his life. When they first

  met up, they went to a motel room and got drunk.         Brewer also brought some

  marijuana to smoke. 25 RR 51. The more Brewer got to know Albert, the more he

  realized Albert was violent. 25 RR 52. However, Karen and Don divorced, and she

  re-married Albert.   25 RR 53–54.       When Brewer was seventeen, they moved to

  Hamilton, Mississippi. 25 RR 54. Karen and Albert were driving a truck for work at

  the time and were gone most days of the week.         In their absence, Brewer was

  responsible for his sister. 25 RR 55.




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        Brewer also testified about the incident occurring in Florida. He had run away

  from home and started spending time with the Greenmans. 25 RR 56–57. The

  Greenmans did not have a license to drive, so Brewer drove for them. On this

  occasion, they were at an apartment complex, and officers approached the car.

  Brewer rolled down the window, and the officer saw a knife between the seats.

  Brewer pled guilty to possession of the knife, and got approximately thirty days jail

  time. 25 RR 57. While in Florida, the Greenmans introduced Brewer to crack cocaine,

  and he started using the drug. 25 RR 58.

        Regarding Albert, Brewer testified that he would get mad at his mother and

  they “would all pay for that.” 25 RR 58. Albert would abuse Karen by grabbing her

  around the throat or grabbing her hair and swinging her around. Brewer also said

  that his mother’s description of the “broom incident” was accurate. 25 RR 59. Karen

  and Albert were throwing things at each other. Brewer tried to place himself between

  them and, as an excuse, picked up a broom and started sweeping up the mess on the

  floor. But then Albert jumped up from the table to grab Karen, and Brewer swung

  the broom at him. He hit Albert several times, and then either he or his mother called

  an ambulance or the police. 25 RR 60. Lepicier, who had been to the house several

  times before, came in, and Brewer told him what happened. 25 RR 61–62. On

  another occasion, Albert nearly broke Brewer’s nose with a piece of fire wood. Brewer

  went to the police, and Albert spent the weekend in jail. 25 RR 62.

        After this incident, Brewer went to Abilene to live with his grandmother.

  25 RR 62–63. He started doing drugs and drinking alcohol again, and he became re-



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  acquainted with friends who did the same. Brewer stated that he chose to do this

  and that his daily routine was “staying high.” Brewer also said that he was upset

  that his mother did not come with him to Abilene. 25 RR 64. He got “sick of it all”

  and told his grandmother in a note that he was leaving, i.e., going to commit suicide.

  25 RR 64–65. His grandmother called the authorities, and Brewer was committed to

  Big Spring State Hospital. 25 RR 65. While there, he was put into drug treatment

  and met Nystrom, with whom he developed a relationship. 25 RR 65–67. He left the

  hospital and came to Amarillo. By then, his mother had also moved to Amarillo.

  25 RR 68. Brewer started using drugs again when he met up with a friend, Guy

  Blackwell. And a few days after he arrived in Amarillo, he met up with Nystrom.

  25 RR 68–69. He and Nystrom stayed with Blackwell for a few weeks but left because

  he could not pay rent. Then they moved to Christian’s apartment. 25 RR 69–70.

         Brewer then testified about the events leading up to the crime, the crime

  itself, and the aftermath. 25 RR 70–81, 85–89, 151–69. He admitted to murdering

  Mr. Laminack and stated that Mr. Laminack did nothing to provoke him. 25 RR 82–

  83. Regarding Mr. Laminack’s family, Brewer said that he did not know at the time

  how much he had hurt them. 25 RR 83. “I just – I know there’s no way I can fix this.

  I can’t unhurt them. That’s really all I can think of when they testified was that I

  had no concept of who – that they were a big family and all, like I said. And I took

  his life for no reason and there’s no excuse.” 25 RR 84.

        After Brewer was originally convicted and sentenced to death, he was sent to

  the Ellis Unit, which used to house death row and is more like general population



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  than Polunsky because multiple inmates could recreate at the same time. 25 RR 89–

  91. He also said that he had witnessed violence on Ellis and Polunsky several times.

  25 RR 94. He stated that he had tried to stay out of trouble as much as possible, but

  the disciplinaries and his suicide attempt are true. 25 RR 95, 99–101.

                               STANDARD OF REVIEW

        “The statutory authority of federal courts to issue habeas corpus relief for

  persons in state custody is provided by 28 U.S.C. § 2254, as amended by the

  Antiterrorism and Effective Death Penalty Act of 1996 (AEDPA).” Harrington v.

  Richter, 562 U.S. 86, 97 (2011). AEDPA “requires a state prisoner seeking federal

  habeas relief first to ‘exhaus[t] the remedies available in the courts of the State.’”

  Kernan v. Hinojosa, 136 S. Ct. 1603, 1604 (2016) (per curiam) (alteration in original).

  State court adjudication, in turn, requires review under § 2254(d). Richter, 562 U.S.

  at 98–99. This section “imposes a highly deferential standard of review for evaluating

  state court rulings and demands that state court decisions be given the benefit of the

  doubt,” Hardy v. Cross, 565 U.S. 65, 66 (2011) (per curiam) (quotation omitted), and

  “is limited to the record that was before the state court.”      Cullen v. Pinholster,

  563 U.S. 170, 181 (2011).

        Under § 2254(d), relief may not be granted unless the state court adjudication

  (1) “‘was contrary to’ federal law then clearly established in the holdings of” the

  Supreme Court, (2) “‘involved an unreasonable application of’ such law,” or (3) “‘was

  based on an unreasonable determination of the facts’ in light of the record before the




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  state court.”     Richter, 562 U.S. at 100 (quoting § 2254(d)(1)–(2)) (citing

  (Terry) Williams v. Taylor, 529 U.S. 362, 412 (2000)).

        A state court decision is contrary to clearly established federal law if it “applies

  a rule that contradicts the governing law set forth in [the Supreme Court’s] cases” or

  confronts facts that are “materially indistinguishable” from relevant Supreme Court

  precedent yet reaches an opposite result. (Terry) Williams, 529 U.S. at 405–06. A

  state court unreasonably applies clearly established federal law if it correctly

  identifies the governing Supreme Court precedent but unreasonably applies it to the

  facts of a particular case. Id. at 407–09. To analyze unreasonable application, a

  federal court “must determine what arguments or theories supported or . . . could

  have supported[] the state court’s decision[] and then it must ask whether it is

  possible fairminded jurists could disagree that those arguments or theories are

  inconsistent with the holding in a prior decision of [the Supreme] Court.” Richter, 562

  U.S. at 102. Thus, “a state court’s determination that a claim lacks merit precludes

  federal habeas relief so long as fairminded jurists could disagree” on the correctness

  of the state court’s decision. Id. at 101 (quotation omitted).

        Further, it is the state court’s “ultimate decision” that is to be tested for

  unreasonableness and not every jot of its reasoning. Neal v. Puckett, 286 F.3d 230,

  246 (5th Cir. 2002) (en banc). Indeed, state courts are presumed to “know and follow

  the law.” Woodford v. Visciotti, 537 U.S. 19, 24 (2002). And, even if the state court’s

  decision lacks reasoning, § 2254(d) applies and must be overcome by the inmate.

  Richter, 562 U.S. at 98.



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         AEDPA also provides that state court factual findings “shall be presumed to

  be correct” unless an inmate carries “the burden of rebutting the presumption of

  correctness by clear and convincing evidence.” § 2254(e)(1). “The presumption of

  [factual] correctness not only applies to explicit findings of fact, but it also applies to

  those unarticulated findings which are necessary to the state court’s conclusions of

  mixed law and fact.” Valdez v. Cockrell, 274 F.3d 941, 948 n.11 (5th Cir. 2001).2

  I.     Evidence Barred by Pinholster

         On state habeas review, Brewer included as exhibits the following affidavits,

  reports, and interviews3:

         ● Dr. John Edens’s affidavit re: re-sentencing hearing (July 9, 2012):
         3 SHCR 475–81
         ● Dr. John Edens’s affidavit re: risk assessment (July 9, 2012): 3 SHCR
         489–98
         ● Frank Aubuchon’s affidavit (July 16, 2012): 4 SHCR 862–70


  2       Brewer argues that “the state court’s order denying [his habeas] claims was a
  verbatim adoption of a lengthy proposed order written by Respondent’s attorneys” and, thus,
  should not be afforded AEDPA deference. DE 103 at 8. Although Brewer “acknowledges that
  the Fifth Circuit has declined to extend less AEDPA deference to state court factual findings
  where those findings are verbatim adoptions of proposed orders written by the State,” he
  states that the Supreme Court has questioned this practice. Id. at 8–9 (citing Jefferson v.
  Upton, 560 U.S. 284, 293–94 (2010)). In Jefferson, the Court recognized that it had
  sanctioned a lower court’s verbatim adoption of the findings submitted by a prevailing party
  but noted that it had since been critical of the practice. 560 U.S. at 293–94 (citing Anderson
  v. City of Bessemer City, N.C., 470 U.S. 564, 572 (1985) (“even when the trial judge adopts
  proposed findings verbatim, the findings are those of the court and may be reversed only if
  clearly erroneous.”)). Nevertheless, Jefferson is easily distinguishable. There, the Court was
  concerned because the judge had solicited the State’s proposed findings ex parte and did not
  provide the opposing party an opportunity to criticize the findings or to submit their own.
  560 U.S. at 294. Nothing similar transpired in Brewer’s case. Further, at no point did the
  Court state that it was overturning Anderson or that verbatim adoption was per se
  unacceptable. And as Brewer recognizes, the Fifth Circuit has rejected his argument.
  Hudson v. Quarterman, 273 F. App’x 331, 335 (5th Cir. 2008) (rejecting assertion that
  deference was not required because state court adopted respondent’s proposed findings and
  conclusions) (citing Trevino v. Johnson, 168 F.3d 173, 180 (5th Cir. 1999)).

  3      This does not include all exhibits Brewer submitted with his application.

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           ● Pat Kelly’s affidavit re: Dr. Erdmann (April 23, 1992): 4 SHCR 982–
           83
           ● Dr. Lloyd White’s report (May 1, 1997): 4 SHCR 988–90
           ● Dr. Lloyd White’s affidavit (July 17, 2012): 4 SHCR 992–97
           ● Dr. Erdmann’s autopsy report (April 27, 1990): 4 SHCR 1000–07
           ● Kent Birdsong’s affidavit (July 9, 2012): 4 SHCR 1040–41
           ● Kevin Rush’s affidavit (April 3, 1992): 4 SHCR 1046–49
           ● Darrell Dewey’s report to Tommy Turner (June 5, 1992): 4 SHCR
           1066–101
           ● Tommy Turner’s affidavit (July 17, 2012): 4 SHCR 1183–85
           ● Mike Roberts’s affidavits (July 13, 2012 & Dec. 11, 1997): 4 SHCR
           1187–89
           ● Donald Wayne Bartlett’s affidavit (July 8, 2012): 5 SHCR 1441–45
           ● Jessie Ford’s affidavit (July 9, 2012): 5 SHCR 1447–49
           ● Rob Cowie’s interview with Karen Brewer (April 10, 2008): 5 SHCR
           1451
           ● Billie Anne Young’s affidavit (July 9, 2012): 5 SHCR 1453–64
           ● Brenda Brewer’s affidavit (July 6, 2012): 5 SHCR 1466–69
           ● Karen Brewer’s interview (Dec. 20, 1995): 5 SHCR 1471–73
           ● Susan Brewer’s affidavit (July 9, 2012): 5 SHCR 1475–80
           ● Floyd Israel Brewer’s affidavit (July 9, 2012): 5 SHCR 1482–86
           ● Dane Stovall’s affidavit (July 8, 2012): 5 SHCR 1488–89
           ● Leona Gill’s affidavit (July 6, 2012): 5 SHCR 1491–94
           ● John Rich’s affidavit (July 8, 2012): 5 SHCR 1496–97
           ● Lawrence Renner’s affidavit (July 6, 2012): 5 SHCR 1521–26
           ● Stephen Callen’s affidavit (April 27, 1990): 5 SHCR 1528–29
           ● Stephen Callen’s affidavit (May 1, 1990): 5 SHCR 1531–32
           ● Stephen Callen’s affidavit (Aug. 13, 1997): 5 SHCR 1534–36
           ● Stephen Callen’s affidavit (Feb. 25, 1991): 5 SHCR 1538–40
           ● Juror Michelle Elliot’s affidavit (July 18, 2012): 5 SHCR 1544–45

           Once in federal court, Brewer attached to his petition the following

  declarations and exhibits, all of which are new and were not considered by the state

  court:

           ● E-mail from investigator Rob Cowie to defense counsel (May 15, 2009):
           DE 19-4 at 158–59
           ● Anthony Odiorne’s declaration (July 31, 2015): DE 19-4 at 160–65
           ● Rob Cowie’s declaration (July 31, 2015): DE 19-5 at 166–68
           ● Billie Anne Young’s declaration (July 28, 2015): DE 19-5 at 168–76
           ● Donald Wayne Bartlett’s declaration (July 16, 2015): DE 19-5 at 177–
           80

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         ● Linda Belz’s declaration (July 13, 2015): DE 19-5 at 181–83
         ● Brenda Brewer’s declaration (July 28, 2015): DE 19-5 at 184–85
         ● Corrie Brewer’s declaration (July 30, 2015): DE 19-5 at 186–87
         ● Faye Brewer’s declaration (July 28, 2015): DE 19-5 at 188–90
         ● Raymond Karl Ford’s declaration (July 14, 2015): DE 19-5 at 191–93
         ● Leona Gill’s declaration (July 28, 2015): DE 19-5 at 194–95
         ● Erik Gravely’s declaration (July 16, 2015): DE 19-5 at 196–97
         ● Kevin Lewis’s declaration (July 22, 2015): DE 19-5 at 198–99
         ● Aimee Long’s handwritten statement (June 16, 2015): DE 19-5 at
         200–02
         ● Shannon Minnick’s declaration (July 9, 2015): DE 19-5 at 203–05
         ● Ronald Mosher’s declaration (July 7, 2015): DE 19-5 at 206
         ● Kristie Nystrom’s declaration (July 16, 2015): DE 19-5 at 207–08
         ● Ammy Valles’s declaration (July 6, 2015): DE 19-5 at 209
         ● Shane Phelps’s declaration (Nov. 30, 2015): DE 32-3 at 274–77
         ● Brent Brewer’s declaration (Nov. 25, 2015): DE 32-3 at 278–81
         ● Anthony Odiorne’s second declaration (Nov. 30, 2015): DE 32-3 at
         282–83
         ● Dr. Mark Cunningham’s declaration (Dec. 7, 2015): DE 32-3 at 284 to
         DE 32-7 at 470
         ● Tommy Turner’s declaration (Dec. 2, 2015): DE 32-7 at 482–84
         ● Timothy Sullivan’s declaration (July 13, 2016): DE 49-2 at 11–15
         ● Stanley Kemrer’s declaration (April 20, 2016): DE 49-2 at 19–204
         ● Albert Brewer’s military records: DE 49-1 & 49-2

         Where this new evidence is used to support any claim adjudicated on the merits

  by the state court, this Court is precluded from considering it. In Pinholster, the

  Supreme Court held that “review under § 2254(d)(1) is limited to the record that was

  before the state court that adjudicated the claim on the merits.” 563 U.S. at 181

  (emphasis added). Thus, “evidence introduced in federal court has no bearing on

  § 2254(d)(1) review. If a claim has been adjudicated on the merits by a state court, a




  4      The declarations from Kemrer and Sullivan are included in the appendices Brewer
  recently attempted to file with this Court. DE 106-3 at 544–51. But this Court denied Brewer
  leave to file these appendices. DE 107. However, Brewer also submitted these declarations
  in 2016 when he attached them as exhibits to his motion to supplement the record, which
  this Court granted. DE 49-2 at 11–20; DE 51.


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  federal habeas petitioner must overcome the limitation of § 2254(d)(1) on the record

  that was before that state court.” Id. at 185. The Fifth Circuit has adhered to this

  decision and will not review new evidence submitted to the federal court pertaining

  to claims the state court adjudicated on the merits. Nelson v. Davis, 952 F.3d 651,

  660–61 (5th Cir. 2020); Trottie v. Stephens, 720 F.3d 231, 247 (5th Cir. 2013).

        Moreover, consideration of new evidence is cabined by § 2254(e) even where

  the claim was not adjudicated on the merits. Pinholster, 563 U.S. at 186. Section

  2254(e)(2)’s bar on new evidence is triggered if the habeas petitioner “has failed to

  develop the factual basis of a claim in State court proceedings.” That opening clause

  is met if the petitioner “was at fault for failing to develop the factual bases for his

  claims in state court.” Bradshaw v. Richey, 546 U.S. 74, 79 (2005) (per curiam). The

  term “at fault” means a “lack of diligence, or some greater fault, attributable to the

  prisoner or the prisoner’s counsel.” (Michael) Williams v. Taylor, 529 U.S. 420, 432

  (2000); accord Holland v. Jackson, 542 U.S. 649, 652–53 (2004) (per curiam) (applying

  § 2254(e)(2) to an ineffective-assistance-of-trial-counsel (IATC) claim). Thus, where

  Brewer claims that ineffective assistance of habeas counsel can overcome any

  procedural default, that position, if accepted, necessarily means that state habeas

  counsel was not diligent in developing the factual basis for his IATC claim(s). And

  under (Michael) Williams and Holland, counsel’s lack of diligence means that Brewer

  “failed to develop” the claim for purposes of § 2254(e)(2). Thus, if Brewer succeeds in

  overcoming a procedural default, he will be barred from relying on new evidence,

  unless he can demonstrate the exception under § 2254(e)(2) applies, which includes a



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  showing of actual innocence. Id. Because Brewer was re-tried on punishment and

  conceded his guilt at trial, this he cannot do. Consequently, this Court is foreclosed

  from considering any new evidence.

  II.   Counsel Effectively Challenged Dr. Coons.

        Brewer alleges that trial counsel were ineffective for failing to challenge

  Dr. Coons’s testimony.    Brewer claims that counsel failed to adequately rebut

  Dr. Coons during the voir dire hearing, failed to properly object to Dr. Coons’s

  proposed testimony and preserve error for appeal, and failed to challenge Dr. Coons’s

  testimony when he testified before the jury and rebut his testimony with that from

  another expert. Brewer also claims that the trial court’s admission of Dr. Coons’s

  testimony was erroneous. DE 103 at 11–36. For the reasons addressed below, his

  claims must be denied.

        A.     State court findings

        The State court issued the following findings pertaining to Brewer’s claims:

        1.     In Claim One (A), [Brewer] contends that trial counsel was
        ineffective for failing to effectively challenge Dr. Richard Coons. []

        2.    The Court finds that the opinion in Coble v. State, 330 S.W.3d
        253, 270–87 (Tex. Crim. App. 2010), [finding Dr. Coons’s testimony
        erroneous] had not even been issued when this case was re-tried in 2009.

        3.     The Court finds pursuant to the November 23, 2011 unpublished
        opinion of the [CCA], trial counsel Odiorne failed to lodge a timely and
        specific objection regarding the admission of Dr. Coons’[s] testimony
        about future dangerousness at the re-sentencing trial. Thus this issue
        was not preserved for appellate review.

        4.    The Court finds, as a matter of trial strategy, trial counsel
        Odiorne and Keith reasonably concluded that it was unnecessary to
        have Dr. Edens or any other expert witness evaluate [Brewer] in order

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        to make a prediction regarding [Brewer’s] future dangerousness for the
        following reasons: 1) the possibility that the defense might open the door
        for the State to conduct an independent evaluation [2 SHH 98; 3 SHH
        164]; 2) the possibility that the defense would not have an expert witness
        to testify at the re-sentencing trial about future dangerousness if the
        evaluation resulted in a negative prediction [3 SHH 134–35]; 3) the
        possibility that the State would attack the defense expert about his/her
        future[-]dangerousness evaluation which would reflect poorly on
        [Brewer] and distract from the defense’s attack on Dr. Coons [3 SHH
        30–31]; 4) the possibility that the jury would view the defense expert in
        the same light as Dr. Coons [3 SHH 99–100]; and 5) the possibility that
        the jury would become “lost in the science” [3 SHH 26]. According to
        trial counsel Keith, the best evidence to establish that [Brewer] was not
        a future danger was the fact that [Brewer] had not engaged in any
        violent criminal activity while incarcerated in prison for approximately
        eighteen years. [3 SHH 30–31]. Accordingly the Court finds that trial
        counsel’s decision not to have [Brewer] evaluated for future
        dangerousness was reasonable and plausible in light of all the
        circumstances.

        5.     The Court finds, as a matter of trial strategy, trial counsel Keith’s
        decision to hire a psychologist (i.e. Dr. Edens) and not a psychiatrist to
        rebut Dr. Coons’[s] testimony regarding future dangerousness at the re-
        sentencing trial was reasonable and plausible in light of all the
        circumstances. According to trial counsel Keith, he chose an expert who
        would attack Dr. Coons’[s] methodology underlying his prediction that
        [Brewer] would commit criminal acts of violence in the future. [3 SHH
        30–31]. Trial counsel Keith did not want an expert who would discuss
        risk factors of future dangerousness or who would try to evaluate
        [Brewer] for future dangerousness because he believed the best evidence
        to establish that [Brewer] was not a future danger was the fact that
        [Brewer] had not engaged in any violent criminal activity while
        incarcerated in prison for approximately eighteen years. [3 SHH 26–29,
        30–32, 49–50]. In this regard, the following excerpt from Dr. Edens’[s]
        affidavit clearly shows the trial strategy behind trial counsel Keith
        hiring him as an expert in this case: “However, my recollection of the
        events surrounding the 2009 re-sentencing hearing, as well as
        Mr. Keith’s own testimony during the August 2013 evidentiary hearing
        indicate that he had limited interest in pursuing any of the lines of
        inquiry I have summarized in this affidavit, having decided that
        Mr. Brewer’s low risk for future violence would be self-evident to jurors
        based on his lack of institutional aggression during his years on death
        row. As such, it was clear to me that trial counsel’s primary view of my
        role in the case was simply for me to summarize research findings on

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        the poor predictive validity of prosecution expert witnesses such as
        Dr. Coons and not to address in any depth other issues, such as a general
        overview of how to conduct a scientifically informed risk assessment, a
        specific analysis of Mr. Brewer’s level of violence risk, or an extensive
        review of the specific flaws in Dr. Coons’[s] methodology.” [9 SHCR
        2758]. Based on the above evidence, the Court finds trial counsel Keith
        was not ineffective for hiring Dr. Edens, and not a psychiatrist, as an
        expert in this case.

        6.    The Court finds from the record that trial counsel Odiorne’s trial
        strategy in regards to the [Rule] 702 hearing was to prevent Dr. Coons
        from testifying at the re-sentencing trial by attacking his methodology.
        [2 SHH 64, 69, 255, 277]. If Dr. Coons was allowed to testify at the re-
        sentencing trial, then the trial strategy was for trial counsel Odiorne to
        attack Dr. Coons’[s] testimony and methodology on cross-examination
        and for Dr. Edens to rebut Dr. Coons’[s] testimony on direct
        examination. [2 SHH 176]; [3 SHH 17]; [7 SHCR 2012–13]. This
        strategy was reasonable and plausible in light of all the circumstances.

        7.     The Court finds, as a matter of trial strategy, trial counsel’s
        decision not to have Dr. Edens testify at Dr. Coons’[s] 702 hearing was
        reasonable for the following reasons: 1) Dr. Coons would have a preview
        of Dr. Edens’[s] testimony [3 SHH 13] and 2) Dr. Coons would be able to
        refine his testimony to minimize Dr. Edens’[s] criticism of his testimony
        [2 SHH 227]; [3 SHH 147]. Moreover, trial counsel Keith believed it was
        unnecessary for Dr. Edens to testify at the 702 hearing because the
        defense had already exposed Dr. Coons’[s] lack of methodology at such
        hearing. [3 SHH 121, 149]. This trial strategy was reasonable and
        plausible in light of all the circumstances.

        8.    The Court finds from the record that trial counsel Keith
        adequately prepared for the direct examination of Dr. Edens prior to and
        during the re-sentencing trial. [3 SHH 70, 72].

        9.     The Court finds, as a matter of trial strategy, trial counsel Keith’s
        decision not to have Dr. Edens or any other expert witness specifically
        discuss [Brewer’s] future dangerousness or all the risk factors indicating
        a likelihood for future dangerousness in front of the jury at the re-
        sentencing trial was reasonable and plausible in light of all the
        circumstances. [3 SHH 26–29, 30–32, 49–50; 100]; [9 SHCR 2758]. As
        trial counsel Keith explained at the evidentiary hearing, “...I did not
        want attacks on my own expert who might be doing a future
        dangerousness assessment, after taking on Dr. Coons and attempting to
        discredit him and then have that reflect negatively on my own client

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        who, in the end, I think was—his record is the best evidence of his lack
        of future dangerousness, and I did not want a firestorm over my own
        expert to not only blunt my attack on Dr. Coons but then to reflect poorly
        on my client.” [3 SHH 30–31]. Accordingly, the Court finds trial counsel
        Keith was not ineffective for failing to have an expert specifically discuss
        [Brewer’s] future dangerousness or all the risk factors for future
        dangerousness at the re-sentencing trial.

        10.    The Court finds, as a matter of trial strategy, trial counsel Keith’s
        failure to have Dr. Edens or any other expert witness testify about
        actuarial methods for risk assessment was reasonable and plausible in
        light of all the circumstances. Instead of focusing on different methods
        for determining future dangerousness, trial counsel Keith wanted the
        jury to focus on the fact that [Brewer] was a low risk for future violence
        because he had not committed any criminal acts of violence while
        incarcerated in prison for approximately eighteen years. Accordingly,
        the Court finds trial counsel Keith was not ineffective for failing to raise
        actuarial methods for risk assessment at the re-sentencing trial.

        11.    The Court finds from the record that trial counsel adequately
        investigated and researched Dr. Coons’[s] methodology and CV prior to
        the re-sentencing hearing. [2 SHH 53, 58–59, 62, 67, 254, 258, 260, 263,
        266].

  10 SHCR 3074–80 (emphasis in original).

        Next, the state court found that counsel effectively challenged Dr. Coons on

  cross-examination. Specifically: (1) Dr. Coons stated that he had only followed up on

  “two or three” of the fifty defendants he predicted would be a future danger;

  (2) Dr. Coons admitted to having no data to support the accuracy of his predictions;

  (3) Dr. Coons predicted at Brewer’s first trial that he would be a future danger;

  (4) during closing argument, trial counsel argued that Dr. Coons did not care about

  whether his predictions were accurate: “If you’re coming into court 50 times or

  however many it is he claims to have testified where people’s lives are on the line and

  he doesn’t even care to know if his supposed method is correct, that’s beyond the



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  pale.”; (5) during closing argument, trial counsel argued that Dr. Coons had been

  wrong about Brewer for the last eighteen years; and (6) trial counsel utilized

  Dr. Edens to challenge and refute Dr. Coons’s testimony regarding predictions of

  future dangerousness. 10 SHCR 3080–82. Thus, “[i]n light of trial counsel Odiorne’s

  cross-examination of Dr. Coons and closing argument, the Court finds that trial

  counsel Odiorne effectively challenged Dr. Coons’[s] predictions of future

  dangerousness at the re-sentencing trial.” 10 SHCR 3082. The state court also found

  that trial counsel effectively challenged Dr. Coons’s experience and credentials,

  “sufficiently established that [Brewer] did not have a record for being criminally

  violent while in prison,” and via Dr. Edens, refuted Dr. Coons’s suggestion that

  unreported prison violence is rife. 10 RR 3082–85.

        The state court then found that Brewer could not establish prejudice by

  examining the five factors addressed in Coble. 10 SHCR 3086–87; see Coble, 330

  S.W.3d at 286–87. First, the court determined that “there was ample other evidence

  (aside from Dr. Coons’s testimony) supporting a finding that there was a probability

  that [Brewer] would commit future acts of violence.” 10 SHCR 3087. The court

  pointed to the following: (1) the brutal facts of the murder and Brewer’s comments

  afterward; (2) Brewer assaulted his father; (3) Brewer assaulted and threatened his

  ex-girlfriend; (4) Brewer threatened a student with a knife in the seventh grade;

  (5) Brewer threatened a teacher in the ninth grade; (6) Brewer pled guilty to

  possessing a knife; (7) Brewer hung out with known drug users who threatened police




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  officers; and (8) Brewer was found in possession of marijuana while on death row.

  10 SHCR 3087–89.

        Second, the court found that no other psychiatric testimony was presented, but

  that this one issue was not determinative of prejudice. 10 SHCR 3089.

        Third, the state court found that Dr. Coons’s opinion was not particularly

  powerful or strong because Dr. Coons had no data regarding the accuracy of his

  predictions; out of the fifty capital offenders Dr. Coons predicted would be a future

  danger, he had followed up on only two or three to determine if his prediction was

  accurate; and Dr. Coons stated that he had no research to support his opinion that

  inmates in general population have more opportunities to commit violence than those

  on death row. 10 SHCR 3089–90.

        Fourth, the state court found that Dr. Coons’s testimony was effectively

  rebutted by Dr. Edens.       Specifically, Dr. Edens testified that (1) Dr. Coons’s

  methodology is not supported by the science and his methodology is not an accurate

  means of identifying people who will be violent; (2) rates of violence and disciplinaries

  by inmates convicted of murder are actually lower than those of inmates convicted of

  other offenses; (3) only five percent of 155 capital murderers studied committed a

  serious assault while on death row; (4) there is not a big difference between rates of

  unreported violence in prison versus reported violence; (5) his findings were

  supported by scientific articles and data; and (6) he was very familiar with the

  research in his field and used that research, including his own, to support his

  findings. 10 SHCR 3090–92.



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        Fifth, the court found that both the State and defense mentioned Dr. Coons’s

  testimony during final argument. However, “trial counsel did an effective job of

  rebutting the State’s closing argument concerning Dr. Coons and future

  dangerousness.” 10 SHCR 3092–93. Considering all these factors, the court found

  that any error in the admission of Dr. Coons’s testimony or trial counsel’s alleged

  failures in effectively challenging Dr. Coons’s qualifications and testimony did not

  deprive Brewer of a fair trial. 10 SHCR 3093.

        Finally, the state court found that Brewer’s challenge to the admissibility of

  Dr. Coons’s testimony was not cognizable on habeas review and “that the admission

  of Dr. Coons’[s] testimony did not violate the heightened reliability requirement of

  the Eighth Amendment.” 10 SHCR 3094, 3143–44. For the reasons addressed below,

  this decision is not objectively unreasonable.

        B.    The standard

        Claims of ineffective assistance of counsel are governed under the familiar

  standard enunciated in Strickland v. Washington, 466 U.S. 668 (1984). A defendant’s

  claim that he was denied constitutionally effective assistance requires him to

  affirmatively prove both that (1) counsel rendered deficient performance, and (2) his

  actions resulted in actual prejudice. 466 U.S. at 687–88, 690. Importantly, failure to

  prove either deficient performance or resultant prejudice will defeat an

  ineffectiveness claim, making it unnecessary to examine the other prong. Id. at 687.

        To demonstrate deficient performance, Brewer must show that in light of the

  circumstances as they appeared at the time of the conduct, “counsel’s representation



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  fell below an objective standard of reasonableness,” i.e., “prevailing professional

  norms.” Id. at 689–90; see also Hinton v. Alabama, 571 U.S. 263, 273 (2014) (per

  curiam) (emphasizing that the “performance inquiry must be whether counsel’s

  assistance was reasonable considering all the circumstances”) (citation omitted). The

  Court has admonished that judicial scrutiny of counsel’s performance “must be highly

  deferential,” with every effort made to avoid “the distorting effect of hindsight.”

  Strickland, 466 U.S. 689–90; Richter, 562 U.S. at 105 (“It is ‘all too tempting’ to

  ‘second-guess   counsel’s   assistance after    conviction    or adverse    sentence.’”).

  Accordingly, there is a “strong presumption” that the alleged deficiency “falls within

  the wide range of reasonable professional assistance.” Strickland, 466 U.S. at 689.

        Even if deficient performance can be established, Brewer must still

  affirmatively prove prejudice that is “so serious as to deprive [him] of a fair trial, a

  trial whose result is reliable.” Id. at 687. This requires him to show a reasonable

  probability that but for counsel’s deficiencies, “the result of the proceeding would have

  been different.” Id. at 694. A “reasonable probability” is one sufficient to undermine

  confidence in the outcome. Id. Moreover, the question in conducting Strickland’s

  prejudice analysis “is not whether a court can be certain counsel’s performance had

  no effect on the outcome or whether it is possible a reasonable doubt might have been

  established if counsel [had] acted differently.” Richter, 562 U.S. at 111 (emphasis

  added and citations omitted). Rather, “[t]he likelihood of a different result must be

  substantial, not just conceivable.” Id. at 112 (citation omitted).




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        Regarding errors at the sentencing phase of a death-penalty trial, the relevant

  prejudice inquiry is “whether there is a reasonable probability, that absent the errors,

  the sentencer [ ] would have concluded the balance of aggravating and mitigating

  circumstances did not warrant death.” Strickland, 466 U.S. at 695; Wiggins v. Smith,

  539 U.S. 510, 534 (2003); see also Neal, 286 F.3d at 241 (“Stated to the point: Is this

  additional mitigating evidence so compelling that there is a reasonable probability at

  least one juror could reasonably have determined that, because of Neal’s reduced

  moral culpability, death was not an appropriate sentence?”) (footnote omitted).

        Finally, relief is not warranted even if this Court believes Brewer has satisfied

  Strickland. Instead, Brewer is entitled to relief only if this Court concludes that the

  state court’s determination that Brewer did not satisfy Strickland is objectively

  unreasonable under § 2254(d). Richter, 562 U.S. at 101. Thus, under the AEDPA, a

  federal court’s review of a state court’s resolution of an IATC claim is “doubly

  deferential.” Pinholster, 563 U.S. at 190.

        C.     Brewer’s allegation that the trial court erred in admitting
               Dr. Coons’s testimony is procedurally defaulted.

        Precedent dictates that procedural default of a petitioner’s federal habeas

  claim occurs where the last state court to consider a claim “clearly and expressly”

  dismisses it based upon a state procedural rule that provides an adequate basis for

  denial of relief, independent of the merits. Coleman v. Thompson, 501 U.S. 722, 731–

  32 (1991). The requirements are satisfied where the court clearly indicates that its

  dismissal of a particular claim rests upon a state ground that bars relief, and that

  bar is strictly and regularly followed by the state courts. Finley v. Johnson, 243 F.3d

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  215, 218 (5th Cir. 2001). The application of an adequate and independent state

  procedural bar must be honored even if the state court has, in the alternative, reached

  the merits of the claim. Harris v. Reed, 489 U.S. 255, 264 n.10 (1989).

        Here, the state habeas court applied two procedural defaults. 10 SHCR 3094,

  3142–43. The court found that to the extent Brewer was raising a constitutional

  claim regarding the admissibility of Dr. Coons’s testimony, the claim should have

  been raised on direct appeal.5 Texas law precludes habeas relief for all record-based

  claims that are not raised on direct appeal. See, e.g., Rojas v. State, 981 S.W.2d 690,

  691 (Tex. Crim. App. 1998) (Baird, J., concurring). This bar is recognized as an

  independent and adequate procedural default. Dorsey v. Quarterman, 494 F.3d 527,

  532 (5th Cir. 2007); Busby v. Dretke, 359 F.3d 708, 719 (5th Cir. 2004). The state

  court also determined that the claim pertained to the admissibility of evidence and,

  as such, is not cognizable on state habeas review. Ex parte Ramey, 382 S.W.3d 396,

  397 (Tex. Crim. App. 2012). Indeed, it is not cognizable on federal habeas review.

  McGuire, 502 U.S. at 67; Cupit v. Whitley, 28 F.3d 532, 536 (5th Cir. 1994).

        In his prior reply, Brewer stated: “Here, the [state] court also adjudicated the

  claim on the merits—a fact the State fails to mention. It is unclear on which grounds

  the court relied.” DE 48 at 18. To the contrary, as stated, a procedural bar applies


  5      On direct appeal, Brewer did challenge the admissibility of Dr. Coons’s testimony.
  However, his challenge was premised only on state law grounds. See Appellant’s Brief on
  Appeal at 81–90. The CCA determined the claim was waived because defense counsel failed
  to properly object. Brewer v. State, 2011 WL 5881612 at *6–*8. In the instant petition,
  Brewer challenges the admission of Dr. Coons’s testimony on both state law and
  constitutional grounds. DE 103 at 18–20, 29–32. His constitutional challenge is defaulted,
  and any state law claim is not cognizable on federal habeas review. Estelle v. McGuire,
  502 U.S. 62, 67 (1991).

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  even where a state court alternatively reaches the merits. Harris, 489 U.S. at 264

  n.10; Busby, 359 F.3d at 718; Fisher v. Texas, 169 F.3d 295, 300 (5th Cir. 1999).

         Therefore, Brewer’s claim is precluded from federal habeas review unless he

  can show cause for the default and resulting prejudice, or demonstrate that the

  court’s failure to consider his claim will result in a “fundamental miscarriage of

  justice.” Coleman, 501 U.S. at 750; Busby, 359 F.3d at 718. Brewer cannot satisfy

  his burden because he does not address his default in the instant petition.6 Thus, his

  allegation about the admissibility of Dr. Coons’s testimony is procedurally barred.

         D.     Trial counsel challenged Dr. Coons during voir dire.
                Nonetheless, the trial court was going to admit his
                testimony.

         The first portion of Brewer’s claim concerns the defense’s supposed failures in

  not preventing Dr. Coons from testifying. Brewer contends that counsel failed to

  properly object, effectively challenge Dr. Coons’s voir dire, and counter Dr. Coons’s

  testimony with Dr. Edens or another expert.              Brewer also complains about the




  6       In his prior reply, Brewer stated: “The State’s Answer was its first opportunity to raise
  a procedural bar as an affirmative defense. The State is therefore wrong to say that
  Petitioner ‘cannot satisfy his burden because he does not address the default.’ This Reply is
  Petitioner’s first opportunity to address the purported bar.” DE 48 at 18 n.10. However,
  (1) the state court applied the procedural bar, not the Director, who merely pointed out its
  application, and (2) because demonstrating “cause and prejudice” is the standard for
  overcoming a default, the Director cannot respond to that argument unless the petitioner
  addresses the matter in the first place. Brewer seeks to have it both ways—by claiming he
  can only address his default in a reply, he is asserting that he is entitled to make an argument
  without the Director having an opportunity to answer. But the true error in Brewer’s
  argument now is that the instant petition is Brewer’s second amended petition after the
  Director previously answered the first, and Brewer again does not address his default. In
  other words, his “first opportunity” excuse no longer applies.


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  reliability of Dr. Coons’s testimony under Barefoot v. Estelle,7 Daubert v. Merrell Dow

  Pharmaceuticals, Inc.,8 and Coble v. State. DE 103 at 11–23.

         First, Dr. Coons’s testimony was going to be admitted, regardless of counsel’s

  actions or lack thereof. Texas law at the time of trial was “settled . . . that psychiatric

  expert opinion testimony of a defendant’s future dangerousness may be based solely

  upon hypothetical questions, without the benefit of an examination of the defendant.”

  Ward v. State, AP-74,695, 2007 WL 1492080, at *8 (Tex. Crim. App. May 23, 2007)

  (not designated for publication) (citing Cook v. State, 858 S.W.2d 467, 475 (Tex. Crim.

  App. 1993), and Pyles v. State, 755 S.W.2d 98, 118 (Tex. Crim. App. 1988)). And in

  many cases prior to Coble, including some shortly before Brewer’s re-trial, the CCA

  had not found error when the trial court overruled various objections to Dr. Coons’s

  testimony. Ramey v. State, No. AP-75,678, 2009 WL 335276, at *14 (Tex. Crim. App.

  Feb. 11, 2009) (not designated for publication); Espada v. State, No. AP-75,219, 2008

  WL 4809235, at *8–*9 (Tex. Crim. App. Nov. 5, 2008) (not designated for publication);

  Lagrone v. State, 942 S.W.2d 602, 616 (Tex. Crim. App. 1998).

         In his prior reply, Brewer argued that this argument “misses the mark”

  because the CCA “draws no distinction between pre- and post-Coble cases” and the

  defendants in some of these cases did not raise an objection to the reliability of

  Dr. Coons’s testimony. DE 48 at 9–10. He also pointed to a concession by the State

  on direct appeal that “‘under the Coble decision (if appropriate objections had been



  7      463 U.S. 880 (1983).

  8      509 U.S. 579 (1993).

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  made at trial) the trial judge would have abused his discretion in the instant case by

  admitting Dr. Coons’ testimony at the new sentencing trial.’” Id. at 9 (quoting State’s

  Brief on Appeal at 62–63). But it is Brewer’s argument that misses the mark because

  it is premised on future events, as the State also pointed out on direct appeal:

  “However, it is important to note that the Coble case had not even been decided when

  this case was tried. At the time of the instant trial, Dr. Coons’[s] testimony regarding

  future dangerousness had been successfully relied upon in other Texas capital

  murder cases.” State’s Brief on Appeal at 63.

         In his prior reply, Brewer also stated: “Since it would have been error for a

  court to admit Dr. Coons’s testimony over objection, this Court must presume that

  the trial court would have followed the law and excluded Coons.” DE 48 at 10. Based

  on the precedent following Brewer’s trial, it is likely that a proper objection regarding

  “reliability” would have led to a finding of error—harmless error, for the reasons

  discussed herein—by the CCA on direct appeal. However, the trial court cannot

  adhere to precedent that does not yet exist.9 Given the law at the time of Brewer’s

  trial and the prior CCA opinions pertaining to Dr. Coons, neither the trial court nor


  9      In his reply, Brewer asserted: “Coble did not state a new rule; it applied established
  state evidence law.” DE 48 at 9. To the contrary, even if the CCA relied on established law,
  it absolutely set new precedent regarding Dr. Coons. For instance, on direct appeal in the
  instant case, the CCA stated:

         Although we have held Dr. Coons’s methodology to be unreliable under Rule
         702, we did so solely on the basis of . . . whether Dr. Coons’s testimony properly
         applied the principles in his field. There are other psychiatrists and
         psychologists that use methodologies for assessing future dangerousness that
         differ radically from the methodology employed by Dr. Coons.

  Brewer v. State, 2011 WL 5881612, at *6 (emphasis added). Thus, Coble is an opinion specific
  to Dr. Coons, which was indeed new.

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  defense counsel could have known beforehand that the CCA would subsequently issue

  its decision in Coble.    “‘Clairvoyance is not a required attribute of effective

  representation.’” Garland v. Maggio, 717 F.2d 199, 207 (5th Cir. 1983) (quoting Cooks

  v. United States, 461 F.2d 530 (5th Cir. 1972)); see also United States v. Fields,

  565 F.3d 290, 294 (5th Cir. 2009) (“we have repeatedly held that there is no general

  duty on the part of defense counsel to anticipate changes in the law”) (internal

  quotations and citations omitted). Thus, the trial court would not have sustained any

  objections, even objections regarding “reliability,” and counsel would not have

  prevented Dr. Coons from testifying. Trial counsel even conceded on habeas review

  that the defense was not going to change the judge’s mind regarding the admissibility

  of Dr. Coons’s testimony because the judge considered him to be a qualified expert.

  2 SHH 58–59; 231–32.       Indeed, defense counsel acknowledged that the judge

  suddenly and unpredictably made his ruling while the defense was still making its

  case and then immediately let the jury back in. See 2 SHH 210–11; 23 RR 195–96.

        Second, during the voir dire, counsel forced Dr. Coons to concede the following:

  (1) he cannot predict whether a person will be a risk decades down the road; (2) he

  defines “criminal acts of violence” differently than others in his field in that he

  believes the phrase incorporates “threats” as well; (3) he has done few “follow-ups” on

  defendants to determine if his predictions have been accurate; (4) he does not trust

  the data concerning the accuracy of predictions; (5) his opinions are based on

  anecdotal evidence of conversations with prison inmates; (6) the American

  Psychiatric Association does not agree that psychiatrists should provide testimony



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  regarding future dangerousness; (7) he did not interview Brewer personally; and

  (8) he did not know if his method had been generally accepted by the scientific

  community. 23 RR 179–95.

         Brewer nonetheless contends that counsel failed to effectively challenge

  Dr. Coons’s underlying methodology during voir dire. DE 103 at 14–18. But he

  undermines his claim by pointing out what he believes are faulty statements from

  Dr. Coons on cross-examination. Id. at 16 (“Dr. Coons also asserted—in seemingly

  contradictory statements—both that the literature in question does not follow up on

  predictions, and that those who do such research have ‘bum data.’”) (quoting 23 RR

  186); id. at 17 (“When pressed further about the accuracy of his predictions, Dr. Coons

  readily admitted: ‘Can’t be certain. I have an opinion that’s quite strong, but there is

  way more violence than any of the literature that I’ve seen demonstrates.’”) (quoting

  23 RR 187); id. (“Quizzed by the defense as to whether there are ‘specific standards

  that govern how to make these predictions of future dangerousness,’ Dr. Coons was

  equivocal, stating that it is done in a variety of ways, with some people using

  ‘instruments . . . to determine the personality of the individual and so forth.’ . . . . [He]

  could not say whether his method has been generally accepted by the scientific

  community.”) (quoting 23 RR 195). Thus, Brewer is arguing that counsel’s voir dire

  performance was deficient and, simultaneously, that Dr. Coons’s testimony was

  flawed. Brewer would not be able to provide these examples if counsel did a poor job.

  His argument “is a quintessential example of attempting to have his cake and eat it




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  too.” Green v. Johnson, 46 F.Supp.2d 614, 622–23 (N. D. Tex. 1999) (rejecting habeas

  claim “[b]ecause of the ‘heads I win, tails you lose’ quality” of the claim”).

        Third, Brewer contends that trial counsel were ineffective for failing to rebut

  Dr. Coons’s voir dire testimony with that from Dr. Edens. Assuming the trial court

  would have permitted Dr. Edens to testify during voir dire, counsel provided sound

  reasons for not calling Dr. Edens: counsel did not want to give Dr. Coons a preview of

  Dr. Edens’s testimony or a chance to refine his testimony to minimize Dr. Edens’s

  criticisms. “Given the almost infinite variety of trial techniques and tactics available

  to counsel, this Circuit is careful not to second guess legitimate strategic choices.”

  Yohey v. Collins, 985 F.2d 222, 228 (5th Cir. 1993). Moreover, counsel acknowledged

  that calling Dr. Edens to the stand would not have made a difference with respect to

  the trial court’s decision to allow Dr. Coons to testify. 2 SHH 92.

        Fourth, as stated, Brewer complains about counsel’s failure to properly object

  and preserve error, repeatedly referring to Coble. DE 103 at 12, 20. Although counsel

  did not preserve error in this case regarding the reliability of Dr. Coons’s opinion,

  that in no way means that Brewer suffered prejudice as a result. Ultimately, the

  Coble court affirmed the trial court’s judgment and sentence because Coble could not

  show harm based on five other factors. 330 S.W.3d at 286–87. As shown above, the

  state court addressed each of these factors in Brewer’s case and determined that there

  was other evidence of future dangerousness; Dr. Coons’s testimony was effectively

  rebutted on cross-examination and by Dr. Edens; his testimony was not particularly

  powerful or strong; and his testimony was rebutted by the defense during closing



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  arguments. Because the CCA adopted the trial court’s findings on habeas review,

  there is not a reasonable probability that a proper challenge to Dr. Coons’s testimony

  on appeal would have resulted in reversal.

        In his prior reply brief, Brewer argued that the state court findings should not

  be afforded deference because, rather than assessing prejudice under Strickland, the

  state court focused on Coble’s “five-factor test” and employed a sufficiency-of-the-

  evidence standard. DE 48 at 11–12; see also DE 103 at 23. This argument is

  meritless. In Coble, the CCA applied a harmless-error analysis to the admission of

  Dr. Coons’s testimony, not a “sufficiency of the evidence” test. 330 S.W.3d at 280–87.

  A harmless-error test and prejudice assessment are basically no different. See Byrd

  v. Workman, 645 F.3d 1159, 1167 n.9 (10th Cir. 2011) (agreeing with its sister circuits

  that “Strickland prejudice and Brecht [v. Abrahamson, 507 U.S. 619 (1993)] harmless

  error are essentially the same standard”). Indeed, the Fifth Circuit has indicated

  that the Strickland “reasonable probability” prejudice standard is actually more

  demanding than a harmless-error analysis. Barrientes v. Johnson, 221 F.3d 741, 756

  (5th Cir. 2000). Consequently, because Brewer cannot meet the Coble standard, he

  certainly cannot satisfy Strickland. Moreover, it is the state court’s ultimate decision

  that is tested for reasonableness and not every jot of its reasoning. Neal, 286 F.3d at

  246. And under § 2254(e), a state court’s findings of fact are presumed to be correct,

  and Brewer has failed to rebut those findings with clear and convincing evidence.

        Finally, regarding Brewer’s claim that the admission of Dr. Coons’s testimony

  violated the Eighth Amendment, the state court reasonably rejected this claim. The



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  Fifth Circuit has held that expert testimony regarding predictions of future

  dangerousness is admissible under Barefoot and does not violate due process and that

  the Daubert test does not apply to sentencing proceedings. Williams v. Stephens,

  761 F.3d 561, 571 (5th Cir. 2014); Roberts v. Thaler, 681 F.3d 597, 608–09 (5th Cir.

  2012). In his reply, Brewer stated: “Petitioner has taken the narrower stance that

  [Dr.] Coons’s expert opinion in this case violated the Eighth Amendment.” DE 48 at

  10. The problem for Brewer is that the Fifth Circuit recently rejected this argument

  regarding Dr. Coons in the Coble case, stating that Coble “does not point to a single

  case in which a court found the admission of unreliable evidence to violate the Eighth

  Amendment.” Coble v. Davis, 728 F. App’x 297, 301 (5th Cir.), cert. denied, 139 S. Ct.

  338 (2018).    Thus, Brewer’s complaint is meritless.10



  10     In his petition, Brewer also refers to a 2016 article from The Atlantic addressing the
  supposed unreliability in predicting future dangerousness. DE 103 at 32–33; DE 106-3 at
  556–64. In a portion of this article, Dr. Coons is allegedly quoted as saying that “there is no
  credible way of evaluating [future dangerousness] to a high degree of likelihood.” DE 103 at
  33. Brewer argues: “Dr. Coons thereby conceded that at Mr. Brewer’s sentencing trial, he
  had ‘no credible way of evaluating [Mr. Brewer’s] situation to a high degree of likelihood.’
  Yet Dr. Coons defended his ability during the state habeas hearing to offer an opinion that
  Mr. Brewer was ‘more likely than not’ a future danger.” DE 103 at 33. Because this article
  is new, it is barred under Pinholster. Moreover, this article is an exhibit Brewer did not
  include with his first amended petition, and this Court recently denied Brewer’s motion for
  leave to file his new appendix, which includes this article. DE 106 & 107. At any rate,
  Brewer’s claim that Dr. Coons’s opinion has changed and warrants further review is meritless
  because: (1) brief comments taken from an article arguably designed to provide a point of
  view are devoid of context and have no value to court proceedings; (2) the article does not
  state Dr. Coons was speaking directly about any opinion he provided in this case; (3) there is
  a substantial difference between “more likely than not” and “high degree of likelihood,” and
  the article does not assert Dr. Coons now believes the testimony he has provided in all cases
  was erroneous; and (4) even if Dr. Coons’s opinion about predictions of future dangerousness
  has changed, that has no bearing on whether Brewer was deprived of a fair trial in 2009.
  Moreover, as shown, the defense forced Dr. Coons to concede on voir dire and cross-
  examination that his ability to accurately predict future dangerousness years later was
  limited and that he had predicted at Brewer’s first trial that Brewer would be a future
  danger. Therefore, at best, any revelation from this article is duplicative. Moreover, Brewer

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         E.     Trial counsel effectively challenged Dr. Coons during trial.

                1.     Counsel thoroughly cross-examined Dr. Coons.

         Brewer claims that counsel failed to rebut Dr. Coons’s trial testimony by not

  offering the testimony of an expert, like Dr. Edens, to testify that Brewer presented

  a low risk for future dangerousness. DE 103 at 26–29. Brewer’s overall premise is

  that trial counsel failed to effectively challenge Dr. Coons’s testimony at any point.

  Id. at 11, 14. He has also argued Dr. Coon’s testimony was damaging because it was

  “the linchpin of the prosecution’s future[-]dangerousness presentation.” DE 48 at 13–

  14. This claim is lacking in merit.

         As shown, counsel were well aware of Dr. Coons and the type of testimony he

  routinely provided. They obtained his curriculum vitae, reviewed transcripts of his

  testimony in other cases, received documents from Texas Defender Services (TDS)

  pertaining to Dr. Coons, and spoke to attorneys at TDS about what Dr. Coons would

  say. Counsel also considered Dr. Coons to be a “charlatan.” 2 SHH 51–54, 59, 67,

  254–59, 266–67, 270, 273.       Counsel further debated how to attack Dr. Coons and

  whether to offer similar testimony from their side. 3 SHH 10. Thus, trial counsel

  were prepared for Dr. Coons.




  cites Buck v. Davis, 137 S. Ct. 759 (2017) for the proposition that Dr. Coons’s testimony
  “heightened the likelihood of prejudice.” DE 103 at 21–22. Buck is clearly not on point
  because, in that case, the Supreme Court found trial counsel ineffective for presenting an
  expert who testified that the defendant’s race increased the probability of his future
  dangerousness. 137 S. Ct. at 775–77. Race is not a factor in Brewer’s case and is not a matter
  Dr. Coons addressed.


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        When Dr. Coons testified on direct examination, the defense objected on at

  least ten occasions, primarily on the grounds that there was no scientific foundation

  for the jury. 23 RR 199–221; 2 SHH 213–20. One objection regarding facts not

  admitted into evidence—facial injuries to Brewer’s father—eventually prompted the

  State to request to strike that portion from its hypothetical. 23 RR 214–16, 236;

  2 SHH 218–19.

        Then, as the state court found, defense counsel conducted a thorough cross-

  examination of Dr. Coons. The defense forced Dr. Coons to concede the following:

  (1) he testifies mainly for the prosecution; (2) he did not personally examine Brewer;

  (3) his scientific prediction is “soft science”; (4) he has never written any articles

  pertaining to predictions of future dangerousness; (5) he has only followed up on two

  or three inmates to determine if his prediction was valid; (6) his opinion that there is

  more opportunity for an inmate to commit violence in general population versus

  death row is not based on research; (7) he had no statistics demonstrating the

  accuracy of his predictions; (8) when asked if his findings had been subject to peer

  review, he said he had only discussed the matter with other peers; and (9) he

  predicted in 1991 that Brewer would commit criminal acts of violence in the future.

  23 RR 223–33. T

        After Dr. Coons testified, the defense presented Dr. Edens. Dr. Edens testified

  that he had engaged in substantial research pertaining to estimations of future

  dangerousness. 24 RR 18–21. Again, he stated: (1) of 155 capital murder defendants

  studied, only five percent had committed serious assaults; (2) past behavior is a good



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  predictor of future behavior; (3) studies show that the rates of subsequent murders

  by people in prison for murder are lower than others in the general population;

  (4) Dr. Coons’s testimony to the contrary, there are studies pertaining to what

  inmates say about their aggressive behavior and rates of victimization; (5) the type

  of crime committed is not necessarily a good indicator of future violence; (6) convicted

  murderers are less likely to be written up for disciplinaries than people convicted of

  other crimes; (7) all capital cases involve horrible crimes, thus it is difficult to narrow

  the field based on that criteria; and (8) Dr. Coons’s methodology of relying on clinical

  intuition and subjective impressions to make predictions lacks accuracy and is not

  supported by the science. 24 RR 28–36, 68–69.

         During closing argument, the defense’s primary theme was that Dr. Coons was

  wrong in 1991, as evidenced by Brewer’s behavior while on death row, and that

  Dr. Coons would be wrong again. For instance:

         Can you imagine going to a medical doctor, which Dr. Coons is, and he
         says you have a horrible disease and it doesn’t look good and nothing
         ever happens, and you go back to him 18 years later and he says, oh, you
         have a terrible disease and it doesn’t look good, well that’s what you told
         me 18 years ago. What Dr. Coons, in essence, has told you, don’t worry,
         I’m just not right yet. How outrageous. How outrageous in making
         decisions about whether Brent Brewer lives or dies.

  25 RR 213. In sum, trial counsel forced Dr. Coons to admit that other than anecdotal

  evidence and his opinion, he had no data to back up his prediction. Trial counsel then

  presented their own expert who testified that Dr. Coons’s method was unsound. And

  counsel argued that the jury had no reason to believe that Dr. Coons was right this




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  time. Brewer’s claim that more should have been done to undermine Dr. Coons rings

  hollow.

        Related, and contrary to Brewer’s argument, Dr. Coons was hardly the

  “linchpin” of the State’s case on future dangerousness. Out of approximately eighteen

  pages of the final argument by the State, Dr. Coons is mentioned on only five. 25 RR

  198–200, 220–21. The actual substance of his testimony was addressed briefly for

  less than one full page. 25 RR 199–200. The State even conceded: “[W]hen we talk

  about probability, I can’t tell you with [certainty] what will happen in the future,

  neither can Dr. Coons . . .” 25 RR 221. On the other hand, the State discussed in

  detail the facts of the crime—the true “linchpin” of the State’s case—for

  approximately nine pages, or about half its final argument. 25 RR 195–98, 201, 203–

  04, 218–19.    Thus, when viewed in totality—the defense’s cross-examination of

  Dr. Coons, the rebuttal by Dr. Edens, the defense’s characterizations of Dr. Coons’s

  opinion, and the fact that the State limited its discussion of his testimony during final

  argument—Dr. Coons’s testimony was not truly substantial.

        Finally, another flaw with Brewer’s claim is evidenced by an event occurring

  on state habeas review. During the state habeas hearing, Brewer’s attorney, Hilary

  Sheard, called Dr. Coons to the stand. Ms. Sheard wanted to show how an “effective”

  cross-examination of Dr. Coons should have been conducted to further undermine his

  credibility. 3 SHH 173–85. The judge said he would permit it but cautioned her to

  stay on point. 3 SHH 184.




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        However, the questioning immediately strayed. Ms. Sheard began asking

  Dr. Coons about his qualifications under Texas law, and then she questioned him

  about his testimony in Barefoot to show that an amicus brief filed in that case did not

  agree with his conclusions. 3 SHH 186–89, 192–97. A bench conference ensued, in

  which Ms. Sheard stated her purpose was to force Dr. Coons to admit that he was

  aware of the amicus brief. The court questioned why and noted that after fifteen

  minutes, “I felt we were spinning our wheels and not getting anywhere. It would be

  nice if you could ask the question more direct.” 3 SHH 197–99. Ms. Sheard said that

  she was having trouble “eliciting an answer which allows me to pose my next

  question.” 3 SHH 200. Nonetheless, Ms. Sheard continued the same questioning but

  became frustrated with Dr. Coons’s responses. The court then asked: “Counsel . . .

  are you suggesting that this line of questioning should have been done by Defense

  Counsel before the jury; is that your point here?” Ms. Sheard responded: “Yes.”

  3 SHH 205–06.

        This pattern continued for another sixty pages: Ms. Sheard asked questions

  that had little to do with Brewer’s trial; Dr. Coons had trouble understanding

  Ms. Sheard and provided long answers she did not like; the State objected every now

  and then; and the Court repeatedly advised Ms. Sheard to move on to another topic

  or let Dr. Coons finish his answers. 3 SHH 206–66. At one point, Ms. Sheard, who

  was clearly exasperated, stated: “Your Honor, I cannot even remember what my

  question was, but I think that Dr. Coons has more than answered it.” 3 SHH 256.

  Eventually, the judge said to Ms. Sheard: “I’m going to go back to before Dr. Coons



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  came in here, and I - - I asked you, why are we doing this, and I’m still wondering.”

  3 SHH 266. Ms. Sheard stated that the result of the trial may have been different

  had trial counsel “go[ne] into certain areas.” 3 SHH 270–71. The State responded:

        Your honor. I’ve been doing this about 30 years, and compared to what
        she has obtained from the doctor today, comparing that to what came
        out in the trial, as the Prosecutor, I would have much preferred the jury
        to have heard this testimony than what was actually brought out in the
        trial, and, again, it’s just two different attorneys with different theories
        about how to go about representing their client.

  3 SHH 271. After more questioning that had little to do with Brewer’s trial or the

  issues presented for review, Ms. Sheard finally gave up. 3 SHH 271–85.

        It is settled that hindsight is disfavored with IATC claims, but rarely does a

  court have an example demonstrating why. Though not her intention, Ms. Sheard

  provided just that. Her attempt to show how trial counsel should have attacked

  Dr. Coons backfired. Had trial counsel chosen this tactic, the result would have been

  disastrous for Brewer. Now, Brewer is once again asking the Court to grant him

  relief by applying more hindsight. Given the above, his claim should be denied.

               2.    Trial counsel were not ineffective for not utilizing
                     another expert.

        Brewer contends that trial counsel were ineffective for failing to procure

  testimony from an expert, Dr. Edens or Dr. Mark Cunningham, that Brewer was not

  a future danger. He claims that the testimony was necessary to rebut Dr. Coons’s

  opinion.   Brewer believes that trial counsel’s failure to do so was unreasonable

  because they formed a strategy without obtaining an evaluation. He further states

  that counsel’s argument about avoiding a “battle of experts” is inconsistent because



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  counsel did present an expert, Dr. Edens. DE 103 at 23–29. These claims are

  meritless.

        As an initial matter, in his first federal habeas proceeding in 2004 pertaining

  to his 1991 trial, Brewer raised the same claim regarding counsel’s failure to present

  expert testimony regarding future dangerousness. This Court rejected it citing in

  part, and approvingly, counsel’s decision not to give the State any excuse to have an

  expert examine Brewer for future dangerousness.         Brewer v. Dretke, 2004 WL

  1732312, at *10–11; see also Section VI, B, 4, infra.

        Moreover, counsel had a clear strategy; Brewer simply does not agree with it

  now. But the strategy was more than reasonable: (1) attack Dr. Coons’s credibility

  on cross-examination and via Dr. Edens, and (2) show Dr. Coons was wrong by

  offering evidence of Brewer’s lack of violent history while he has been incarcerated.

  The defense then premised its final argument on these factors and Brewer’s remorse.

        After discussing the matter, counsel chose not to have Brewer evaluated and

  offer additional expert testimony for two reasons. First, another expert evaluation

  could have opened the door for the State to do an individualized assessment, which

  might prove to be harmful. 2 SHH 98; see Kansas v. Cheever, 571 U.S. 87, 90–98

  (2013) (where the defense presented expert evidence about defendant’s mental state,

  the prosecution was permitted to evaluate defendant and present its own rebuttal

  expert); Lagrone, 942 S.W.2d at 611. And had Dr. Edens conducted an assessment of

  Brewer that came back unfavorable, then the defense would not be able to use him at

  all. 3 SHH 133–34.



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        In his reply, Brewer complained that counsel could have offered an opinion

  from Dr. Edens without risking an assessment by the State. DE 48 at 15. His

  argument ignores the second reason trial counsel chose not to present an opinion from

  Dr. Edens: counsel feared that offering an expert opinion that Brewer was not a

  future danger would undermine their overall trial strategy. They knew they were

  going to vigorously challenge Dr. Coons’s opinion by questioning his methodology.

  Counsel believed it would appear hypocritical to turn around and present an expert

  who would provide a risk assessment like Dr. Coons’s. Trial counsel Keith explained:

        Dr. Cunningham or anyone else of that subject, of course, would not go
        through merely giving their opinion. They would be subject to attack
        from the District Attorney, as well, and, essentially, the jury would be
        confronted with a Prosecution’s expert being attacked by us, and the - -
        the Defense expert being attacked by them, and I - - I did not want to be
        in that position where the jury sees me attacking Dr. Coons and then
        yet risking my credibility for putting up someone that they equate in the
        same way. . . . In the end, I did not want attacks on my own expert who
        might be doing a future[-]dangerousness assessment, after taking on
        Dr. Coons and attempting to discredit him and then have that reflect
        negatively on my own client who, in the end, I think, was - - his record
        is the best evidence of his lack of future dangerousness, and I did not
        want a firestorm over my own expert to not only blunt my attack on
        Dr. Coons but then to reflect poorly on my client.

  3 SHH 28–31. He further stated: “I was not confident that the jury would make

  distinctions between the two [experts], and I felt like they would hold it against me

  attacking Dr. Coons, in terms of my credibility and in terms of my client’s credibility,

  and so that’s the decision I made.” 3 SHH 100.

        Therefore, counsel believed the right strategy was to draw a contrast between

  Drs. Coons and Edens. 3 SHH 121 (“What Edens is talking about is science and what

  Coons is talking about is not . . . I think the contrast between the two is stark.”). And

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  because counsel believed that the best evidence showing Brewer was not a future

  danger was his lack of prison infractions, “My belief was that [the jury] would see

  that [Dr. Coons], indeed, was not [a good predictor of the future].” 3 SHH 136.

  Consequently, rather than getting into a “battle of experts,” the approach was to bring

  in one expert to show that the State’s expert was no expert at all. 3 SHH 137.11

         Moreover, Brewer claims that counsel was not truly concerned about

  inconsistency because they presented an expert, Dr. Edens. However, the potential

  inconsistency here did not involve presenting an expert, but rather offering expert

  testimony that might mirror Dr. Coons’s. As for his claim that counsel formulated

  the strategy without having Brewer evaluated, again they risked the possibility that

  a poor evaluation would preclude Dr. Edens from providing any testimony. Further,

  when asked why he did not have Brewer evaluated even though evidence pointed to

  low risk, counsel explained: “I don’t think that that analysis would stand alone, if you

  will, or unattacked or to have other things brought into the equation by the State.”

  3 SHH 160–61.      This decision was sound particularly given the problems with

  Dr. Cunningham’s 1996 assessment of Brewer. See Section VI, B, 4, infra.


  11      In his reply, Brewer argued that trial counsel’s decision to avoid a “battle of the
  experts” was unreasonable, stating: “Counsel Keith stated that he did not want the jury to
  equate Edens and Coons. That equivalence was unavoidable, however, because Edens—like
  Coons—asserted that there was a basis for assessing risk of future violence. Counsel Keith
  elicited this very point. This necessarily invited the jury to compare Edens and Coons on
  their methodology.” DE 48 at 16. This claim is meritless because, other than generically
  discussing scientific methods for risk assessment and statistics, 24 RR 16–18, 33, 36,
  Dr. Edens did not go into his specific methodology for assessing risk. Again, his testimony
  was offered to undermine Dr. Coons’s assessment. As for Brewer’s claim that counsel
  “abandoned this strategy of avoiding attack” once they presented Dr. Edens, DE 48 at 16, the
  prosecution attempted to call into doubt Dr. Edens’s testimony only once during final
  argument. 25 RR 199–200. Thus, counsel’s strategy was effective.


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        “In any ineffectiveness case, a particular decision not to investigate must be

  directly assessed for reasonableness in all the circumstances, applying a heavy

  measure of deference to counsel’s judgments.” Strickland, 466 U.S. at 690–91. To

  the extent counsel’s investigation could be considered limited, their decision, as

  shown, was more than reasonable. At the very least, the state court’s decision cannot

  be deemed unreasonable.     Richter, 562 U.S. at 105 (If there is any “reasonable

  argument that counsel satisfied Strickland’s deferential standard,” the state court’s

  denial will be upheld.)

        Essentially, Brewer is arguing that more evidence was needed. In his eyes,

  attacking Dr. Coons’s credibility, showing remorse, and presenting evidence of his

  lack of prison infractions was not enough to demonstrate an absence of future

  dangerousness. Instead, he is claiming the jury needed to be told he would not likely

  be a future danger, and then the scales would have tipped in his favor. As the Fifth

  Circuit has admonished:

        [P]erhaps [applicant’s] trial counsel could have investigated more, hired
        different experts, or presented more mitigating witnesses. But as we
        have said previously, courts must be particularly wary of arguments
        that essentially come down to a matter of degrees. Did counsel
        investigate enough? Did counsel present enough mitigating evidence?
        Those questions are even less susceptible to judicial second-guessing.

  Ward v. Stephens, 777 F.3d 250, 265 (5th Cir. 2015) (internal quotation marks and

  citations omitted), abrogated on other grounds by Ayestas v. Davis, 138 S. Ct. 1080

  (2018).   Counsel presented a sufficient case against a finding of future

  dangerousness.    Its lack of success does not warrant relief.     See Pondexter v.

  Quarterman, 537 F.3d 511, 521 (5th Cir. 2008). In fact, at the habeas hearing, the

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  State pointed out that Dr. Cunningham testified in the Coble case and the jury still

  returned a death sentence, to which Keith responded that he chose a different

  strategy for Brewer and “these are all just various ways that a competent attorney

  might try to use the information to benefit his or her client.” 3 SHH 131–32.

        Importantly, the Fifth Circuit has rejected the same allegation Brewer is

  raising. In United States v. Fields, the petitioner claimed that trial counsel was

  ineffective for failing to properly challenge and rebut Dr. Coons’s testimony.

  761 F.3d 443, 463–65 (5th Cir. 2014). The petitioner also relied on the CCA’s opinion

  in Coble. Id. at 464. The Fifth Circuit rejected these arguments. First, the court

  found that counsel elicited concessions from Dr. Coons. Among them,

        Dr. Coons stated that there is a “considerable subjective element” to his
        opinion; he could not identify a study validating an expert’s subjective
        opinion about a prisoner’s future dangerousness; he admitted that his
        opinion had not been subjected to peer review; he admitted that he could
        not provide an error rate for his opinion; he admitted that he did not
        know the APA’s position on future dangerousness and that some
        members of the organization “have difficulty with the issue” . . . .

  Id. at 463. Thus, “trial counsel undertook precisely what Fields argues he failed to

  do: he attacked Dr. Coons’s methodology and techniques.” Id. at 464. Next, the court

  determined that, regardless of Coble, counsel’s decision not to hire an expert to rebut

  Dr. Coons was not deficient because “counsel attacked Dr. Coons’s methodology and

  conclusion at length on cross-examination.” Id. Moreover, “Fields’s counsel called

  multiple prison employees who testified that Fields’s behavior had improved during

  his imprisonment.” Id. at 465. Finally, the court found no prejudice, in part because

  “[t]he jury was present for Fields’s counsels’ cross-examination of Dr. Coons, and



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  heard the challenges to Dr. Coons’s methodology.               The jury also heard

  other testimony that could have lead it to conclude that Fields posed a risk of future

  dangerousness.” Id.

        Given the Fifth Circuit’s rejection of identical claims and similar facts, there is

  no basis for this Court to grant relief under 28 U.S.C. § 2254. Lastly, Dr. Coons’s

  testimony was not crucial to the State’s case; rather, the brutal and senseless facts of

  the murder were the focus of the State’s future-dangerousness case.           Moreover,

  Brewer has a history of violent and threatening behavior that pre-dated the murder,

  particularly toward school mates and teachers. Also, he was defiant and showed little

  remorse following the crime. Thus, there is not a reasonable probability that the

  result of the proceeding would have been different had counsel performed exactly as

  Brewer now desires. Therefore, relief should be denied.

        F.     Brewer’s claims regarding Dr. Coons’s credentials have no
               merit.

        Brewer states that the prosecution presented false and misleading testimony

  about Dr. Coons’s credentials, and trial counsel were ineffective for failing to

  investigate the same. DE 103 at 35–37. Brewer alleges that Dr. Coons lied about his

  work with the Texas Medical Board, the State Bar of Texas, and the Texas Board of

  Nurse Examiners. Id. at 36–37. The state court rejected these claims finding that

  counsel did challenge Dr. Coons’s qualifications, that Dr. Coons’s statements about

  his credentials were accurate and he did not provide false testimony, and that any

  alleged false testimony was not material. 10 SHCR 3082–83, 3095, 3145.




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        To show that the State knowingly presented false or misleading in violation of

  due process and Napue v. Illinois,12 “a petitioner must show (1) that the witness’s

  testimony was actually false, (2) that the testimony was material, and (3) that the

  prosecution knew the witness’s testimony was false.” Fuller v. Johnson, 114 F.3d

  491, 496 (5th Cir. 1997). Brewer cannot meet this standard because his allegations

  are misleading. First, Brewer argues that evidence shows Dr. Coons never acted as

  a consultant or evaluator for the Texas Medical Board and has never been hired by

  the Board. DE 103 at 36. However, Dr. Coons did not testify that he was a paid

  consultant for the Board, only that he had “dealt with” them. 23 RR 199. In his

  affidavit, Dr. Coons said that he has testified before the Board and “provided

  numerous opinions . . . both favorable and unfavorable from the standpoint of the

  physicians involved,” and that he “assumed” the Board had hired him in one case.

  7 SHCR 2020. But, again, he did not make these statements at trial. Further,

  Brewer’s evidence states that Dr. Coons is not in the Board’s database. However, it

  also says: “If . . . an applicant on his own had selected and paid for an evaluation by

  Dr. Coons, without being requested to do so by the Board, then the Board would not

  have any database or list that it could search to determine that.” 3 SHCR 504.

  Brewer’s evidence, thus, contradicts nothing.

        Second, Brewer claims records show Dr. Coons has never been a witness for

  the State Bar Association in any proceeding. DE 103 at 36. Dr. Coons mentioned

  that he had been a witness, 23 RR 199, and in his affidavit stated that he was hired



  12    360 U.S. 264 (1959).

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  by a Texas State Bar lawyer in one case. 7 SHCR 2018–19. Dr. Coons explained that

  he testified in El Paso district court about his evaluation of an attorney who sought

  to reclaim his law license after serving time in prison. 7 SHCR 2019. Brewer does

  not refute this because one letter from the State Bar simply says that “no information

  related to these requests is collected, assembled or maintained” pursuant to the Texas

  Government Code. 3 SHCR 540. Another letter states that if Brewer’s habeas

  attorney “believe[s] Dr. Coons may have appeared in a court proceeding, the

  governmental body that would be the custodian for the information you seek would

  be the court or the entity which retained him.” 3 SHCR 541. And Brewer never

  appeared to file a public information request regarding the case Dr. Coons referenced.

  This evidence does not “belie” Dr. Coons’s credentials.

        Third, Brewer alleges that evidence shows the Texas Board of Nursing has no

  documents revealing Dr. Coons was on their provider list or worked as a consultant.

  DE 103 at 36.     Again, Dr. Coons testified that he had “dealt with” the Nurse

  Examiners, not that he was a consultant or a provider. 23 RR 199. And in his

  affidavit, Dr. Coons said he “dealt with” but never recalled being hired by the Board.

  7 SHCR 2019–20. The lack of an official record pursuant to a public information

  request does not render his testimony false.

        Notably, Dr. Coons testified that he had “dealt with” many Boards and was on

  several committees, 23 RR 199–200, but Brewer does not claim Dr. Coons’s assertions

  about these other entities were false. Thus, he is merely cherry-picking Dr. Coons’s

  resume’, not asserting a viable constitutional claim. At any rate, Brewer’s Napue



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  complaint fails because (1) two brief sentences about credentials in forty pages of

  testimony is hardly relevant, let alone material; (2) the import of Dr. Coons’s

  testimony concerned Brewer’s future dangerousness, not Dr. Coons’s credentials; and

  (3) defense counsel effectively rebutted Dr. Coons’s testimony. For the same reasons,

  Brewer shows no Strickland prejudice. Therefore, his claims should be denied.

  III.   Brewer’s Claims Pertaining to Dr. Erdmann’s Autopsy Report and
         Prior Testimony and Dr. Natarajan’s Testimony Are Meritless.

         Brewer alleges that the State violated his constitutional rights by presenting

  false and misleading testimony and by withholding evidence it had casting doubt on

  Dr. Ralph Erdmann’s autopsy; the trial court’s admission of Dr. Erdmann’s testimony

  from Brewer’s 1991 trial and decision to permit Dr. Natarajan to testify from

  Dr. Erdmann’s report violated Brewer’s constitutional rights; and trial counsel were

  ineffective by failing to file a motion seeking the preclusion of Dr. Erdmann’s autopsy

  report and by failing to impeach Dr. Natarajan. He also claims that counsel failed

  “to investigate and discuss this issue with [Brewer] prior to advising him to testify,”

  and that the prosecutor should have been recused because he knew about

  Dr. Erdmann’s misdeeds.     DE 103 at 37–59. Brewer’s claims involve numerous

  alleged ethics violations by Dr. Erdmann in other cases, but nothing of significance

  involving the autopsy performed here. Still, Brewer believes the evidence was crucial

  to impeach Dr. Natarajan.

         The state court rejected Brewer’s claims, finding: Dr. Erdmann’s report merely

  informed the jury about cause of death, which had already been determined by the

  trial and appellate courts; trial counsel did object when the State re-tendered this

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  evidence; nonetheless, counsel, as a matter of reasonable trial strategy, did not

  challenge cause of death because part of their defense was for Brewer to take

  responsibility for the crime; Dr. Erdmann was cross-examined at the original 1991

  trial, thus, there was no confrontation violation; trial counsel objected to

  Dr. Natarajan’s testimony on the ground that it violated the Confrontation Clause;

  counsel were not ineffective for not presenting an expert to impeach Dr. Erdmann’s

  findings or Dr. Natarajan’s testimony because the guilt-innocence case was affirmed

  on appeal; trial counsel were not ineffective for not presenting an expert to challenge

  Nystrom’s culpability because it conflicted with counsel’s trial strategy; and Brewer

  could not demonstrate any prejudice because cause of death was not an issue given

  that Brewer admitted to murdering Mr. Laminack. 10 SHCR 3110–14. The state

  court also found that Dr. Natarajan’s testimony about the validity of Dr. Erdmann’s

  autopsy was not false or misleading; Dr. Natarajan’s testimony itself was not false;

  Dr. Natarajan’s testimony about cause of death was premised on many factors and

  not just Dr. Erdmann’s report; Brewer submitted no evidence showing Dr. Erdmann

  failed to follow a standard protocol; and any error did not affect Brewer’s sentencing

  because he admitted to murdering Mr. Laminack. 10 SHCR 3116–17.

        The court then concluded: a testifying expert’s opinion based in part on a report

  prepared by a non-testifying expert does not violate the Confrontation Clause; Brewer

  failed to establish deficient performance or prejudice under Strickland; Brewer’s

  Napue claim and allegation challenging the trial court’s admission of the evidence

  were forfeited because he did not raise them on direct appeal, and challenges to the



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  admissibility of evidence are not cognizable on habeas review; Dr. Natarajan’s

  testimony was not false; Brewer failed to provide any evidence showing that

  Dr. Erdmann’s autopsy failed to follow a standard protocol; and Brewer failed to show

  that any alleged false testimony was material because he admitted to killing

  Mr. Laminack. 10 SHCR 3150–54. This decision is not objectively unreasonable.

        A.     Brewer’s claims that his due process rights were violated
               by the knowing presentation of false evidence and that the
               trial court erred in admitting evidence concerning
               Dr. Erdmann’s autopsy are procedurally barred.

        As shown, the state court determined that Brewer’s claim that the prosecution

  knowingly presented false testimony should have been raised on direct appeal.

  10 SHCR 3116, 3152. The court likewise concluded that the claim regarding the

  admission of Dr. Erdmann’s report should have been raised on direct appeal and was

  not cognizable. Id. For the reasons stated in Section II, C, supra, these claims are

  procedurally barred. Dorsey, 494 F.3d at 532. Citing CCA precedent, Brewer has

  claimed that this bar should not apply where the claim is premised on additional fact

  gathering. DE 100 at 7; DE 48 at 19–20. But the CCA did not reject these findings

  by the trial court in its order; thus, the CCA agreed the claims could have been raised

  on direct appeal, and the bar applies. Moreover, Brewer is improperly asking the

  federal court to hold that the CCA incorrectly interpreted its own procedural rules.

  Charles v. Thaler, 629 F.3d 494, 500–01 (5th Cir. 2011) (“A federal court lacks

  authority to rule that a state court incorrectly interpreted its own law.”).

        Although Brewer does not address his default in his petition, he has previously

  argued that he can demonstrate cause and prejudice because appellate counsel was

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  ineffective for failing to raise these claims on direct appeal. DE 48 at 20. But because

  his underlying claims are patently meritless, he cannot show constitutional

  ineffectiveness to overcome his default. See Murray v. Carrier, 477 U.S. 478, 488–89,

  492 (1986). Moreover, the state court found that appellate counsel was not ineffective

  for failing to raise the underlying claim of the admissibility of Dr. Erdmann’s report.

  10 SHCR 3114–15. However, Brewer did not claim on habeas review that appellate

  counsel was ineffective for failing to raise his Napue claim on direct appeal. 2 SHCR

  277–81; Hatten v. Quarterman, 570 F.3d 595, 605 (5th Cir. 2009) (“the claim of

  ineffective assistance of counsel on direct appeal is an independent constitutional

  violation, which must itself be exhausted using state collateral review procedures”).

  Thus he cannot use ineffective assistance of appellate counsel to excuse his default of

  either claim. Therefore, Brewer cannot overcome his default.

        B.     Brewer’s confrontation claim is meritless.

        Brewer claims that the trial court’s decision to allow Dr. Natarajan to testify

  about Dr. Erdmann’s report violated his right to confrontation. DE 103 at 38. This

  claim is meritless. First, the Fifth Circuit has held that, pursuant to Supreme Court

  precedent, the Confrontation Clause does not apply to capital sentencing decisions.

  United States v. Fields, 483 F.3d 313, 337 (5th Cir. 2008); see also Ochoa v. Davis, No.

  3:09-CV-2277-K, 2016 WL 5122107, at *6 (N.D. Tex. Sep. 21, 2016).

        Second, since Crawford v. Washington,13 the Supreme Court has not expanded

  the definition of “testimonial” to autopsy reports. Indeed, the Court has turned away


  13    541 U.S. 36 (2004).


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  several cases where appellate courts held that the admission of autopsy reports does

  not violate the Confrontation Clause. See Hensley v. Roden, 755 F.3d 724 (1st Cir.

  2014) (state court’s determination that autopsy report not testimonial is reasonable),

  cert. denied, 135 S. Ct. 964 (2015); Mitchell v. Kelly, 520 F. App’x 329 (6th Cir.) (state

  court’s determination that admission of autopsy report did not violate right of

  confrontation is reasonable) (unpublished), cert. denied, 571 U.S. 922 (2013). The

  Fifth Circuit has likewise indicated there is no clearly established federal law on this

  issue. Grim v. Fisher, 816 F.3d 296, 309–10 (5th Cir. 2011). The Fifth Circuit

  subsequently recognized conflicting precedent regarding whether autopsy reports are

  subject to the Confrontation Clause, see Martinez v. Davis, 653 F. App’x 308, 319 n.5

  (5th Cir. 2016), judgment vacated on other grounds, 137 S. Ct. 1432 (2017), including

  Melendez-Diaz v. Massachusetts where the Supreme Court held that the admission

  of certificates from state laboratory analysts violated the defendant’s right to

  confrontation. 557 U.S. 305, 313–29 (2009); DE 103 at 39. But this only serves to

  highlight the lack of clearly established federal precedent on the issue. (Terry)

  Williams, 529 U.S. at 381 (lower courts cannot establish a principle to satisfy the

  AEDPA bar where the Court has not “broken sufficient legal ground to establish [a] .

  . . constitutional principle”). Thus, given the absence of Supreme Court precedent,

  Brewer’s confrontation claim does not merit relief under § 2254(d).

        Further, a Confrontation-Clause claim is subject to a harmless error analysis.

  United States v. Jones, 930 F.3d 366, 375 (5th Cir. 2019). For the reasons addressed

  below, Brewer cannot demonstrate any harm. Thus, his claim must be denied.



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         C.     At any rate, Brewer’s claims are meritless.14

                1.     The State did not knowingly present false or
                       misleading testimony.

         Brewer’s primary allegation is that the State knowingly presented false or

  misleading testimony in violation of due process and Napue v. Illinois. To establish

  a due process violation, he must show (1) that the witness’s testimony was actually

  false, (2) that the testimony was material, and (3) that the prosecution knew the

  witness’s testimony was false. Fuller, 114 F.3d at 496. Brewer’s claim is premised

  on a slew of allegations against Dr. Erdmann pertaining to work he performed in

  other cases, not the instant case. And Dr. Erdmann did not testify at Brewer’s re-

  trial; Dr. Natarajan testified about the autopsy Dr. Erdmann performed, and he

  reviewed the autopsy and conducted his own review of all the evidence.

         As an initial matter, in Clark v. Johnson, the Fifth Circuit rejected a similar

  claim regarding Dr. Erdmann. 202 F.3d 760 (5th Cir. 2000). There, the petitioner

  alleged, like Brewer, that Dr. Erdmann committed perjury based on his misconduct

  in other cases. Id. at 765–67. The Fifth Circuit held:

         [T]he overwhelming evidence, including Clark’s unassailed confession,
         comports with Dr. Erdmann’s conclusions as to the sequence and extent
         of the victim’s injuries, the sexual assault, and the cause of death.


  14      Brewer states that Dr. Erdmann’s prior testimony was admitted at trial. DE 103 at
  39 (citing 23 RR 7–64). Even though the state court and prosecution said Dr. Erdmann’s
  prior testimony was admitted, see 10 SHCR 3111; 23 RR 65, it remains unclear that this
  occurred. The State requested to admit all of the testimony from the original trial, and the
  trial judge, over the defense’s objections, said he would allow it. 21 RR 20–36. But
  Dr. Erdmann’s testimony is not listed as an exhibit in the Master Index or Volume 21.
  Further, unlike other prior testimony specifically read into the record—that from Lepicier
  and Bailey—Dr. Erdmann’s testimony was not. Perhaps it was admitted, but the record does
  not definitively answer this question.


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        Indeed, the record clearly reveals that even without Dr. Erdmann’s
        testimony, each of his conclusions had been independently established
        by other evidence and testimony. Furthermore, while Clark refers to
        evidence that Dr. Erdmann was accused of misconduct in other cases, he
        has presented no evidence that Dr. Erdmann did so in this case.

  Id. at 767 (emphasis added); see also Boyle v. Johnson, 93 F.3d 180, 186 (5th Cir.

  1996). Brewer’s case is the same. There is no question that Brewer murdered

  Mr. Laminack, nor any doubt as to how the murder occurred. Brewer also fails to

  show that Dr. Erdmann engaged in any misdeeds in his case.          And, as stated,

  Dr. Natarajan testified at the re-trial, not Dr. Erdmann. Clark forecloses Brewer’s

  allegation.

        At any rate, Brewer cannot meet any element of the Napue test. First, it truly

  falters on the materiality prong. Brewer was re-tried on punishment, not guilt-

  innocence. Dr. Erdmann’s report and prior testimony pertained to Mr. Laminack’s

  cause of death. Thus, from a materiality standpoint, the issue is how an autopsy

  would affect punishment proceedings where guilt is not in doubt. What is clear from

  Brewer’s petition and other pleadings is that he does not know.        For instance,

  challenging an autopsy at punishment is reasonable if residual doubt or lack of

  deliberation is a viable punishment theme.     But there is no doubt that Brewer

  murdered Mr. Laminack. The evidence conclusively established this fact, and Brewer

  admitted at re-trial that he killed Mr. Laminack. DE 40 at 57; 25 RR 82–84, 150–71.

  If Brewer’s guilt or culpability was an issue and the autopsy critical to that issue,

  then Brewer’s claim might have some relevance. But this is not the case.




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        In his reply, Brewer responded:

        The State’s use of Dr. Erdmann’s autopsy report without disclosing its
        complete unreliability allowed the prosecution to represent that their
        case had a level of accuracy and integrity that simply did not exist. And
        the State’s contention that the autopsy was immaterial to punishment
        is belied by the fact that the State felt compelled to rely on this evidence
        in 2009 when Mr. Brewer’s punishment was solely in issue.

  DE 48 at 22; DE 100 at 7. The first sentence, which thus far has been Brewer’s sole

  comment on materiality, is meaningless because Brewer is not contending the crime

  did not happen as the State showed, as the autopsy revealed, or as Brewer himself

  admitted. In other words, if the autopsy testimony was indeed lacking in “accuracy

  and integrity,” Brewer must still address how that could have affected the outcome

  of the punishment proceedings, and yet he never does—with the exception of

  attempting to re-direct culpability to Nystrom in an unexplained manner, which is

  discussed below. As for the latter sentence, the State relied on the autopsy evidence

  not to prove Brewer’s guilt, but to show exactly how from a scientific standpoint

  Brewer murdered Mr. Laminack, which is not an issue Brewer has ever attempted to

  refute or could possibly refute. Indeed, as shown below, another expert Brewer relies

  on does not contest how Mr. Laminack died.

        Moreover, aside from Brewer’s admission of guilt, Nystrom also testified that

  Brewer murdered Mr. Laminack; Brewer’s fingerprints and blood were found

  throughout the truck and on the murder weapon, but there was no testimony that

  Nystrom’s blood was found at the scene; Brewer’s hand sustained a deep cut while he

  was stabbing Mr. Laminack; both he and Nystrom were covered in blood when they

  returned to Christian’s apartment; Nystrom and Brewer told Callen that they killed

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  a man for $140.00; and Lewis testified that Brewer said he committed the murder.

  Further, cause of death has never been an issue; Brewer severed the major blood

  vessels in Mr. Laminack’s neck. Assuming for argument’s sake that portions of the

  autopsy were “inaccurate,” the crime scene evidence, police testimony, forensic

  evidence, and autopsy photos were self-explanatory. Brewer’s argument seems to be

  that an alleged “inaccurate” autopsy by itself equates to materiality and, in this

  circumstance, a true showing of how that that issue altered the outcome is not

  needed. There is no precedent supporting a presumption of this kind.

        Regarding the falsity prong, Brewer argues based on state law that he is

  “entitled to an inference of falsity” because Dr. Erdmann was a state actor, had

  contact the with district attorney, and many of the misdeeds he committed in other

  cases occurred around the same time as he performed the autopsy in this case.

  DE 103 at 50–51 (citing Ex parte Coty, 418 S.W. 3d 59 (Tex. Crim. App. 2014)). Thus,

  he is arguing he can bypass the requirement that he “show” falsity under the

  circumstances here.    However, he cites no clearly established Supreme Court

  authority for the proposition that falsity can be presumed under Napue.

        Moreover, Brewer does nothing to show that the autopsy results in this case

  were problematic, only that Dr. Erdmann’s misdeeds in other cases should have

  rendered the autopsy suspect. See Clark, 202 F.3d at 767. He does rely on a 1997

  letter and declaration written by Dr. Lloyd White, who reviewed Dr. Erdmann’s

  autopsy report. 4 SHCR 988–90; DE 103 at 54. In the letter, Dr. White stated that

  he believed the assault “probably originated from the front,” and he postulated that



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  the nature of the wounds may not have indicated that the intent of the perpetrator

  was to kill. 4 SHCR 989. But he further stated the following: “Comparison with the

  photographs suggests that the reports are correct with regard to wound location”;

  “[Dr. Erdmann’s] basic conclusion as to cause of death is probably correct”; and “all

  of the stab and incised wounds suffered by Mr. Laminack are consistent with the

  knife shown in the photograph, and it is possible that knife could have caused all of

  these wounds.” 4 SHCR 988–89. He also stated that the rapidity of Mr. Laminack’s

  death slightly “puzzled” him and that it was possible Dr. Erdmann either missed or

  did not correctly describe a more serious vascular injury. 4 SHCR 989. In sum,

  although Dr. White took issue with some of Dr. Erdmann’s findings and mainly the

  terminology he used in the report, he did not contest cause or manner of death, which

  is all that matters. Regarding the intent issue, Brewer claims “it puts some of the

  onus on . . . Kristie Nystrom.” DE 103 at 54. As discussed below, this would have

  been a foolish argument for the defense to make. But it is also a curious remark

  because Brewer has previously argued that his claim “is not meant to re-direct

  culpability to his accomplice, Kristie Nystrom. This assertion is a smoke-screen, not

  what Mr. Brewer has alleged.” DE 100 at 7. Obviously, Brewer cannot square these

  two statements.

        Brewer also relies on another declaration from Dr. White submitted on state

  habeas review.     4 SHCR 992–96; DE 103 at 54.            Dr. White cherry-picked

  Dr. Erdmann’s autopsy report to give the appearance of a poor job. But like the 1997

  letter, at no point did Dr. White contest the findings about cause or manner of death.



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  In fact, Dr. White’s only mention of the lethal wounds is that he found Dr. Erdmann

  detailed them in some depth “compared to a relative cursory review of other areas of

  the body.” 4 SHCR 994. The bottom line is that to prove “falsity,” Brewer has to

  actually present evidence of false testimony. Dr. White’s statements not only do not

  support Brewer’s claim, they actually support the key findings from the autopsy. At

  any rate, the fact that Dr. White may have formed a different opinion regarding some

  portions of Dr. Erdmann’s report is unavailing to Brewer.             Contradictory or

  inconsistent opinions do not establish perjury, much less State-sponsored perjury.

  Kutzner v. Johnson, 242 F.3d 605, 609 (5th Cir. 2001); Boyle, 93 F.3d at 186 (“The

  fact that other experts disagreed with Dr. Erdmann is insufficient, by itself, to call

  Dr. Erdmann’s testimony into question.”).

        Importantly,   Brewer    does   not    raise   any   similar   complaints   about

  Dr. Natarajan, except that he relied on Dr. Erdmann’s report and vouched for its

  reliability. But Dr. Natarajan also reviewed plenty of other evidence in the case,

  including autopsy photos, autopsy protocol, crime scene photos, affidavits, police

  reports, and the synopsis of the Special Crimes Unit. 23 RR 29–30, 59–60. He came

  to his own conclusions about cause and mechanism of death, which are not suspect.

  23 RR 32–33. For instance, during his testimony, the following exchange occurred:

        Q:     And the report provided by Dr. Erdmann, did it indicate any of
               the - - any conclusions referencing the three areas you mentioned
               earlier; cause of death, manner of death, mechanism of death,
               those sorts of things?

        A:     Yes. It mentioned all three.




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        Q:    All right. And based on your opportunity to review the
              photographs, the police reports, the autopsy - - the photographs
              of the autopsy, and the photographs provided to you gathered - -
              taken by law enforcement authorities, have you - - as to those
              three general categories, have you reached any different
              conclusions than what Dr. Erdmann indicated he reached in his
              report . . . . Have you reached any different conclusions than
              Dr. Erdmann’s conclusions?

        A:    In general, I have the same conclusions as to the cause of death,
              the manner of death, as well as the mechanism of death.

        Q:    What did you believe the cause of death was in this particular
              case?

        A:    The cause of death is due to what we term sharp force injuries,
              which could be further defined as incised or stab wounds in the
              region of the neck.

        Q:    And the manner of death?

        A:    It’s a homicide.

        Q:    And the mechanism of death?

        A:    The mechanism in this case is a bleeding out or a hemorrhaging
              from vital structures that were struck in the region of the neck,
              and that blood then coming out. Sometimes we use the term
              exsanguination or hemorrhage is the mechanism in this case.

  23 RR 31–33.     On cross-examination, the defense asked Dr. Natarajan if his

  knowledge of the wounds to Mr. Laminack’s major blood vessels came from

  Dr. Erdmann’s report. He responded: “It comes from the report of Dr. Erdmann as

  well as the locations on - - the wounds on the autopsy photographs would also be

  consistent with the description that he’s provided.” 23 RR 62. For Brewer’s claim to

  succeed, he must show that Dr. Natarajan’s testimony was false, not simply that




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  Dr. Erdmann’s report was inaccurate or misleading. Brewer does not come close to

  making this case.

        Moreover, Brewer’s claim that the prosecution knowingly presented false or

  misleading testimony is premised on a statement prosecutor Farren made in a motion

  he filed to withdraw from Brewer’s first state habeas proceedings. 4 SHCR 1053–57.

  Farren filed the motion because Dr. Erdmann was the subject of a habeas claim

  Brewer raised in his first application, and because Farren had obtained indictments

  against Dr. Erdmann in other cases, he believed he and others in his office could be

  called as fact witnesses in the habeas proceeding. Thus, the Texas Disciplinary Rules

  of Professional Conduct compelled him to withdraw. In this motion, he stated:

        [I]t would be virtually impossible for the undersigned to serve in good
        faith as the prosecutor in this writ proceeding because, in order to do so,
        the undersigned would have to vouch for the reliability and credibility
        of the same Dr. Erdmann, whom the undersigned has prosecuted for
        aggravated perjury and tampering with evidence.

  4 SHCR 1056–57. Brewer argues that Farren would not defend Dr. Erdmann in 1997

  but “didn’t bat an eye in relying upon the same autopsy report and pathologist he

  would not defend twelve years earlier,” thereby leaving the jury with the false

  impression “the State actually countenanced the reliability, accuracy and integrity of

  Dr. Erdmann’s work in this case.” DE 103 at 47. He further states: “Mr. Farren knew

  that the testimony he elicited from Dr. Natarajan about Dr. Erdmann’s having

  complied with accepted forensic practices in his autopsy of the victim, Mr. Laminack,

  was false or at best, misleading. The false/misleading testimony was material as it

  established the cause of death.” Id. at 50.



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           The problem with this claim is that Farren stated in the first habeas

  proceeding he could not vouch for Dr. Erdmann’s credibility because he had

  prosecuted Dr. Erdmann for aggravated perjury and tampering with evidence, not

  because he thought or knew his report and prior testimony in the instant case was

  false.    Moreover, Farren did not vouch for Dr. Erdmann’s credibility; he asked

  Dr. Natarajan if he believed the science applied in this case was valid. Importantly—

  and a fact Brewer omits—Dr. Natarajan replied “yes” to this question about validity

  during a hearing outside the presence of the jury. 23 RR 15–18. Thus, this exchange

  could not have misled the jury because the jury never heard it, and Dr. Natarajan

  was not asked the question again before the jury. Last, the issue here is not whether

  the prosecution knowingly presented false testimony from Dr. Erdmann but whether

  the prosecution knowingly presented it from Dr. Natarajan who, as stated,

  independently reviewed the autopsy and additional evidence in the case. Brewer

  presents no evidence satisfying this prong. His claim is based on supposition and

  conjecture stemming from issues involving Dr. Erdmann in unrelated cases. At the

  very least, the state court’s decision is not unreasonable.

           Finally, Brewer—in a footnote—tacks onto this claim the following:

           The State’s failure to disclose to trial counsel the extent of Erdmann’s
           misdeeds and crimes violated Petitioner’s right to due process and a fair
           trial as guaranteed by the Fifth, Sixth, Eighth and Fourteenth
           Amendments and constitutes a violation of the dictates of Brady v.
           Maryland, 373 U.S. 83 (1963), and its progeny. Petitioner is entitled to
           relief.

  DE 103 at 49 n.11. Brewer never raised this Brady claim on habeas review; thus it

  is unexhausted and procedurally barred. Coleman, 501 U.S. at 735 n.1 (1991); Beatty

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  v. Stephens, 759 F.3d 455, 465 (5th Cir. 2014); Nobles v. Johnson, 127 F.3d 409, 420,

  422 (5th Cir. 1997).

        Regardless, this claim is meritless.     To establish a Brady violation, the

  defendant must prove that (1) the prosecution suppressed evidence, (2) it was

  favorable to the defendant, and (3) it was material. United States v. Brown, 650 F.3d

  581, 587–88 (5th Cir. 2011); see also Strickler v. Greene, 527 U.S. 263, 281–82 (1999).

  The Government’s good or bad faith in withholding the evidence is irrelevant. Brown,

  650 F.3d at 588 (citing Kyles v. Whitley, 514 U.S. 419, 432 (1995)). “[E]vidence is not

  suppressed ‘if the defendant knows or should know of the essential facts that would

  enable him to take advantage of it.’” Id. (quoting United States v. Runyan, 290 F.3d

  223, 246 (5th Cir. 2002)). Indeed, “[t]o have been suppressed, the evidence must not

  have been discoverable through the defendant’s due diligence.” Id.

        Brewer cannot satisfy this test. Nothing was suppressed because the defense

  filed a pre-trial motion for production of Brady evidence pertaining to Dr. Erdmann,

  including all evidence of the criminal proceedings against him. 1 CR2 302–04. The

  trial court granted the motion, 2 CR2 407, and Brewer presents nothing to show the

  State failed to comply with this order. And clearly the defense knew about these

  issues involving Dr. Erdmann because, in its motion, the defense specifically listed

  the cause numbers and counties for each proceeding and the sentences Dr. Erdmann

  received for his offenses. 1 CR2 303. Further, none of the evidence was material,

  specifically because Brewer’s guilt was not in doubt, the manner and cause of death




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  was obvious from the trial evidence, and Dr. Natarjaran testified, not Dr. Erdmann.

  Thus, this claim must also be denied.

               2.    Trial counsel were not ineffective.

        Brewer’s IATC claim is that counsel should have called an expert, like

  Dr. White, to rebut the autopsy testimony and impeach Dr. Natarajan, called some of

  the attorneys involved in prosecuting Dr. Erdmann, and/or moved to recuse

  prosecutor Farren. Brewer also argues that he would not have testified on his own

  behalf had he known about Dr. Erdmann’s misdeeds. DE 103 at 52–59. Here, Brewer

  relies on new declarations, including his own declaration, one from his trial attorney

  Anthony Odiorne, and one from attorney Shane Phelps who was involved in

  prosecuting Dr. Erdmann. All of these declarations are barred under Pinholster.

        As the state habeas findings and record show, trial counsel attempted to keep

  Dr. Natarajan from testifying about Dr. Erdmann’s report mainly on the grounds that

  it violated Brewer’s right to confrontation. 23 RR 7–58. Regardless, Brewer’s claim

  fails mainly because his arguments and these declarations evince no appreciation for

  the defense’s trial strategy and the downside to attacking the autopsy testimony. The

  trial and habeas record show that Brewer testified for three reasons: to accept

  responsibility for the murder and show remorse; to highlight his lack of violent

  activity while on death row; and to place his poor behavior before the crime into

  context. See, e.g., 2 SHH 70, 83–84, 278–81, 285–86; 3 SHH 10, 55–56, 124. Brewer’s

  claim to the contrary, now he is arguing that the defense should have tossed that

  strategy aside and challenged the autopsy to re-direct culpability to Nystrom, despite



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  overwhelming evidence to the contrary. Hence, Brewer asserts that Dr. White’s 1997

  letter “puts some of the onus on Mr. Brewer’s co-defendant, Ms. Kristie Nystrom.

  This allows counsel to argue that Mr. Brewer is less morally culpable and that he,

  like Ms. Nystrom, should receive a life sentence.” DE 103 at 54–55. Instead of

  deciding the fate of a man who had accepted responsibility for his crime, the jury

  would have been faced with a defendant still defiant after eighteen years and willing

  to downplay his actions while casting blame to his accomplice.

        The idea that blame-shifting or attempting to downplay the horror of the crime

  would have amounted to a sound trial strategy given Brewer’s clear guilt is illogical.

  This is certainly not a path his attorneys wanted to go down because they considered

  remorse to be crucial and thought belaboring Mr. Laminack’s cause of death would

  damage their credibility. 7 SHCR 2009, 2013; 2 SHH 279–80; 3 SHH 124. Lead

  attorney Keith stated in his habeas affidavit:

        In accordance with the trial strategy and in accordance with the
        anticipated testimony of Mr. Brewer, I made a decision not to attack or
        belabor the issue of the Mr. Laminack’s death. I believed that to do so
        would damage the defense’s credibility in other areas. I also believed
        that this damage would outweigh any benefit to be gained by disputing
        the nature of Mr. Laminack’s death.

  7 SHCR 2013. Co-counsel Odiorne stated in his affidavit:

        [T]he autopsy performed by Dr. Erdmann dealt with the cause of death,
        which is primarily a guilt/innocence issue and was not an issue in
        Mr. Brewer’s case. Mr. Brewer’s case had been remanded back to the
        trial court solely for a new punishment hearing. It was part of our trial
        strategy to have Brent Brewer testify so he could tell the jury personally
        about his responsibility for the crime and his remorse for his actions.




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  7 SHCR 2009.15 Indeed, at trial, defense counsel began his final argument with an

  immediate and blunt concession that Brewer was guilty of capital murder and

  damaged the lives of Mr. Laminack’s family: “There is no excuse.               There is no

  justification. It wasn’t a mistake. It wasn’t an accident. It was capital murder.”

  25 RR 204–05. And because the defense filed a motion for production of evidence

  regarding the criminal proceedings against Dr. Erdmann, which the trial court

  granted, clearly the defense knew about the issues pertaining to Dr. Erdmann but

  chose not to utilize that evidence.

         As stated above, strategic decisions made by counsel should not be easily

  second-guessed, and “a conscious and informed decision on trial tactics and strategy

  cannot be the basis of constitutionally ineffective assistance of counsel unless it is so



  15     Oddly, in his Pinholster-barred declaration, Odiorne claims that if the defense had
  seen the 1997 motion to withdraw that Farren filed, the defense would have been able to
  inform the jury the State knowingly presented unreliable evidence from Dr. Erdmann, could
  have cross-examined Dr. Natarajan with it, and could have told the jury not to believe any of
  the autopsy results. DE 32-3 at 282–83. But Odiorne does not explain why this strategy
  would have been wise in light of the strategy the defense used at trial and that he endorsed
  on state habeas review. Nor does he attempt to explain how this could have affected the
  outcome of the trial. More importantly, Brewer’s state habeas counsel specifically referred
  to and quoted the Farren motion in his state habeas application, and he attached the motion
  as an exhibit. 2 SHCR 253–54; 4 SHCR 1053–57. In his state habeas affidavit, Odiorne
  addressed Brewer’s IATC allegations one by one, including this specific claim (“Response to
  claim 3(A)”), but he mentioned nothing about Farren’s motion. 7 SHCR 2008–10. Odiorne
  also states in his declaration that he “was recently provided a copy” of Farren’s motion,
  DE 32-3 at 282, which makes little sense given that he clearly reviewed Brewer’s state habeas
  allegations. Odiorne’s declaration is further flawed because he says that the defense could
  have used the motion to argue the State knowingly presented Dr. Erdmann’s work, which
  was unreliable, tainted, and arguably false. Id. at 283. But the defense knew the essential
  facts about Dr. Erdmann’s misdeeds because, as shown above, the defense filed a motion for
  production of Brady evidence regarding the specific criminal proceedings against
  Dr. Erdmann, and the trial court granted the motion. 1 CR2 302–04; 2 CR2 407. Odiorne’s
  implied assertion that he was somehow surprised or broadsided by these developments is,
  consequently, refuted by the record. Therefore, even if this Court could consider Odiorne’s
  new declaration, it lacks any credibility given these major inconsistencies.

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  ill chosen that it permeates the entire trial with obvious unfairness.” Pape v. Thaler,

  645 F.3d 281, 291 (5th Cir. 2011) (internal quotations and citation omitted). Because

  Brewer’s re-trial pertained only to punishment, and given that he is clearly guilty of

  capital murder, a tactic attempting to undermine the autopsy results by presenting

  an expert to challenge them, calling the attorneys who assisted in prosecuting

  Dr. Erdmann, or attempting to force Farren off the case would have been futile and

  likely backfired, as attorney Keith feared. Indeed, the State’s response would have

  been two-fold: (1) Dr. Natarajan was testifying, not Dr. Erdmann, and he came to his

  own independent conclusion about cause and mechanism of death, which is not

  impeachable based on the evidence, and (2) Brewer had no intention of accepting

  responsibility for his actions even though he was clearly guilty. Further, had counsel

  foolishly called Dr. White, the prosecution would have forced him to concede that he

  actually agreed with the primary findings regarding cause and mechanism of death,

  which would have eviscerated this strategy and wrecked any ability for the defense

  to then fall back on remorse and responsibility.

        Finally, Brewer’s Pinholster-barred declaration in which he claims he would

  not have testified if he knew at trial what he knows now about Dr. Erdmann is the

  epitome of hindsight. DE 32-3 at 278–80. While it is true that he was under no

  obligation to testify, he was able to tell his side of the story, describe his background

  and upbringing, and apologize for his actions. Brewer presents nothing to show a

  reasonable probability that he would have been sentenced to life had he not testified.

  Moreover, Brewer is not a credible source for this information—he has every reason



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  to say this now or speak unfavorably about Dr. Erdmann and his trial counsel. And

  critically, at no point in his declaration does he say he lied when he admitted to

  murdering Mr. Laminack, nor does he even dispute the autopsy results. Id.

        In sum, Brewer cannot demonstrate deficient performance or prejudice.

  Indeed, Brewer presents no legitimate argument for prejudice. He simply claims

  counsel had readily available evidence to impeach Dr. Natarajan’s testimony and

  attack Farren’s continued participation in the case. DE 103 at 59. But a complaint

  that counsel failed to use an alternate strategy does not equate to demonstrating a

  reasonable probability that, but for counsel’s errors or omissions, the result of the

  proceeding would have been different. Coble v. Quarterman, 496 F.3d 430, 436–37

  (5th Cir. 2007) (“desire to have a specific defense theory presented does not amount

  to ineffective assistance on federal habeas review”). And, again, it is not sufficient if

  Brewer satisfies his burden under Strickland; Brewer must show that the state

  court’s denial of his Strickland claim was objectively unreasonable. This he has failed

  to do, and habeas relief must be denied.

  IV.   Appellate Counsel Was Not Ineffective for Not Challenging the
        Admission of the 1991 Transcripts.

        Brewer contends that appellate counsel was ineffective for failing to challenge

  the trial court’s admission of records and transcripts from his first trial, namely

  Dr. Erdmann’s testimony. Brewer claims that appellate counsel should have raised

  the claim because his right to confrontation was violated. DE 103 at 59–63.16 The


  16     In this section, Brewer claims that his inability to cross-examine Dr. Erdmann
  violated his right to heightened procedural protections under the Eighth Amendment.
  DE 103 at 61–62. But this is merely a re-iteration of Brewer’s confrontation claim, which

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  state court rejected this claim finding that Dr. Erdmann’s report and testimony were

  previously challenged during Brewer’s first trial and appeal and the judgment was

  affirmed, and that the admission of the evidence did not violate the Confrontation

  Clause. 10 SHCR 3114–15, 3134–36, 3150–52, 3164–65. The state court also found

  not credible an affidavit by appellate counsel John Bennett, in which he stated he did

  not know why he failed to raise this issue on appeal and that it would have been to

  Brewer’s benefit. 9 SHCR 2765; 10 SHCR 3115. This decision is not unreasonable.

         A criminal defendant is constitutionally entitled to effective assistance of

  counsel on direct appeal. Evitts v. Lucey, 469 U.S. 387 (1985); United States v.

  Phillips, 210 F.3d 345, 348 (5th Cir. 2000).           The familiar standard set out in

  Strickland to prove that counsel rendered unconstitutionally ineffective assistance

  applies equally to both trial and appellate attorneys. Busby, 359 F.3d at 714 (citing

  Smith v. Robbins, 528 U.S. 259, 285 (2000)). Thus, to obtain relief, Brewer must

  demonstrate that appellate counsel’s performance was deficient and that such

  deficiency prejudiced his defense.       Strickland, 466 U.S. at 687.        In establishing

  prejudice, Brewer must show a reasonable probability that he would have prevailed

  on appeal had counsel raised the omitted claims. Robbins, 528 U.S. at 285–87.

         Brewer’s claim fails for several reasons. First, Dr. Erdmann’s autopsy report

  was not admitted. Regardless, under Texas Rule of Evidence 703, expert opinion can

  be predicated on inadmissible evidence if of a type reasonably relied upon by experts


  fails for the reasons addressed above. Brewer now simply attaches an Eighth Amendment
  complaint to this allegation, which is wholly conclusory. Conclusory allegations do not state
  a claim for federal habeas corpus relief and are subject to summary dismissal. Ross v. Estelle,
  694 F.2d 1008, 1011–12 (5th Cir. 1983).

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  in that field of expertise. Ramirez v. State, 815 S.W.2d 636, 651 (Tex. Crim. App.

  1991) (en banc).     And Texas courts have held that it is not a violation of the

  Confrontation Clause for a second expert to provide his own opinions about the nature

  and cause of death even when those opinions are based in part on review of the

  autopsy report and other evidence that may be inadmissible. Martinez v. State,

  311 S.W.3d 104, 112 (Tex. App.—Amarillo, 2010, pet. ref’d); Wood v. State,

  299 S.W.3d 200, 210–13 (Tex. App.—Austin, 2009, pet. ref’d). Although disclosure of

  testimonial statements from an autopsy report may be problematic, Martinez,

  311 S.W.3d at 112; Wood, 299 S.W.3d at 213, that did not transpire here.

  Dr. Natarajan reviewed Dr. Erdmann’s report, but he did not disclose or read from

  the report. Rather, he provided his opinion about manner and cause of death, and he

  was subject to cross-examination.         That his opinion was premised in part on

  Dr. Erdmann’s work is of no moment.17

         Second, Brewer cannot demonstrate deficient performance by appellate

  counsel because, at the time of appeal, CCA precedent regarding Confrontation

  Clause violations at punishment was conflicting. In Russeau v. State, the CCA held

  that the admission at the punishment phase of a capital murder trial of jail




  17     In his reply, Brewer stated: “Dr. Natarajan’s opinion was not ‘premised in part’ [ ] on
  Dr. Erdmann’s work; Dr. Natarajan’s opinions were completely dependent on the accuracy,
  thoroughness, and level of documentation of Dr. Erdmann’s work. As a result, there was no
  way to meaningfully cross-examine him on the core of his testimony.” DE 48 at 23–24. But
  on voir dire examination by Brewer’s counsel, Dr. Natarajan was specifically asked if his
  opinion was based “in part” on Dr. Erdmann’s report, to which he replied, “Yes.” 23 RR 30–
  31. He then testified that, based on his review of the evidence, he came to the same general
  conclusions as Dr. Erdmann regarding cause, manner and mechanism of death, which
  Brewer has never disputed. 23 RR 32.

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  disciplinary reports that contained testimonial statements violated the defendant’s

  right to confrontation. 171 S.W.3d 871, 880–81 (Tex. Crim. App. 2005). But in Coble

  v. State, the CCA questioned—albeit without deciding the issue—whether full

  confrontation rights applied to punishment proceedings, addressing state and federal

  precedent including that from the Fifth Circuit and Supreme Court. 330 S.W.3d at

  290 & n.105. Given this ambiguity at the time of appeal, appellate counsel could not

  have been ineffective.

        Third, Texas Rule of Evidence 804(b)(1)(B) provides that prior testimony of an

  unavailable witness is not excludable in a criminal trial if the testimony (1) was given

  as a witness at a trial or hearing of the current or a different proceeding and (2) is

  now offered against a party who had an opportunity and similar motive to develop it

  by direct, cross-, or re-direct examination. Further, the CCA has held that there is

  no Confrontation Clause violation under Crawford during a re-trial where the court

  admits a witness’s prior testimony from the original trial if the witness was

  unavailable and subject to cross-examination during the original trial. Martinez v.

  State, 327 S.W.3d 727, 738 (Tex. Crim. App. 2010).

        Here, the state court found that Dr. Erdmann testified at the original trial and

  was subject to cross-examination. 10 SHCR 3112. Although Dr. Erdmann was still

  alive at the time of re-trial, Brewer conceded on habeas review that Dr. Erdmann was

  unavailable. 2 SHCR 263 (“The defense did not hold the prosecution to their burden

  of proving Dr. Erdmann’s unavailability, but it appears it was not a matter of dispute

  that he was unavailable, in light of the defense’s repeated references to Crawford.”);



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  see also 2 SHCR 280. In his reply, Brewer argued that “it was not possible to cross-

  examine Dr. Erdmann on his fraud at Petitioner’s initial trial because such fraud had

  not yet come to light.” DE 48 at 24. Even assuming this is true, Brewer’s current

  complaint pertains to the Confrontation Clause, and he has provided no precedent

  holding that there is an exception to the case law based on events occurring post-trial.

  Moreover, because the ultimate issue is whether appellate counsel should have raised

  the matter on direct appeal, the CCA has rejected a similar claim involving

  Dr. Natarajan:

        [T]he record reflects that Natarajan testified about his own opinions and
        conclusions based on his review of the autopsy report along with other
        evidence, including autopsy photographs and x-rays. This testimony
        was not inadmissible on the basis that it might have been incidentally
        based, to some degree, on hearsay. . . . Consequently, we are persuaded
        that Natarajan’s descriptions of the autopsy photographs, and their
        presentation to the jury, did not violate the Confrontation Clause.

  Suniga v. State, AP-77,041, 2019 WL 1051548, at *30 (Tex. Crim. App. Mar. 6, 2019)

  (not designated for publication), cert. denied, 140 S. Ct. 375 (2019); see also

  Hutcherson v. State, 373 S.W.3d 179, 183–84 (Tex. App.—Amarillo 2012, pet. ref’d)

  (no confrontation violation where the expert’s opinion is based on inadmissible

  hearsay “because the testifying expert’s opinion is not hearsay and the testifying

  expert is available for cross-examination regarding his opinion” and holding

  “[b]ecause Dr. Natarajan did not disclose the testimonial hearsay upon which his

  expert opinion was based, the jury only heard the direct, in-court testimony of

  Natarajan, and appellant’s confrontation rights were not violated”).         Appellate




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  counsel is not ineffective for failing to raise a meritless claim. Williams v. Collins,

  16 F.3d 626, 635 (5th Cir. 1994).

        Finally, the main reason Brewer’s claim fails is that even had appellate counsel

  raised this issue, there is not a reasonable probability that the outcome of the appeal

  would have been different because Brewer cannot demonstrate that any error was

  harmful. Brewer states: “Had the jurors heard that the doctor who performed the

  autopsy in this case was subsequently sent to prison for falsifying autopsy results,

  there is a substantial possibility that they would have discounted the medical

  testimony in its entirety.” DE 103 at 62. But as discussed in the previous section,

  the autopsy had no bearing on the outcome of the trial because there is no question

  that Brewer murdered Mr. Laminack.           The jury could not and would not have

  discounted Brewer’s obvious guilt.

        In his reply, Brewer stated: “[I]n making this argument, the State does not

  meaningfully engage with Petitioner’s argument as to why this error was harmful.”

  DE 48 at 24.     To the contrary, as stated in the prior section, Brewer never

  meaningfully    explains   how      challenging   the   autopsy   would   have   altered

  Dr. Natarajan’s testimony about cause, manner, and mechanism of death.           All he

  stated was “Dr. Natarajan’s testimony spoke to Petitioner’s relative culpability and

  future dangerousness for purposes of the jury’s sentencing determination.”           Id.

  Again, that is not a valid explanation regarding specific prejudice to Brewer, who

  admitted his guilt and whose attorneys conceded the issue.




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        In short, Brewer cannot demonstrate any prejudice from appellate counsel’s

  decision not to brief this issue. Thus, the state court’s decision is not unreasonable,

  and relief should be denied.

  V.    Brewer’s Claim that Trial Counsel Were Ineffective for Not Rebutting
        His Prior Bad Acts Has No Merit and Is in Part Defaulted.

        Brewer alleges that trial counsel were ineffective for failing to investigate and

  rebut his prior bad acts. He argues that the State’s future-dangerousness case went

  unchallenged, that counsel failed to present evidence showing that Brewer had never

  been the subject of an investigation while in prison, and that counsel failed to conduct

  the investigation prior to advising Brewer to testify. DE 103 at 64. Portions of these

  claims are defaulted, and Brewer relies almost entirely on evidence not presented to

  the state court. The remaining claims were reasonably rejected by the state court

  and are without merit.

        A.     Some of these allegations are defaulted.

        Federal review of a habeas claim is procedurally barred if the last state court

  to consider the claim expressly and unambiguously based its denial of relief on a state

  procedural bar. Harris, 489 U.S. at 263. Where a state court has explicitly relied on

  a procedural bar, a state prisoner may not obtain federal habeas relief absent a

  showing of cause for the default and actual prejudice, or that the federal court’s

  failure to consider the claim will result in a miscarriage of justice. Coleman, 501 U.S.

  at 750. Failure to raise a claim in an initial state habeas corpus application may not

  be excused for cause unless the claim was not “reasonably available” at the time of

  the prior petition.   Fearance v. Scott, 56 F.3d 633, 636 (5th Cir. 1995). And a

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  miscarriage of justice in this context means that the petitioner is actually innocent of

  the crime of which he was convicted or of his death sentence. Sawyer v. Whitley,

  505 U.S. 333, 339–40, 349 (1992).

        Here, Brewer raises claims pertaining to specific witnesses that were not

  raised in his original habeas application. He claims that counsel failed to investigate

  and rebut testimony from Kevin Lewis about his contact with Brewer in jail and from

  Ronald Mosher and Ammy Valles about Brewer’s arrest in Florida for possession of a

  concealed weapon. DE 103 at 67, 70–72. He also claims that counsel were ineffective

  for failing to investigate these issues before advising him to testify. Id. at 77–78.

  After this Court granted Brewer a stay, he raised these allegations in his state habeas

  application dismissed for abuse of the writ. SHCR2 25–28, 42–43; Ex parte Brewer,

  2019 WL 5420444, at *1. The Fifth Circuit has repeatedly held that Texas’s abuse-

  of-the-writ doctrine is an adequate and independent state ground barring federal

  habeas review of claims raised in the abusive application.         Garza v. Stephens,

  738 F.3d 669, 675 (5th Cir. 2013); Balentine v. Thaler, 626 F.3d 842, 857 (5th Cir.

  2010); Hughes v. Quarterman, 530 F.3d 336, 342 (5th Cir. 2008).

        Regarding cause, in his reply, Brewer argued that he was abandoned by state

  habeas counsel and left unrepresented for two years. DE 48 at 27 n.18. Indeed,

  Brewer stated that he can overcome his default via the equitable exception

  announced in Martinez v. Ryan18 and Trevino v. Thaler.19 DE 48 at 27–28. In



  18    566 U.S. 1 (2012).

  19    569 U.S. 413 (2013).

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  Martinez, the Supreme Court found for the first time an equitable exception to the

  statement previously asserted in Coleman that an error by an attorney in a state

  postconviction proceeding does not qualify as cause to excuse a procedural default.

  566 U.S. at 9. Trevino held that this limited equitable exception generally applies to

  Texas capital cases. 569 U.S. at 417. To meet the Martinez/Trevino exception,

  Brewer must show that (1) his underlying IATC claim is “substantial,” meaning that

  he “must demonstrate that the claim has some merit,” Martinez, 566 U.S. at 14; and

  (2) his initial state habeas counsel was ineffective in failing to present this claim in

  his first state habeas application. See id.; Trevino, 569 U.S. at 429.

        Brewer cannot satisfy this exception. His complaint that he was abandoned

  and left unrepresented on state habeas review is a misrepresentation of the facts. On

  January 12, 2012, Brewer’s state habeas counsel, Richard Wardroup, filed an “Agreed

  Motion to Determine Correct Filing Date for Art. 11.071 or, Alternatively to Permit

  Continued Representation and Establish a New Set Filing Date.” In this motion,

  Wardroup explained the following. He was appointed to be state habeas counsel on

  September 10, 2009, by the trial judge. The trial judge died several months later,

  and on July 21, 2010, the CCA rejected Wardroup’s appointment because he was not

  on the list of attorneys approved to handle capital habeas proceedings. The CCA

  ordered the trial court to appoint new counsel, and Wardroup considered himself

  removed as of that date. In October of 2011, Wardroup learned that the deadline for

  filing Brewer’s habeas application was approaching and inquired as to whether

  Brewer had obtained new counsel. Wardroup, who by then had become qualified to



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  represent capital defendants on state habeas review, learned no other attorney had

  been appointed. On October 11, 2011, the trial court re-appointed Wardroup as

  counsel.   Although he expected 180 days to complete and file the application,

  Wardroup learned he had only two weeks to file it but succeeded in obtaining and

  extension until January 25, 2012. However, he maintained that this was insufficient

  time to conduct an investigation and filed the agreed motion in the CCA. He also

  wanted to remain as counsel for Brewer because he was familiar with the case, had

  conducted some investigation, and had met with Brewer. See Agreed Motion and

  accompanying affidavit of Richard Wardroup, January 12, 2012.

         On January 20, 2012, the CCA issued an order explaining the above timeline

  and that Wardroup’s re-appointment did not generate a new 180-day deadline.

  See Ex parte Brewer, No. 46,587-02, Order of January 20, 2012.20 However, “given

  these facts and the peculiar circumstances of this case,” the CCA found good cause

  for Wardroup’s failure to timely file an application and granted him 180 days, or until

  mid-July, 2012, to file Brewer’s habeas application. Id. Thus, Wardroup, who had

  already conducted some investigation into the case, was given the full time allotted

  by the statute. And per his motion and affidavit, Wardroup immediately enlisted the

  assistance of an investigator and expert to investigate and prepare the habeas

  application. See Wardroup affidavit at 2–3.

         In short, Brewer was never abandoned.           His habeas proceeding was only

  delayed due to a trial court error and some miscommunication. Thereafter, Wardroup


  20   The motion Wardroup filed, his affidavit, and the CCA’s order are individual
  documents included with the entire state habeas record rather than within a specific volume.

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  filed a 410-page habeas application raising sixteen claims for relief, several divided

  into multiple sub-claims. 1 SHCR 63–472. As shown in Section I, supra, Wardroup

  included numerous affidavits and exhibits, indeed more than the Director has listed.

  His state habeas proceeding consists of ten volumes, and although Hilary Sheard took

  over as habeas counsel, Brewer still received a state court evidentiary hearing

  regarding the IATC claim Wardroup briefed pertaining to Dr. Coons. Moreover, the

  instant IATC claim is only partially defaulted because Wardroup presented the

  allegations pertaining to Albert Brewer and Aimee Long in the original application.

        Finally, the ineffectiveness claims pertaining to Kevin Lewis, Ronald Mosher

  and Ammy Valles, and Brewer’s own testimony are without merit. Thus, state habeas

  counsel was not ineffective for failing to raise them. Newberry v. Stephens, 756 F.3d

  850, 872 (5th Cir. 2014) (prisoner must show a reasonable probability that he would

  have been granted state habeas relief had his habeas counsel’s performance not been

  deficient); see also Barbee v. Davis, 660 F. App’x 293 (5th Cir. 2016). Moreover, even

  if Brewer can show cause flowing from habeas counsel’s representation, he must still

  demonstrate “actual prejudice.” Canales v. Stephens, 765 F.3d 551, 571 (5th Cir.

  2014); see also Hernandez v. Stephens, 537 F. App’x 531, 542 (5th Cir. 2013). This he

  cannot do. Consequently, these claims are defaulted.

        B.     Brewer’s claims lack merit.

               1.    Counsel did elicit evidence that Brewer was never
                     the subject of an investigation.

        Brewer’s contention that trial counsel were ineffective for failing to present

  evidence that he was never the subject of an investigation or a gang member while in

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  prison, DE 103 at 77–78, is meritless. The state court rejected this claim, holding

  that trial counsel’s main objective was to show that Brewer had opportunities to

  commit criminal acts of violence but had not engaged in any such acts. 10 SHCR

  3083, 3106–07. This decision is not unreasonable.

        First, Brewer is incorrect. On cross-examination, Merillat testified that he

  never recalled having to investigate Brewer.      23 RR 166.     It would have been

  redundant for the defense to call someone to testify to the same. Moreover, the State

  never argued or presented evidence showing that Brewer was a gang member.

  Second, the defense presented three correctional officers who testified that Brewer

  had never given them any trouble. 24 RR 74–76, 105–07; 25 RR 23. When the defense

  cross-examined Russell Pinckard and Stephen Bryant, Pinckard admitted that

  Brewer had never given him or any other guards problems, 23 RR 86, and Bryant

  conceded that Brewer was classified as a level one offender, meaning he was among

  the best behaved inmates. 23 RR 115. The defense also highlighted the fact that

  Brewer’s prison infractions had been minor. 23 RR 122–25. During final argument,

  counsel said: “I assure you that if Mr. Brewer had done something horrible in prison,

  you would have heard about it and it would have been used against him.” 25 RR 207.

        In short, Brewer is complaining that counsel failed to investigate and present

  similar testimony.    Counsel is not ineffective for failing to present cumulative

  evidence. Trottie, 720 F.3d at 246; Carty v. Thaler, 583 F.3d 244, 264 (5th Cir. 2009).




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                2.     Counsel effectively challenged the State’s case.

         Brewer’s claim that counsel failed to rebut the State’s case on future

  dangerousness is premised on declarations from trial counsel Odiorne and

  investigator Rob Cowie, neither of which were presented to the state court and are

  barred under Pinholster. DE 103 at 66–67, 69–72, 77–78. In these declarations, both

  Odiorne and Cowie state that they did a poor job.21 To say the least, they are highly

  suspect, particularly considering that Odiorne provided an affidavit on state habeas

  review defending his actions and tactics and testified at the habeas hearing for

  several hours. See Spence v. Johnson, 80 F.3d 989, 1003 (5th Cir. 1996) (“[R]ecanting

  affidavits and witnesses are viewed with extreme suspicion by the courts.”) (citation

  and internal quotations omitted). Cowie, moreover, complains that the defense never

  sought a continuance to prepare experts, DE 19-5 at 166–67, but, at the state habeas

  hearing, trial counsel Keith questioned the need for one because he was comfortable

  with what he wanted from Dr. Edens. 3 SHH 72. He also pointed out that the issue

  of a continuance was a matter of hindsight. Id.

         These declarations are also suspect because the record reveals that counsel

  performed effectively.    For instance, the defense forced the State’s witnesses to

  concede that inmates on death row do commit violent acts but that Brewer did not

  have a violent prison history. 23 RR 164–68. And the Director has already shown

  how defense counsel effectively cross-examined Dr. Coons and rebutted his testimony



  21      Brewer attempted to re-submit these declarations when he recently sought to file his
  appendix, which this Court denied. DE 107. However, he previously filed them when he filed
  his original petition in 2015. See DE 19-4 at 160–65, DE 19-5 at 166–68.

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  with Dr. Edens.     Thus, the defense accomplished its goals of (1) demonstrating

  Brewer’s lack of violent history in prison; (2) pointing out the flaws in Dr. Coons’s

  methodology; (3) having Brewer express remorse and accept responsibility for his

  crime.    There is simply no merit to the contention that the State’s case “went

  unchallenged.”

           Brewer also claims that counsel failed to conduct this investigation before

  advising him to take the stand. This claim is defaulted, as stated above. Moreover,

  Brewer cannot overcome his default because he does not explain how counsel’s alleged

  failures would have altered the defense’s strategy of placing Brewer on the stand, or

  how that would have shaped or changed his testimony. This particular claim must

  be rejected as conclusory. Miller v. Johnson, 200 F.3d 274, 282 (5th Cir. 2000)

  (“[C]onclusory allegations of ineffective assistance of counsel do not raise a

  constitutional issue in a federal habeas proceeding.”).

                 3.    Counsel were not ineffective for not rebutting
                       specific witnesses.

                       a.    Aimee Long

           Brewer claims that had defense counsel questioned Long, she would have

  mentioned the incident that resulted in Brewer assaulting her following their

  breakup, but––per her statement barred under Pinholster––she would have “doused”

  the incident by saying Brewer was not violent, the incident was out of character for

  him, he did not intend to hurt her, and he was not dangerous. DE 103 at 69–70.

  Brewer raised this allegation in his original state habeas application adjudicated on




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  the merits, 2 SHCR 291–92; 10 SHCR 3117–23, and the state court decision denying

  relief is not objectively unreasonable.

        This claim fails because the assault was not simply a one-time event. Long

  testified that Brewer threatened to kill her on several occasions both before and after

  the assault, that Brewer threatened to kill her new boyfriend, and that her fears of

  Brewer intensified after the assault when he continued to threaten her. Further, the

  threats and assault did not occur contemporaneously; Brewer threatened Long after

  she broke up with him up until a few months later when she began dating her new

  boyfriend, which is when the assault occurred. And the assault was not minor;

  Brewer dislocated three discs in Long’s back pinching a nerve and causing her to lose

  the use of her right arm for several months. Given all the threats, clearly he did

  intend to hurt her. Long also had an unpleasant encounter with Brewer and his

  family when she tried to pick up some of her possessions from his house. Moreover,

  Long broke up with Brewer because he was possessive. 22 RR 77–87. She also

  provided this testimony at Brewer’s first trial. See 18 RR 592–97 (1991 trial record).

        The trial evidence thoroughly contradicts Brewer’s “new” evidence. It would

  have made little sense for trial counsel to try to elicit an opinion from Long that the

  assault was “out of character” for Brewer when Long’s description of factual events

  painted a completely different picture. Cross-examination along these lines would

  have merely given the State a second opportunity to highlight on re-direct

  examination Brewer’s violent and threatening behavior. The better choice was for

  counsel to get Long off the stand as quickly as possible, not to question her in the



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  slight chance that she might provide some beneficial testimony, thereby keeping her

  on the stand and making her testimony more prominent. Brewer’s claim is meritless.

         Long’s statement is also suspect because it is wholly inconsistent with the facts

  she provided at both trials. In other words, it is a form of recantation, which is

  “viewed with extreme suspicion by the courts.” Spence, 80 F.3d at 1003.

                       b.      Ronald Mosher and Ammy Valles

         Brewer raises a defaulted claim that trial counsel were ineffective for failing

  to interview Ronald Mosher and Ammy Valles about Brewer’s arrest for possession

  of a concealed weapon—a knife—in Florida. DE 103 at 70–71. Mosher, who testified

  at trial, was the arresting officer, and Brewer worked for Valles and her husband,

  who were selling drugs. Brewer was a driver for Valles (then Greenman) and her

  husband, and he was in the driver’s seat while Valles was in the passenger seat.

  When Mosher approached the car, he saw a knife located between the driver seat and

  the console and arrested Brewer. 22 RR 232–38.

         Brewer submitted declarations from Mosher and Valles with his federal

  petition.22   In his declaration, Mosher states that he arrested Brewer because the



  22       Because this claim is defaulted and was not adjudicated on the merits, Pinholster
  technically does not apply to these declarations. Nevertheless, this Court cannot consider
  this new evidence. In his reply, Brewer argued: “[S]tate habeas counsel’s failure to develop
  the claim under a Martinez/Trevino theory provides the basis for excusing any failure to
  develop under § 2254(e)(2) and may provide an equitable exception to the application of
  Pinholster under § 2254(d)(1).” DE 48 at 28. But as explained in Section I, supra, state
  habeas counsel’s failure to develop any claims, i.e., where a petitioner alleges habeas counsel
  is “at fault,” forecloses consideration of new evidence under § 2254(e)(2). Nothing in Martinez
  alters this conclusion. Martinez created a “narrow exception” to the court-created rules of
  procedural default, allowing state prisoners to pursue a substantial IATC claim if state-
  habeas counsel unreasonably failed to raise that claim in state court. 566 U.S. at 9. In
  modifying the court-created rules of procedural default, Martinez did not purport to change

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  knife was closest to him, but it was just as accessible to Valles. Brewer did not make

  any statements about who owned the knife, and he did not resist, make threats, or

  act violently. DE 19-5 at 41. Valles simply states that none of their drivers were

  known to carry weapons or be violent, and that Brewer’s trial attorneys never talked

  to her. DE 19-5 at 44. In his petition, Brewer argues: “This information from the

  arresting officer places this incident in an entirely different, far less sinister or

  aggravating context.” DE 103 at 71.

        However, Mosher testified at trial that he arrested Brewer because of where

  the knife was located: between the driver’s seat and the console. 22 RR 236–37. On

  cross-examination, Mosher stated that Brewer was cooperative when Mosher

  approached him, that Brewer remained cooperative during his arrest, that Valles was

  in the car but was not arrested, and that the car belonged to Valles and her husband.

  22 RR 239. Mosher’s declaration states essentially the same; it adds nothing of

  significance. And even though Mosher asserts in his declaration that the knife was

  equally accessible to Valles, the jury knew that because it was implied in his

  testimony. Further, Brewer testified at trial that the knife was not his; he pled guilty

  to the offense to avoid going to trial and receiving a longer sentence. 25 RR 129–31.

  In short, the trial testimony about this particular event was hardly “sinister.” As

  stated, trial counsel is not ineffective for failing to present cumulative or redundant

  evidence. Norman v. Stephens, 817 F.3d 226, 233 (5th Cir. 2016).



  the AEDPA’s independent statutory bar on what evidence federal habeas courts may
  consider. In no event did Martinez overrule any part of (Michael) Williams or Holland. The
  Martinez Court concluded that its holding raised no stare decisis concern. Id. at 15.

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        Valles’s declaration adds nothing at all. And it would not have been wise for

  counsel to call Valles because she and her then-husband, John Greenman, had a

  criminal history and poor reputation in the Naples, Florida, area. Indeed, Mosher

  testified that he approached the car because he had frequent encounters with the

  Greenmans, the car was known to belong to them, and he knew they had suspended

  licenses. 22 RR 236–37.

                     c.     Kevin Lewis

        Brewer raises a defaulted claim that trial counsel were ineffective for failing

  to interview Kevin Lewis, a former inmate. DE 103 at 71–72. In Brewer’s first trial

  in 1991, Lewis testified that he got into an argument with Brewer, and Brewer

  threatened to stab him in the eye with a pencil.        18 RR 706–07 (1991 trial,

  punishment phase testimony from Lewis). Brewer states that Lewis’s 1991 testimony

  was admitted at his re-trial, but that had trial counsel interviewed Lewis, Lewis

  would have testified that he started the fight and not Brewer. DE 103 at 71–72.

  Brewer supports his claim with a declaration from Lewis in which he also states that

  Brewer remained calm during the incident and that Brewer had no problems with

  any other inmates or guards. DE 19-5 at 33–34.

        However, this claim is meritless for several reasons. First, Lewis testified at

  the re-trial about comments Brewer made regarding murdering Mr. Laminack and

  about whether he, Lewis, knew some individuals who had knowledge of the murder.

  22 RR 92–103. Lewis did not testify about the fight between him and Brewer.

  Second, Brewer’s allegation is premised on the transcript of Lewis’s 1991 testimony,



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  which Brewer claims was introduced into evidence during the re-trial. But Lewis’s

  1991 testimony is not among the listed exhibits and was never read into the record.

  The Director has not located this transcript in the record, and Brewer has never

  indicated where this transcript was admitted.23 When questioning Brewer on cross-

  examination, the prosecution did reference Lewis’s prior testimony regarding

  supposed conflicts Brewer had with other inmates, but nothing was ever officially

  reported and the State did not go into specifics. 25 RR 102–03, 113, 132. Brewer

  himself briefly referenced the argument with Lewis, only stating “[the prosecution]

  said something [in the first trial] about having an argument with Kevin Lewis or

  something.” 25 RR 103. During closing arguments, the State did not mention Lewis,

  let alone this fight, 25 RR 195–204, 217–24, and defense counsel pointed out that if

  Brewer had engaged in bad or violent behavior in prison, the State would have

  presented it. 25 RR 207. In short, this is an immaterial issue; trial counsel cannot

  be ineffective for failing to rebut testimony that was never presented.




  23      Brewer states: “In 2009, all of the testimony from the 1991 trial, including Mr. Lewis’s,
  was introduced into evidence.” DE 103 at 67. Brewer does not provide a record citation
  revealing where this evidence was admitted. At the beginning of trial, the prosecution asked
  the trial court to take judicial notice of the fact that Brewer had been convicted of murder in
  1991 and stated: “We would like to tender all of the exhibits, all of the testimony, all of the
  evidence offered during the guilt/innocence phase of the trial.” 21 RR 21 (emphasis added).
  During a long discussion outside the jury’s presence, the State sought to offer exhibits
  admitted at the first trial, and the defense voiced its objections. 21 RR 22–23. The trial court
  overruled the defense’s objections and, when the jury was brought in, the trial court
  announced that it was taking judicial notice of Brewer’s conviction for capital murder. 21 RR
  37. But Lewis testified at the punishment phase of the 1991 trial, not the guilt/innocence
  phase. And although the prosecution read into the record the 1991 testimony from several
  other witnesses, it did not read Lewis’s. Further, the prosecution did not seek to admit
  Lewis’s 1991 testimony before or after Lewis testified in 2009. See 22 RR 89–125.

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         Finally, testimony from Lewis that Brewer had no problems with other

  inmates or guards would have been redundant. Counsel presented testimony from

  three correctional officers—Castleberry, Unruh and Wilson—all of whom stated they

  had contact with Brewer and he caused no problems or they did not recall him causing

  any problems. 24 RR 74–76, 105–07; 25 RR 19–23. Again, trial counsel is not

  ineffective for failing to present cumulative evidence. Moreover, correctional officers

  would have had more credibility than another inmate. This IATC claim is meritless.

                4.     The claims regarding Albert Brewer are meritless.

                       a.     Evidence of       Albert’s    poor    behavior      was
                              presented.

         Brewer alleges that trial counsel were ineffective for failing to rebut evidence

  about Brewer’s assault on Albert and for not presenting evidence that Albert was

  abusive toward others in the family. DE 103 at 72–74. He supports this claim with

  declarations from Billie Anne Young, Faye Brewer, Brenda Brewer, and Corrie

  Brewer that were not presented to the state court and are barred under Pinholster.

  DE 103 at 73–74.

         Brewer raised this claim in his original habeas application, which the state

  court rejected on the merits, specifically highlighting the evidence presented of

  Albert’s poor behavior. 2 SHCR 292–93, 296, 298–99, 335–38; 10 SHCR 3117–23,

  3154. This decision is not unreasonable. Defense counsel called Karen Brewer, Billie

  Anne Young, and Brewer himself to testify.24 They stated that Albert was abusive



  24     In his petition, Brewer appears to claim that he was underfunded and, thus, counsel
  deficiently investigated/prepared for these witnesses. DE 103 at 74 n.22. But “[c]ounsel was

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  and started the fight that led to Brewer hitting Albert because he was only protecting

  his mother. 24 RR 85–90, 99–100; 25 RR 51–62, 123. Further, the 1991 testimony

  from Lepicier that was read into the record revealed that Albert started the fight, was

  abusive toward Brewer, and was a problem drinker. 22 RR 48–53.

        In addition, trial counsel presented the following evidence. Karen Brewer

  testified that she made a bad decision to move to Mississippi. Brewer tried hard, but

  Albert “was mean to him, so abusive.” Brewer witnessed physical violence between

  his parents on a number of other occasions. 24 RR 85–90. Billie Anne testified that

  she witnessed fights between Albert and Brewer. She would come out of her room

  and “they’d be fighting, in a headlock, hitting.” She also recalled “Albert hitting

  Brent, just beating him up one day.” 24 RR 100. Brewer testified that Albert would

  get mad at his mother and they “would all pay for it.” Albert was physically and

  emotionally abusive toward Karen. Albert would grab Karen around her throat or

  pull her hair and swing her around. Lepicier had been to the house several times

  because Albert was beating on Brewer or his mother. On one occasion, Albert nearly

  broke Brewer’s nose with a piece of wood, resulting in his arrest. 25 RR 58–59, 62.

        Thus, the jury knew that Albert was an abusive man. The evidence Brewer

  now presents merely expands on what the jury heard. Brewer’s claim is that counsel

  failed to present duplicative evidence, which as shown, is inadequate to demonstrate

  ineffective assistance. Moreover, as the Fifth Circuit has admonished, arguments

  that come down to a matter of degrees, i.e., that counsel failed to investigate and


  entitled to formulate a strategy that was reasonable at the time and to balance limited
  resources in accord with effective trial tactics and strategies.” Richter, 562 U.S. at 107.

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  present “enough” mitigating evidence, “are even less susceptible to judicial second-

  guessing.” Ward, 777 F.3d at 265. And that is what Brewer’s claim comes down to—

  counsel failed to present enough evidence to his liking. This allegation is inadequate

  to demonstrate ineffectiveness.

                     b.     Brewer’s claim that counsel failed to delve into
                            Albert’s military history fails for several
                            reasons.

        Brewer raises a claim that trial counsel failed to present evidence pertaining

  to Albert’s poor behavior while in the military, specifically an incident where he

  allegedly assaulted Stanley Kemrer, a fellow soldier, with a knife and descriptions of

  other bad behavior such as fighting, heavy drinking, allegedly committing war crimes

  while in Vietnam, and being discharged from the military under conditions “other

  than honorable.” DE 103 at 74–76. He supports his claims with several documents,

  one being a declaration from Kemrer that is new. Id.

        In his prior amended petition, Brewer briefly referenced Albert’s discharge

  from the military “[u]nder conditions other than honorable.” DE 19 at 59; DE 31 at

  73. But he did not go into the matter in any other detail as he does in the instant

  second amended petition. On August 5, 2016, Brewer filed a motion to supplement

  the record with specific details about Albert’s military record that included the

  Kemrer declaration, a declaration from Timothy Sullivan whom Albert allegedly

  sexually assaulted, references to transcripts from court-martial proceedings,

  supposed evidence of Brewer’s abuse toward his first wife, and other details of his

  poor behavior while in the military. DE 49 at 4–10. To the extent the instant claim



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  was first presented in this motion to supplement, it is barred under the statute-of-

  limitations provision of 28 U.S.C. § 2244(d)(1)(A) because the limitations period

  expired on September 17, 2015, one year after the CCA denied Brewer’s original

  habeas application, and excluding the time his state habeas application was pending

  under § 2244(d)(2). And given that this evidence was clearly available via the exercise

  of due diligence, Brewer is not entitled to equitable tolling of the limitations period.

  Manning v. Epps, 688 F.3d 177, 183–86 (5th Cir. 2012).

        Moreover, arguably this claim is exhausted because, throughout his original

  state habeas application, Brewer repeatedly referenced counsel’s failure to present

  evidence of Albert’s military service in Vietnam, how it turned him into a violent man

  who enjoyed killing, and that it gave him Post Traumatic Stress Disorder (PTSD).

  2 SHCR 289–90, 306–10, 315, 318, 337. Brewer did not get into the specifics of

  Albert’s discharge, court-martial proceedings, or the incidents involving Kemrer and

  Sullivan, but the topic itself was raised often. Because Brewer’s original application

  was adjudicated on the merits, his new evidence is barred under Pinholster.

          At any rate, this claim has no merit. Although this evidence paints Albert in

  a bad light, none of it pertains to Brewer himself. Brewer is not providing evidence

  of other instances where Albert abused him, his mother, or his sister. Indeed, Brewer

  and Albert had no contact while Albert was in the Army; it was only years later when

  Brewer was approximately fifteen-years old that he became re-acquainted with

  Albert. Albert was not in Brewer’s life when Brewer was a child, and Brewer did not

  learn Don Bartlett was not his real father until after the fourth grade. 25 RR 39–40,



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  42. Counsel can hardly be faulted for not presenting this evidence because Albert’s

  conduct in the Army sheds no light on Brewer’s character, record, or the circumstances

  of the offense. Cf. Zant v. Stephens, 462 U.S. 862, 879 (1983) (“What is important at

  the selection stage is an individualized determination on the basis of the character of

  the individual and the circumstances of the crime.”) (emphasis in original). The

  evidence is, therefore, insufficient to demonstrate prejudice. See Sells v. Stephens,

  536 F. App’x 483, 494 (5th Cir. 2013) (trial counsel not ineffective for failing to present

  irrelevant evidence; “[Petitioner] points to the mass of affidavits and reports he has

  since mustered as the mitigating evidence which a reasonable investigation should

  have uncovered. However, much of this evidence is of a type that would not have

  shed any real mitigating light on [Petitioner’s] background.”).

        Moreover, the evidence that Brewer’s counsel presented—testimony that

  Albert seized Brewer in a headlock and beat him, repeatedly grabbed Karen by the

  throat and swung her around by her hair, nearly broke Brewer’s nose with a piece of

  firewood, and was arrested for domestic abuse—was sufficiently graphic. Additional

  testimony pertaining to Albert’s character was unneeded because the jury knew what

  he was like.

        Further, one of trial counsel’s primary themes was that Brewer accepted

  responsibility for the murder. Counsel could have attempted to paint Albert as the

  primary negative influence on Brewer by digging into every aspect of his past, but

  that would have only undermined the defense’s strategy of Brewer shouldering the

  blame.   And it likely would not have worked because the counter-argument is



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  obvious—Brewer was in high school before Albert entered the picture and, thus,

  Albert had no impact on Brewer’s formative years.        Clearly, Brewer wishes in

  hindsight that trial counsel had focused on Albert as the key figure for mitigation

  purposes. But this tactic would have conflicted with the defense’s strategy while

  providing little in return. At the very least, counsel’s decision to forego this route

  should not be second-guessed. Pape, 645 F.3d at 291 (“we may not, in hindsight,

  second-guess counsel’s strategy . . . merely because an alternative course of action

  existed during trial”).

        Finally, Brewer cannot demonstrate any prejudice. Brewer’s upbringing and

  background was hardly of a nature sufficient to mitigate his brutal and senseless

  murder of Mr. Laminack. As shown in the Statement of Facts, supra, Brewer had a

  history of violence and threatening behavior pre-dating the murder, particularly

  toward his former girlfriend, other school mates, and teachers. He also has a history

  of drug use and associating with drug dealers. And following the crime, he was

  defiant and exhibited little remorse. There is not a reasonable probability that this

  additional evidence would have persuaded the jury to answer the special issues such

  that Brewer would have received a life sentence.

  VI.   Brewer’s Claim that Counsel Failed to Investigate and Present
        Mitigating Evidence Is Meritless.

        Brewer contends that counsel were ineffective for failing to investigate and

  present mitigating evidence. Relying primarily on evidence he never presented to the

  state court—numerous declarations from family members and friends, and a recent

  mental-health report by Dr. Mark Cunningham—Brewer claims that counsel failed

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  to present a comprehensive overview of his life, which would have demonstrated more

  family dysfunction and abuse than counsel presented at trial. Brewer also argues

  that counsel failed to investigate and present evidence that he has mental-health

  problems. He further contends that counsel failed to demonstrate the deleterious

  influence Nystrom exerted over him. DE 103 at 79–108. These claims lack merit.

        A.     State court findings

        The state court made the following findings regarding Brewer’s claims: trial

  counsel (1) used an in-house investigator to develop mitigating evidence and trial

  strategy; (2) received and reviewed the transcript of the 1991 trial, which assisted the

  defense in the investigation into both mitigating evidence and the State’s case;

  (3) reviewed the notes from Brewer’s prior attorneys to develop mitigating evidence;

  and (4) traveled to Mississippi to meet with Brewer’s family about mitigating

  evidence. 10 SHCR 3117–18 (citing 7 SHCR 2009, 2013–14).

        The state court then summarized all the evidence presented by Brewer’s trial

  counsel, and found that (1) “most of the unoffered mitigating evidence that [Brewer]

  complains about . . . was not substantially different in strength and subject matter

  from the mitigating evidence actually presented at the re-sentencing trial”; (2) “trial

  counsel . . . properly investigated and presented strong mitigating evidence at the re-

  sentencing trial that called for a sentence of less than death”; (3) trial counsel’s

  strategy “pertaining to the investigation of mitigating evidence and the presentation

  of mitigating evidence was reasonable and plausible in light of all the circumstances”;

  and (4) “[Brewer] has failed to establish any prejudice . . . in light of the thorough



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  investigation of mitigating and aggravating evidence prior to the re-sentencing trial

  and in light of the presentation of strong mitigating evidence at the re-sentencing

  trial.” 10 SHCR 3119–23. This decision is not objectively unreasonable.

         B.     Brewer’s claims are meritless.

                1.     Counsel presented sufficient mitigating evidence.

         As stated, Brewer’s claim, with a few exceptions, relies almost exclusively on a

  slew of declarations he never presented to the state court. See DE 103 at 81–107; see

  also Section I, supra.     This Court cannot consider them under Pinholster.              But

  Brewer’s claim fails nonetheless. First, much of the evidence Brewer argues counsel

  failed to offer was in fact presented at trial in one form or another. For example:

   What Brewer alleges counsel failed                    What counsel did present
                  to present
   Testimony that Don Bartlett rejected           Brewer testified that his relationship
   Brewer, left Brewer out of activities, and     with Don was not good. Billie Anne got
   showed him no affection. DE 103 at 87–         most of Don’s attention, whereas Brewer
   88.                                            did not receive any. Brewer said that he
                                                  and Don got into fights on many
                                                  occasions, and Don would beat him with
                                                  a belt or extension cord. 25 RR 41–42.
   Testimony from Billie Anne that she was        Brewer testified that his mother got
   afraid of Karen Brewer, thought Karen          physical with Billie Anne “most of the
   was bi-polar, and was abused by Karen.         time.” At this point, Brewer and his
   On one occasion, Brewer intervened and         mother started having problems. 25 RR
   was placed in juvenile detention.              43.25
   DE 103 at 88–89.

  25      In his reply, Brewer stated: “The jury heard no testimony regarding Billie Ann’s
  suspicions that Karen Brewer suffered from bi[-]polar disorder. Indeed, the jury heard no
  evidence of the family history of mental illness, instability, and dysfunction that was readily
  available to trial counsel.” DE 48 at 30. At no point has the Director asserted that Billie
  Anne testified Karen was bi-polar; Billie Anne testified about the troubled relationship
  between Brewer and his mother, which, as shown, Brewer somewhat contradicted when he
  testified. But the notion that the jury heard no evidence of the family history of instability
  and dysfunction is clearly refuted by the record.


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   Testimony that, when he lived with Don,       Brewer testified that he ran away from
   Brewer would often run away from home         home several times and would be gone
   to avoid conflicts with his parents, and      for a month or two. His mother came
   his mother and Don made no attempt to         looking for him once but never again.
   find him. DE 103 at 89.                       But his behavior at this time was bad; he
                                                 was smoking marijuana and not doing
                                                 his school work. 25 RR 53–54.
   Testimony that when Albert got back           Brewer testified that when Albert got
   from Vietnam, he was diagnosed with           back from Vietnam, he changed and
   PTSD, drank heavily, and used drugs.          started abusing his mother. 25 RR 40.
   DE 103 at 92.                                 Lepicier’s prior testimony also confirmed
                                                 that Albert was a problem drinker.
                                                 22 RR 50–51.
   Testimony that when Albert re-entered         Brewer testified that the first time he
   Brewer’s life, he exposed Brewer to           got re-acquainted with Albert, they
   cigarettes and alcohol. DE 103 at 94–95.      bought some beer, went to a motel room,
                                                 and got drunk. Brewer also brought
                                                 some marijuana and smoked it. 25 RR
                                                 51–52.
   Testimony that Brewer and Billie Anne         Billie Anne testified to the same at trial.
   did not want to move to Mississippi with      24 RR 100.26
   Albert. DE 103 at 95.
   Testimony      that    Albert    became       Karen said that she made a bad decision
   physically and verbally abusive to            to move to Mississippi. Brewer tried
   Karen, Brewer, and Billie Anne almost         hard, but Albert “was mean to him, so
   immediately upon their arrival in             abusive.” She described the incident
   Mississippi. Albert would hit Brewer in       where Brewer hit Albert and said that it
   the face about twice a month. DE 103 at       started because Albert grabbed her by
   95–96.                                        the hair following an argument. Brewer
                                                 witnessed physical violence between
                                                 them on a number of other occasions.
                                                 24 RR 85–90. Billie Anne testified that
                                                 she witnessed fights between Albert and
                                                 Brewer. She would come out of her room
                                                 and “they’d be fighting, in a headlock,
                                                 hitting.”    She also recalled “Albert

  26      In his reply, Brewer stated: “A thorough investigation would have yielded compelling
  details, including the severe emotional impact of the move on Mr. Brewer and his sister and
  the harmful and disruptive effect Albert Brewer had on their lives after the move.” DE 48 at
  31. Brewer then quotes from Billie Anne’s declaration—barred under Pinholster—that they
  cried in the car all the way to Mississippi, and Albert threw out some of their baby picture
  albums, which Brewer recovered. Id. This latter information hardly transforms the move to
  Mississippi into compelling mitigating evidence. Regarding how Albert behaved after the
  move, that evidence was presented to the jury, as shown herein.

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                                          hitting Brent, just beating him up one
                                          day.” 24 RR 100. Brewer testified that
                                          Albert would get mad at his mother and
                                          they “would all pay for it.” Albert was
                                          physically and emotionally abusive
                                          toward Karen. Albert would grab Karen
                                          around her throat or pull her hair and
                                          swing her around. Brewer hit Albert
                                          with the broom when he jumped up from
                                          the kitchen table and tried to grab
                                          Karen. Lepicier had been to the house
                                          several times because Albert was
                                          beating Brewer or his mother. On one
                                          occasion, Albert nearly broke Brewer’s
                                          nose with a piece of fire wood. Brewer
                                          went to the police, and Lepicier arrested
                                          Albert. 25 RR 58–59, 62.
   Testimony that Brewer tried to stop As shown, the jury heard about Brewer’s
   Albert from beating Karen, which made attempts to intervene on his mother’s
   Brewer the victim of abuse. DE 103 at behalf. 24 RR 86–90; 25 RR 60, 123.
   96.
   Testimony that Albert got a job as a Brewer testified that when his mother
   truck driver, and Albert and Karen and Albert were on the road, he was
   would be gone most of the time. Brewer responsible for taking care of Billie
   had to care for Billie Anne, and they Anne. 25 RR 55.
   often did not have food. DE 103 at 96–
   97.

         Second, some of Brewer’s new evidence is contradicted by evidence presented

  or elicited at trial. For instance:

    What Brewer alleges counsel failed                The contradictory evidence
                  to present                                   presented
   Testimony that Brewer’s early childhood       Billie Anne testified that she and
   was marked by maternal neglect,               Brewer had a good childhood when they
   instability, and rejection by his parents.    lived with Don. The played all the time,
   DE 103 at 86–88.                              went to the park, and did family things.
                                                 This changed when Don and Karen
                                                 divorced. 24 RR 98.27

  27     In his reply, Brewer stated: “[T]hese supposed inconsistencies show that counsel gave
  an incomplete and inaccurate impression of Mr. Brewer’s background, leading jurors to
  believe he had a “good childhood.” DE 48 at 31 (citing 24 RR 98). The inconsistency was not
  the fault of trial counsel. As Brewer acknowledges, the information about a “good childhood”

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   Testimony that Karen struggled to            Brewer testified his mother “was the one
   provide for Brewer. She would run off        that was there for me my whole life.” As
   and neglect him, and she was                 far as he remembered, she did not “go
   emotionally troubled. DE 103 at 86–87.       off”; she was consistently in his life.
                                                25 RR 43.
   Testimony that when Karen was                Brewer testified that he started having
   married to Don, the house was in a           problems in his middle years after being
   constant state of chaos and discord          diagnosed with scoliosis.         But he
   brought on primarily by Karen’s              conceded that the problems were his
   unstable and domineering behavior,           fault. He started hanging out with
   which in turn affected Brewer’s              “stoner types” who drank alcohol and
   behavior. DE 103 at 87–89.                   smoked marijuana; he experimented
                                                “with probably everything”; he stopped
                                                doing his school work; he got in trouble
                                                at school for pointing a knife at another
                                                student; and he was not well-behaved.
                                                25 RR 48–51.
   Testimony that when Brewer went to           Brewer testified that when he went to
   live with his grandmother in Abilene, his    Abilene, he became re-acquainted with
   grandmother       was    as    unstable,     friends who mainly did drugs and
   domineering, and aggressive as Karen.        alcohol.    But this was his choice.
   She created chaos in the house, was          Brewer’s daily routine primarily
   diagnosed as bi-polar, and essentially       involved “staying high” most of the time.
   drove Brewer to depression and               Eventually, he got sick of life, and wrote
   ultimately a suicide attempt. DE 103 at      a note to his grandmother saying he was
   97–98.                                       sorry and that he was going to commit
                                                suicide. 25 RR 64–65. Brewer did not
                                                characterize any of this as his
                                                grandmother’s fault.
   Testimony that Brewer’s downfall was         Brewer testified that once he got out of
   also due to Nystrom’s bad influence on       the hospital, he came to Amarillo and
   him after he met her in Big Spring State     started doing drugs and alcohol after he
   Hospital and met up with her in              met Guy Blackwell, who was a heavy
   Amarillo. DE 103 at 98, 106–08.              drinker. At one point, they got into a
                                                fight after Blackwell took Nystrom to a
                                                bar. 25 RR 72–74. Therefore, per
                                                Brewer, the supposed bad influence was
                                                Blackwell, not Nystrom. 25 RR 110–11.




  came straight from Billie Anne. If Billie Anne believed otherwise, she should have said so
  when she had the chance, not years later.

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        Third, the alleged evidence that did not come out at trial and is not

  contradicted is insignificant. In a 1996 assessment by Dr. Cunningham, Brewer said

  that, during his pubescent years, he was “disturbed” by some “sex play” between him

  and male friend of the same age. This began with watching pornographic videos and

  progressed into mutual genital fondling and oral stimulation. Brewer further claimed

  that he was “abused” by a female babysitter who initiated breast and mutual genital

  stimulation. Brewer said that he “felt weird about it” and did not really associate the

  experience with being with a girl. Dr. Cunningham noted that “same sex play” and

  adolescent masturbation is “not particularly unusual” and “unremarkable.” Brewer,

  however, was upset for revealing the information because he did not want his mother

  finding out and expressed fears about being considered homosexual. See DE 19-2,

  1996 Cunningham report, at 54–55.        This interview was conducted long before

  Brewer’s re-trial. The fact that Brewer testified and did not bring up these matters

  indicates (1) he did not consider them important and/or (2) he did not want to delve

  into them for personal reasons. At any rate, this is not mitigating evidence sufficient

  to mitigate capital murder. See also Section VI, B, 4, infra (discussing additional

  problems with the report).

        In his reply, Brewer said that the Director took Dr. Cunningham’s statements

  out of context. DE 48 at 32. But the context is as follows:

        Same sex play in early adolescence is not particularly unusual and is
        not an indicator of future homosexual orientation. Adolescent
        masturbation is similar[ly] unremarkable. Brent has had no insight
        regarding the benign meaning of these activities and thus incorporated
        them into his identity in a fashion that increased self[-]repudiation,
        feelings of social alienation, and anticipation of peer rejection.

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  DE 19-2 at 55. In other words, Dr. Cunningham stated that what happened to Brewer

  was not bad, only that Brewer interpreted it that way. This is hardly compelling

  mitigating evidence along the lines of actual traumatic sexual abuse. Moreover, there

  is no elaboration regarding whether it would be unusual for a twelve-year old to have

  odd feelings about this. But Brewer then stated: “Dr. Cunningham’s reports make

  clear the sexual abuse Brent suffered at the hands of a babysitter was traumatic.”

  DE 48 at 32. Dr. Cunningham actually stated that that such abuse “has been

  associated in the research literature” with various emotional and mental-health

  difficulties. But even to the extent this was an actual trauma for Brewer, again, this

  is not compelling evidence sufficient to mitigate the heinous murder of Mr. Laminack.

  Moreover, explaining this evidence would have required calling Dr. Cunningham,

  which counsel did not want to do for the reasons addressed in Section II, supra.

        Regarding Brewer not bringing up these matters when he testified, Brewer

  stated there is no evidence he did not want these matters investigated or that he was

  uncooperative, counsel was obligated to investigate anyway, and, “Mr. Brewer was

  not responsible for deciding what mitigation should have been presented.” DE 48 at

  32–33. Thus, Brewer believes that he was under no obligation to bring up this matter

  despite testifying for close to 140 pages. Brewer has also not shown that counsel was

  unaware of this issue; he merely assumes it. More importantly, Brewer’s claim that

  he “was not responsible for what mitigation evidence should have been presented”

  flies in the face of Strickland, where the Court stated:

        The reasonableness of counsel’s actions may be determined or
        substantially influenced by the defendant’s own statements or actions.

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         Counsel’s actions are usually based, quite properly, on informed
         strategic choices made by the defendant and on information supplied by
         the defendant. In particular, what investigation decisions are
         reasonable depends critically on such information.

  466 U.S. at 691. The notion that Brewer had no say in what was presented is clearly

  meritless.

         Next, Brewer contends that counsel should have presented evidence that

  Albert Brewer abused his first wife, Patricia, and their daughter Corrie; that Brewer

  lived with Albert for one summer when he was fifteen-years old and was exposed to

  Albert’s abuse of other family members, sexual perversions, and animal cruelty; and

  that Albert sexually assaulted and fathered a child with his niece Susan, physically

  abused Susan and their child Israel, and wanted Brewer and Susan to have sex,

  which did not happen. DE 103 at 92–94. But as explained in Section V above,

  evidence of Albert’s behavior directed at others in the family reflects poorly on his

  own character, but it has little relevance to Brewer himself, who had no contact with

  Albert until he was fifteen. Brewer does not even show that he was around Albert

  when many of these events allegedly occurred. If these instances were directed at

  Brewer, that would be another matter. Because they were not, this is evidence of

  little mitigating value. See Sells, 536 F. App’x at 494. And based on the testimony

  from Brewer, Karen, Billie Anne, and Lepicier, the jury was well aware that Albert

  was abusive and often displayed vile behavior.28


  28     In this portion of his claim, Brewer references in further detail Albert’s bad behavior
  while he was in the military, including evidence pertaining to his supposed court martial and
  a declaration from Timothy Sullivan, who claims Albert sexually abused him. DE 103 at 91–
  92. The Director addressed this issue in the prior section; it is irrelevant because it pertains
  to what Albert did to others, and Brewer had no contact with Albert at the time.

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         In his reply, Brewer said that counsel still had an obligation to investigate and

  present this type of evidence. DE 48 at 33. He stated: “Such evidence would have

  not only bolstered the allegations of physical abuse that Brent and his family

  members suffered at Albert’s hands, but would have effectively conveyed to the jury

  the severity of that abuse by showing Albert’s true character and the horrific violence

  he was capable of.” Id. at 34. But the jury heard about the instances of abuse from

  Albert and knew what he was like. What Albert was “capable” of doing or may have

  done to others does not transform any instance of abuse directed toward Brewer, such

  as nearly breaking Brewer’s nose with a piece of wood, to be something worse than

  how it was actually described at trial. Brewer also stated: “[T]he State’s argument is

  refuted by the record. As set forth in the Amended Petition and Dr. Cunningham’s

  report, exposure to his father’s sexual perversity, pervasive violence and threats

  against other family members had a traumatic effect on Mr. Brewer and disrupted

  his   development.”      Id.    But   this   argument    fails   for   several   reasons:

  (1) Dr. Cunningham would have had to provide that testimony, but counsel made a

  strategic decision not to call another expert, (2) Dr. Cunningham’s 1996 report has

  many other problems, as shown herein; and (3) the defense’s strategy centered on

  highlighting Brewer’s prison conduct and Brewer shouldering the blame for his

  actions, not pointing a finger at anyone else to excuse or explain away his conduct.

         In short, trial counsel presented much of the evidence Brewer claims was

  missing, other trial testimony contradicts Brewer’s proposed evidence, and some of

  the new evidence is irrelevant.     Brewer cannot demonstrate ineffectiveness just



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  because he believes counsel failed to do more.          See Trottie, 720 F.3d at 248

  (“[A]lthough the jury may not have had all of the facts that Trottie now wishes it had,

  Trottie’s counsel did offer meaningful information regarding Trottie’s childhood and

  how it may have impacted Trottie’s decisions on the day of the incident.”). Again, this

  Court should not second-guess claims that come down to a matter of degrees, i.e. that

  counsel failed to present “enough” mitigating evidence. Ward, 777 F.3d at 265.

               2.     The instant case is not similar to Walbey29 or Lewis.30

        Throughout this portion of his claim, Brewer compares the instant case to

  Walbey v. Quarterman. DE 103 at 80–81, 99–100. This case is easily distinguishable.

  Walbey’s trial counsel did not discuss mitigation with a psychologist, interview

  Walbey’s mother, or investigate Walbey’s relationship to the victim. The Fifth Circuit

  concluded that trial counsel rendered ineffective assistance in part because counsel

  failed to discover and present evidence that would have explained Walbey’s antisocial

  personality. Walbey’s counsel hired a mental-health expert one week before trial,

  and no mitigation investigation was conducted.         309 F. App’x at 797. Walbey’s

  attorney therefore overlooked evidence of Walbey’s abandonment by the murder

  victim, who was his former foster mother, as well as evidence of Walbey’s harsh

  childhood of “bloodcurdling” neglect and abuse. Id. at 797, 803. Walbey’s counsel

  was also unprepared to challenge his own expert’s admission that Walbey could be

  diagnosed with antisocial personality disorder, even though the expert disagreed with


  29    Walbey v. Quarterman, 309 F. App’x 795 (5th Cir. 2009).

  30    Lewis v. Dretke, 355 F.3d 364 (5th Cir. 2003).


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  such a diagnosis. Id. at 804. The Fifth Circuit, in several extensive paragraphs,

  described the evidence counsel failed to investigate and present, two of which stated:

        The records admitted about Walbey’s childhood during the hearing
        before the magistrate judge describe a nightmarish hell of cruelty and
        neglect. Walbey was made to drink beer and smoke “joints” by ages two
        and a half to three and was left filthy, alone, and with unexplained
        marks on his body during the same time; was found wandering alone
        along a highway service road at age five; was kidnapped by his father—
        who abused his mother and had a drug and alcohol addiction—and
        hidden from his mother from ages five to ten; was repeatedly physically
        and mentally abused by his father and paternal grandmother, including
        a beating with a doubled over belt that lasted for forty-five minutes and
        broke the buckle; was forced to eat garbage while living in abandoned
        houses when he was locked out by (or ran away from) his father during
        the period of his kidnapping; was reunited with his mother after being
        discovered in an orphanage; took to petty theft; was hospitalized with a
        possible diagnosis of schizophrenia at age twelve, but did not receive the
        recommended follow-up care for that diagnosis because his mother “did
        not have the time”; and was abused by his mother—who had a drinking
        problem—when she drank.

        At age thirteen, Walbey ran away from this environment and lived in
        vacant apartments, feeding himself by stealing food. He was
        hospitalized at the same age and ultimately diagnosed with an
        adjustment disorder secondary to stressful home life. The psychological
        profile constructed at the time indicated an extreme sensitivity to
        rejection and abandonment, low self-esteem, and an impoverished
        relationships with others. His mother refused treatment for him after
        his discharge from the hospital, despite being advised that he required
        continuing and long-term follow-up care. He was arrested for burglary,
        and the police had to issue a subpoena for the arrest of his mother
        because they could not contact her.

  Id. at 797–98.

        The facts of this case are nothing like Walbey. Brewer’s counsel had “an in-

  house investigator and mitigator as part of [the] defense team.” 7 SHCR 2009. Trial

  counsel Keith stated:




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        Prior to trial I traveled to Mississippi to meet with Brent Brewer’s
        family members. I met with Billie Ann Brewer on two occasions. Karen
        Brewer did not make herself available to me. Due to concern that Karen
        Brewer would not appear at trial, I started the process of obtaining out
        of State subpoenas through a Mississippi Court.

  7 SHCR 2014. Counsel was able to track down Karen and presented her as a witness.

  Counsel also presented Brewer’s sister and Brewer himself. As shown above, through

  these witnesses, the defense presented Brewer’s history to the jury. And because

  Brewer himself testified, he was not precluded from giving the jury any information

  pertaining to his past and upbringing that he considered important. Indeed, as

  stated, his testimony comprises nearly 140 pages of the record.

        What Brewer fails to recognize is that the defense’s strategy was to have

  Brewer accept responsibility for his crime and show remorse, which is one of the main

  reasons he testified. A “kitchen sink” mitigation strategy based on presenting dozens

  of witnesses to show more dysfunction within the extended family might have only

  distracted from the message defense counsel tried to convey to the jury. For instance,

  during final argument, counsel stated: “Mr. Brewer’s childhood, you’ve listened to.

  Did Mr. Brewer have the worst childhood in the world? Of course not. Is it an excuse

  for what he did? Of course not.” 25 RR 214. It is possible that the hindsight approach

  Brewer now desires would have appeared to be just that to the jury—an excuse.

        Moreover, as shown in the Statement of Facts, counsel presented Dr. Edens to

  rebut Dr. Coons. And, importantly, counsel also presented several jail/prison guards

  to demonstrate that Brewer had not been violent or problematic while incarcerated.

  On cross-examination, counsel elicited similar testimony from the State’s witnesses



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  Pinckard and Bryant. This was arguably the most significant mitigating evidence

  because (1) the question for the jury is whether the defendant will be a future danger

  while incarcerated and (2) evidence directly bearing on that issue already exists in a

  capital punishment re-trial.     During final argument, counsel stated that the

  prosecution had failed to prove Brewer was a future danger because “[e]verything

  [the State] can point to is on the table of horror, and it’s what Brent Brewer did from

  age 13 to 19.” 25 RR 215–16. Counsel then argued:

        A jury in 1991 had to make a prediction about the future and the future
        conduct of Brent Brewer. You folks have 18 year’s worth of evidence of
        that conduct. You don’t have to look into crystal balls or listen to
        charlatans like Dr. Coons. You folks can examine the evidence and
        what’s been put before you. Brent Brewer is clearly not a future danger.

  25 RR 216.      Counsel’s strategy was sound and the investigation reasonable

  considering all the circumstances.

        Finally, Walbey is not on point given the sheer breadth of mitigating evidence

  counsel failed to present in that case. Despite Brewer’s attempts to claim otherwise,

  evidence of the childhood “horror” in Walbey simply is not present here, which is why

  counsel conceded that fact. Thus, although counsel could have called more witnesses

  to provide extra details about Brewer’s family and childhood, none of what he offers

  comes close to what was missing in Walbey. To the extent that any minor detail was

  overlooked, “[w]hile in hindsight, it is easy to say that trial counsel could have done

  more, we find the state habeas court reasonable in its conclusion that trial counsel

  performed reasonably based on the context and circumstances at the time of the




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  representation.” Blanton v. Quarterman, 543 F.3d 230, 239 (5th Cir. 2008); see also

  Perry v. Quarterman, 314 F. App’x 663, 668 (5th Cir. 2009) (distinguishing Walbey).

        Brewer has also likened his case to Lewis v. Dretke. See DE 48 at 29; DE 103

  at 80–81. Again, this case is not on point. In Lewis, the Fifth Circuit remanded the

  case to the district court for an evidentiary hearing to determine if counsel was

  ineffective for failing to investigate and present mitigating evidence.        Lewis v.

  Johnson, No. 96-10616, 2000 WL 35549205, at *3–*4 (5th Cir. Dec. 21, 2000). In

  doing so, the court noted the following: (1) the case was remarkably similar to (Terry)

  Williams v. Taylor because “like Williams’s counsel, Lewis’s counsel did not begin to

  prepare for the punishment phase of trial until one week before trial began” and spent

  a short amount of time interviewing punishment witnesses made “more troubling

  because counsel had eight months to prepare for trial in which they called no guilt-

  phase witnesses”; (2) counsel presented only one punishment witness whose

  testimony consisted of a mere sixteen pages of the transcript when in fact there were

  many other witnesses willing to testify; (3) federal habeas counsel found that “Lewis

  suffered from severe childhood physical, psychological, and sexual abuse, and experts

  have found neurological impairments” which were “equally as disturbing and

  relevant to mitigation as that in (Terry) Williams”; (4) “as in (Terry) Williams, this

  failure to introduce evidence was admittedly based on counsel’s erroneous

  understanding of state law” that evidence of abuse was not relevant under the Texas

  special issues; and (5) the trial court granted the defense funds for a psychologist, but

  Lewis never underwent any testing. Id. at *2–*3.



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        Following remand and a hearing, the district court denied Lewis habeas relief.

  Lewis, 355 F.3d at 365. The Fifth Circuit reversed the district court’s judgment first

  stating that Lewis’s trial attorney had a vague recollection about her investigation

  into mitigating evidence, contrasted with the very specific testimony from Lewis’s

  three sisters. Id. at 367–68. The Fifth Circuit also rejected the notion that counsel’s

  mitigation decisions amounted to trial strategy. Id. at 368. The Fifth Circuit then

  described the evidence that was omitted:

        [T]he testimony of Lewis’s sisters is remarkably consistent. Each
        testified that their (and Lewis’s) father beat all of them with extension
        cords, switches, sticks, or anything else within his reach. They testified
        further that he regularly made them undress, then whipped them in the
        area of their genitals, and that this conduct occurred at least every other
        day. According to Lewis’s sisters, all of the children lived in constant
        fear of their father’s rages, particularly when he was unable to get the
        drugs to which he was addicted. . . .

        There is abundant record evidence that Lewis’s father was a violent drug
        abuser; that he shot Lewis’s mother in the stomach and leg, almost
        killing her; and that, in the presence of Lewis and the other children, he
        beat their mother on numerous occasions. Additionally, medical records
        in evidence show that the children made numerous trips to the hospital
        emergency rooms for treatment of injuries that were consistent with the
        described beatings. The record reveals, inter alia, that Lewis had to be
        hospitalized for cuts on his penis and for an infection he developed when
        a hypodermic needle was stuck into his foot. And these records also
        reflect that Lewis’s sister, Arlisa, was treated for severe burns on her
        back and that their mother had suffered a gunshot wound. This record
        evidence is consistent with the testimony of the sisters, as is the
        evidence of approximately seven “domestic disturbance” calls to 911
        from the Lewis household between 1975 and 1978.

  Id. at 368–69.

        There is no similarity between Lewis and the instant case. Here, counsel did

  not spend a short amount of time investigating the punishment case because this re-



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  trial involved only punishment. Counsel presented eight witnesses whose testimony

  comprises nearly two volumes of the reporter’s record. There was no mistake of law

  which led counsel to forgo presenting any evidence. And as explained above, counsel

  made a strategic decision not to have a future-dangerousness assessment done by

  Dr. Edens or Dr. Cunningham out of concern that it could backfire.               More

  importantly, in light of the substantial evidence counsel presented, the purportedly

  omitted evidence in this case does not compare to the evidence omitted in Lewis as

  described by the Fifth Circuit.

               3.     Likewise, Andrus31 is not on point.

        In a document just filed with this Court, Brewer added the Supreme Court’s

  recent decision in Andrus v. Texas as a supplemental authority, which Brewer argues

  supports the instant claim as well as the claim addressed in Section V, supra.

  See DE 110. Notably, Brewer did not seek permission from this Court to file a

  supplemental pleading or new authority under Northern District Local Rule CV 56.7,

  which states: “Except for the motions, responses, replies, briefs, and appendices

  required by these rules, a party may not, without the permission of the presiding

  judge, file supplemental pleadings, briefs, authorities, or evidence.” But the Director

  will address Andrus, which is clearly distinguishable. There, trial counsel called

  Andrus’s mother who painted a comparatively serene picture of Andrus’s life stating

  that Andrus had an excellent relationship with his siblings and grandparents and

  that he did not have access to pills or drugs. 140 S. Ct. at 1878. Counsel then called



  31    Andrus v. Texas, 140 S. Ct. 1875 (June 15, 2020).

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  Andrus’s biological father who had been in and out of prison and had not seen Andrus

  in six years, although he stated that Andrus had been good around him during the

  one year they spent together. Id. at 1879. The defense then rested, but after the trial

  court questioned this move, counsel called more witnesses, including Dr. Roache who

  briefly testified about the general effects of drugs on the brain and a prison counselor

  who testified that Andrus started showing remorse recently, although the State noted

  that the remorse started around the time of trial. Id. Lastly, contrary to what his

  mother stated, Andrus himself testified “that his mother had started selling drugs

  when he was around six years old, and that he and his siblings were often home alone

  when they were growing up. He also explained that he first started using drugs

  regularly around the time he was 15.”        Id.   Counsel’s questioning of Andrus’s

  childhood consisted of four total pages in the transcript. Id. Andrus was convicted

  and sentenced to death. Id.

        On state habeas review, the trial court held an eight-day evidentiary hearing

  regarding Andrus’s claim that counsel failed to investigate and present mitigating

  evidence. Id. The trial court characterized this as a “tidal wave of information ...

  with regard to mitigation.” Id. Andrus’s childhood was “marked by extreme neglect

  and privation, a family environment filled with violence and abuse.” Id. He was

  raised in a neighborhood known for its violence and drug use. Id. Andrus’s mother

  had him when she was only seventeen-years old, her second of five children from

  multiple and absent fathers, one of whom raped Andrus’s half sister. Id. These men

  physically abused Andrus’s mother, and all had criminal histories and used drugs.



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  Id. Contrary to what Andrus’s mother stated at trial, she sold drugs and engaged in

  prostitution. Id. She made drug deals in the house in front of Andrus and his

  siblings, she was usually high on drugs and disoriented, and she often left the

  children to fend for themselves without any food. Id. at 1879–80. After her boyfriend

  was killed in a shooting, she became increasingly dependent on drugs, went on

  extreme drug binges, and continued to neglect her children. Id. at 1880. As a result,

  when he was only twelve, Andrus assumed responsibility for the household including

  taking care of his special-needs brother, cooking meals, cleaning the house, putting

  his siblings to bed, getting them up for school each morning, and helping them with

  their homework. Id. His siblings viewed him as the “protective older brother” who

  was “very caring and very loving.” Id.

        Nonetheless, Andrus struggled with his own mental-health issues, being

  diagnosed with “affective psychosis” around age ten or eleven. Id. At age sixteen,

  Andrus was sent to the Texas Youth Commission (TYC) for participating as a lookout

  in a robbery. Id. There, he was prescribed psychotropic drugs that had serious side

  effects, he spent long periods in isolation for reporting to staff that he was hearing

  voices telling him to do bad things, and he inflicted harm on himself and threatened

  suicide. Id. After eighteen months in TYC, he was sent to an adult facility. Shortly

  after Andrus was released, he committed the instant murder. Id. While in jail

  awaiting trial, Andrus attempted suicide and used his own blood to smear messages

  on the walls “beseeching the world to ‘[j]ust let [him] die.’” Id. The trial court found

  counsel ineffective for failing to investigate and present “ample mitigating evidence”



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  at the punishment phase of Andrus’s trial. Id. at 1880–81. The CCA disagreed and

  held in an opinion without elaboration that Andrus failed to meet his burden under

  Strickland. Id. at 1881.

        The Supreme Court granted certiorari, vacated the lower court’s decision, and

  remanded—finding the following. Trial counsel “by his own admissions at the habeas

  hearing, [was] barely acquainted with the witnesses who testified during the case in

  mitigation.” Id. at 1882. For instance, counsel first met Andrus’s mother when she

  was subpoenaed to testify; first met Andrus’s father the day he testified; did not meet

  Dr. Roache until just before voir dire; and met the counselor only part way through

  the trial. Id. Dr. Roache stated that he was “struck” by counsel’s lack of familiarity

  with the pertinent issues. Id.

        Counsel acknowledged many times at the hearing that he was unprepared and

  uninformed about the circumstances of Andrus’s life. Id. Counsel did not know that

  Andrus had attempted suicide while in jail, did not know about his bad experiences

  in TYC, and failed to talk to Andrus’s siblings “all of whom had disturbing stories

  about Andrus’[s] upbringing.” Id. A psychologist testified that Andrus suffered

  “pronounced trauma” and PTSD from severe neglect and “exposure to domestic

  violence, substance abuse, and death in his childhood.” Id. Counsel further ignored

  Andrus’s mental-health issues of “affective psychosis” and possible schizophrenia,

  even though his mitigation expert documented that Andrus had been diagnosed with

  a serious mental-health condition. Id. at 1882–83. “The untapped body of mitigating

  evidence was, as the habeas hearing revealed, simply vast.” Id. at 1883.



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        Next, the Court found that counsel’s performance reflected inattention rather

  than “reasoned strategic judgment,” which was “all the more alarming” because

  counsel chose to concede guilt, present no evidence at that phase, and “train his

  efforts on the case in mitigation.” Id. The Court also found that, due to a lack of

  preparedness, counsel’s mitigating evidence “unwittingly aided the State’s case in

  aggravation.” Id. Andrus’s mother said that Andrus fell into drugs by his own choice,

  drugs were not available in the house, and she would have intervened if he had used

  drugs. Id. When Andrus took the stand, he stated that his mother was untruthful,

  but counsel made no effort to “probe the accuracy” of her testimony, and counsel later

  admitted that he did not even know beforehand what the mother would say due to

  his lack of preparedness.    Id.   Moreover, the mitigation specialist, who briefly

  interviewed Andrus’s mother, informed counsel that she had concerns about Andrus’s

  mother’s testimony because she was not cooperative and likely not motivated by

  Andrus’s best interests. Id. at 1883–84. For instance, the investigator learned the

  mother had taken out a $10,000 life insurance policy on Andrus that she would collect

  if he was executed. Id. at 1884. Counsel disregarded these warnings. Id.

        Counsel made matters worse by undermining Andrus’s testimony.             After

  Andrus testified that his mother sold drugs out of the home, counsel stated to Andrus

  that he heard his mother testify and she did not say anything about selling drugs.

  Id. The Court asserted that regardless of counsel’s intentions, “the jury could have

  understood counsel’s statements to insinuate that Andrus was lying. Counsel did




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  nothing to dislodge that suggestion, and the damaging exchange occurred only

  because defense counsel had called a hostile witness in the first place.” Id.

        The Court then found that counsel failed to investigate the State’s future-

  dangerousness case. For instance, the State presented evidence that Andrus had

  acted aggressively in TYC and in pre-trial detention. Id. However, an investigation

  would have shown his behavior was “notably mild, and the harms he sustained

  severe.” Id. Further, the State presented evidence that Andrus had committed a

  knifepoint robbery of a dry-cleaning business. But Andrus professed his innocence,

  the State did not charge him, the lone witness later recanted, and Andrus was picked

  out of an unreliable photo array. Id. at 1885. Again, counsel did not investigate or

  challenge any of these matters. Id. Thus, counsel “relinquished the first of only two

  procedural pathways for opposing the State’s pursuit of the death penalty.” Id.

        Having determined that counsel was deficient, the Court found that the CCA’s

  brief order lacked clarity regarding whether it considered Strickland’s prejudice

  prong. Although the concurrence did so, that opinion “did not garner a majority of

  the [CCA],” and it is possible the CCA rejected the claim on the deficiency prong. Id.

  at 1886–87. Thus, “[g]iven the uncertainty as to whether the [CCA] adequately

  conducted that weighty and record-intensive analysis in the first instance,” the Court

  remanded for the CCA to address Strickland prejudice. Id. at 1887.

        Brewer’s case does not compare with Andrus in any regard. Having been tried

  before, counsel knew about Brewer’s background and upbringing, and, except for

  Brewer and Albert, the family members who testified at his re-trial also testified at



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  the original trial.32 As stated, a thorough mitigation investigation was conducted,

  and counsel were prepared. Brewer himself testified for an extended period of time

  about his entire life and the crime, as discussed above. There was no conflicting

  testimony between Brewer or his family members, and counsel did not elicit any

  damaging testimony. Before presenting their mitigation case, counsel contested via

  extensive cross-examination the State’s future-dangerousness case and then

  presented Dr. Edens to refute the reliability of Dr. Coons’s prediction.

         Further, state habeas review did not reveal a “tidal wave” of unpresented

  mitigating evidence, and counsel did not concede to any failures, let alone the

  multiple failures that Andrus’s counsel acknowledged. Indeed, the state habeas court

  did not see the need to conduct a hearing on the instant claim despite conducting one

  regarding Dr. Coons. The state trial court did not find counsel ineffective, as did the

  court in Andrus. Id. at 1878. The court found that counsel were not deficient, that

  any unpresented evidence was not significantly stronger or different than that

  presented at trial, and that no prejudice ensued. The CCA adopted those findings

  and denied relief. It is also clear that the state courts resolved the prejudice issue.

         Moreover, as stated in the prior section, the circumstances of the re-trial have

  no similarity to those in Andrus. Counsel’s focus here was to show Brewer had

  demonstrated good behavior while on death row and, thus, was not a future danger,


  32      The Director notes that the punishment-phase evidence presented in the instant case
  by both sides was similar to that presented at Brewer’s original 1991 trial, including the
  witnesses who testified. See 18 RR 592–844 (punishment phase from 1991 trial). The main
  differences in the re-trial are that a mitigation special issue was submitted, Albert did not
  testify, Brewer did, and the defense relied heavily on Brewer’s testimony and eighteen-year
  prison disciplinary history to support its case that he was not a future danger.

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  to show that Brewer was remorseful, and to have Brewer accept responsibility for the

  murder. This specific strategy was reflected in the witnesses counsel presented, the

  type of evidence presented, and the arguments counsel made to the jury. On the other

  hand, Andrus’s counsel actually had no strategy, abandoning the guilt phase in favor

  of punishment and then presenting an incoherent and damaging mitigation case that

  revealed “inattention” rather than “reasoned strategic judgment.”        Id. at 1883.

  “Despite repeated questioning, counsel never offered, and no evidence supports, any

  tactical rationale for the pervasive oversights and lapses here.” Id. The same cannot

  be said in this case because even at the evidentiary hearing, counsel explained their

  strategy on several occasions. 2 SHH 70, 83–84, 278–81, 285–86; 3 SHH 10, 55–56,

  124. In hindsight, Brewer may not agree with his counsel’s strategy, but it was

  reasonable under the circumstances and not the product of “inattention.”

        Moreover, as in Lewis and Walbey, the unpresented evidence in Andrus was of

  a wholly different quality than that in the instant case. Andrus was born into a horrid

  environment; his only caretaker exposed him to drugs and violence and then

  abandoned him; as a child he was forced to become the parent of his siblings; he

  experienced extreme harm and deprivation while in TYC; he was suicidal; and he had

  significant mental-health disorders.      Here, the defense contested the State’s

  punishment case and effectively presented significant evidence of its own.         The

  allegedly uninvestigated and unpresented evidence does not rise to the level of

  tragedy and hardship Andrus endured. And as shown below, the mental-health

  issues supposedly affecting Brewer are clearly double-edged.



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        Finally, Andrus is an opinion off an appeal from state habeas review where the

  Court exercised its direct supervisory authority. AEDPA deference to the state court

  decision did not apply as it does in Brewer’s case. And because Andrus had not been

  decided when the CCA denied Brewer relief, it cannot render the CCA’s decision

  objectively unreasonable under § 2254(d). For these reasons, Andrus is not on point,

  and neither the instant claim nor that addressed in the prior section merit relief.

               4.     Counsel were not ineffective for not presenting
                      expert evidence that Brewer suffers from mental-
                      health problems.

        Brewer claims that counsel were ineffective for not presenting evidence that

  he suffers from mental-health issues.            His claim is largely premised on

  Dr. Cunningham’s 1996 assessment.33 Petition at 100–06.

        First, in Brewer’s federal habeas proceeding in 2004, this Court rejected the

  same claim Brewer is raising.        As he does now, Brewer relied back then on

  Dr. Cunningham’s 1996 report in support of a claim that trial counsel failed to

  investigate and present expert testimony. This Court found that Dr. Cunningham’s

  testing “was described as ‘problematic’ and revealed malingering” which “tended to

  undermine the reliability of these test results concerning [Brewer’s] state of mind

  before the offense or trial.” Brewer v. Dretke, 2004 WL 1732312, at *10; see also

  DE 19-2 at 37, 40. This Court also found that Dr. Cunningham’s diagnoses were

  available to counsel in Brewer’s Big Spring State Hospital records. Brewer v. Dretke,


  33    In Brewer’s reply, he also relied heavily on the suspect declaration from Odiorne,
  which is barred under Pinholster. DE 48 at 35–36. And as stated previously, Odiorne
  addressed each state habeas claim, including the instant one, 7 SHCR 2009, and he provided
  nothing resembling this new declaration.

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  2004 WL 1732312, at *10.       Next, this Court determined that counsel made a

  reasonable decision not to have Brewer evaluated because “[t]hey did not want to give

  the [S]tate any excuse to evaluate Brewer in order to prove his future dangerousness.”

  Id. This was not an “idle danger” because the prosecution sought to use psychiatric

  evidence against Brewer, namely Dr. Coons, but were “hampered” in the ability to do

  so because the defense’s tactic—like the one here—kept the prosecution from

  developing this evidence and allowed the defense to argue the State’s expert lacked

  critical information. Id. at *11. Finally, Brewer himself concurred that developing

  expert evidence would not be in his best interests. Id. The circumstances here are

  the same, and this Court should again reject Brewer’s allegation.

        Second, the Director explained above why counsel chose not to call an expert

  to testify about a personal evaluation of Brewer. Counsel believed that Brewer’s

  record of prison violence, or lack thereof, was the best evidence refuting the State’s

  case and that presenting their own risk assessment would undermine their strategy

  of attacking Dr. Coons’s credibility. In his reply, Brewer stated: “The State confuses

  trial counsel’s reason for not having Mr. Brewer evaluated by a future[-]

  dangerousness expert [ ] with a reason for failing to have Mr. Brewer evaluated by a

  mental[-]health expert in support of the mitigation special issue. These are distinct

  issues.” DE 48 at 35. He further stated that “[t]he overwhelming majority of the

  evidence would have been mitigating independent of any nexus with Mr. Brewer’s

  commission of the offense.” Id. at 36. The flaw with this argument is that Brewer’s

  argument about mental-health issues is premised on Dr. Cunningham’s report.



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  DE 19-2. In this forty-seven-page report, Dr. Cunningham performed a detailed and

  extensive ten-page risk assessment of Brewer, id. at 71–80, concluding not only that

  Brewer presented a very low risk for future dangerousness but also that “[i]t is

  unlikely that [Brewer’s] conduct in the offense was committed deliberately as that

  term [ ] is defined in the Jury Instructions.” Id. at 81. Since Brewer now wishes that

  Dr. Cunningham had testified, counsel would have been faced with presenting a risk

  assessment conflicting with their trial strategy and an expert who believed Brewer

  did not act deliberately when even Brewer admitted he acted deliberately. This would

  have   given   the   State   ample   ammunition    with    which   to   cross-examine

  Dr. Cunningham and point out that Brewer was not in fact taking responsibility for

  anything. And contrary to Brewer’s claim that the evidence is “independent of any

  nexus” regarding Brewer committing the offense, Dr. Cunningham’s report speaks

  directly to this nexus.

         Third, the jury knew that Brewer had some mental-health issues because

  evidence was presented that he attempted suicide twice, had substance abuse

  problems, and was committed to Big Spring State Hospital.           Again, Brewer’s

  complaint amounts to counsel not offering more evidence. At any rate, trying to

  explain away Brewer’s behavior as the product of psychological problems would have

  conflicted with the defense’s strategy of Brewer accepting responsibility for his

  actions and showing remorse.

         Fourth, despite Brewer’s suicide attempts, Bryant testified that Brewer’s

  TDCJ mental-health records showed that he had no prior contact with the mental-



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  health department in seventeen years, other than routine rounds. 23 RR 106. Had

  defense counsel premised their strategy on Brewer’s mental health, the State would

  have used this evidence to undermine Brewer’s argument. Trial counsel also agreed

  that various suicide notes Brewer wrote could be construed to show Brewer was upset

  not because he was truly remorseful but because he got caught and feared dying.

  2 SHH 199–203; 3 SHH 125–28. See Wong v. Belmontes, 558 U.S. 15, 20 (2009) (when

  evaluating prejudice, a reviewing court must “consider all the relevant evidence that

  the jury would have had before it if [the inmate] had pursued a different path–not

  just the . . . evidence [the inmate] could have presented, but also the . . . evidence that

  almost certainly would have come in with it.”).

         Fifth, this evidence is not necessarily helpful. As this Court previously found,

  this report characterized Brewer as malingering and “overstating his difficulties.”

  DE 19-2 at 37. Further, Brewer states that the jury did not learn that he suffered

  from a brain dysfunction that affected his judgment and decision making. He claims

  that, at the time of the offense, he was also suffering from depression, anxiety, and

  abandonment crisis. “This evidence would have been particularly powerful, as it is

  both mitigating independent of any nexus to the commission of the offense, but would

  have also reduced Mr. Brewer’s moral culpability by demonstrating his severely

  impaired judgment at the time of the offense.” DE 103 at 102–03 (emphasis added);

  see also id at 102 (“Mr. Brewer suffered from brain dysfunction, which the jury did

  not learn about, that represented a critically important mitigating factor concerning

  Mr. Brewer’s judgment and decision-making capability.”) (emphasis added); id. at 104



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  (“As a result of several of these factors, including a history of head injury, Mr. Brewer

  suffered from brain dysfunction, which can cause impulsivity, judgment deficits,

  emotional dyscontrol, and behavioral disturbance.”). Dr. Cunningham’s 1996 report

  also stated that Brewer suffers from disorders that “raise[] grave doubts regarding

  his capacity to engage in careful and thorough considerations . . . characterized by

  awareness of the consequences.” DE 19-2 at 71. The report noted that Brewer

  potentially has impulse control issues, a head injury, and neuropsychological deficits

  commonly seen among murderers. Id. at 41–45.

        The notion that the jury would have been reassured to learn that Brewer has

  long-standing impairments that affect his judgment and impulsivity is unavailing.

  The Fifth Circuit has repeatedly held that trial counsel’s failure to present evidence

  of brain impairments does not result in prejudice due its double-edged nature. Fields,

  761 F.3d at 459 (noting that evidence of mental illness “can lead a jury to conclude

  that a defendant poses a future risk of violence”); Druery v. Thaler, 647 F.3d 535,

  541–52 (5th Cir. 2011) (approvingly quoting state court finding that “[p]resentation

  of some type of brain injury could indicate that [petitioner’s] violent behavior was of

  a permanent nature not induced by drug use, suggesting he could be a future threat

  to those in prison”); Martinez v. Dretke, 404 F.3d 878, 890 (5th Cir. 2005) (evidence

  that petitioner suffered from organic brain damage “associated with poor impulse

  control and a violent propensity, would have substantiated the [S]tate’s evidence and

  increased the likelihood of a future dangerousness finding”).




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        Brewer also refers to a mammoth report from Dr. Cunningham, DE 32-3 to

  DE 32-7 at 284–470, which was not presented to the state court and is barred under

  Pinholster. Nonetheless, Brewer believes this evidence could have only helped him,

  without any regard to its pitfalls. For instance, Brewer says that Dr. Cunningham

  identified thirty-four factors “each with negative implications on Mr. Brewer’s

  development.” DE 103 at 103. Among them: “Transgenerational family dysfunction

  and distress”; “Hereditary predisposition for alcohol and drug abuse/dependence”;

  “Hereditary predisposition to psychological disorder and personality pathology”;

  “Head injury with skull fracture”; “Attention Deficit Hyperactivity Disorder”; “Skull

  overgrowth”; “Childhood onset alcohol and drug abuse”; and “Psychological disorders

  proximate to offense.” Id. Although this evidence can be mitigating, the jury also

  could have interpreted it as revealing that Brewer was damaged from birth and a

  product of enduring familial dysfunction from which he would never recover, as

  addressed in Fields, Druery, and Martinez. See also Freeman v. Stephens, 614 F.

  App’x 180, 186 (5th Cir. 2015) (“Given the expert reports, we cannot conclude that

  Freeman’s attorneys unreasonably failed to pursue a more detailed investigation into

  possible toxic exposure or mental illness because the circumstances and available

  information indicated that it would have been unproductive or possibly even

  harmful.”); Johnson v. Cockrell, 306 F.3d 249, 253 (5th Cir. 2002) (“[E]ven if

  [petitioner’s] recent claims about [his alleged brain injury, abusive childhood, and

  drug and alcohol problems] [are] true, it could all be read by the jury to support,




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  rather than detract, from his future dangerousness.”).      Instead, by not focusing

  heavily on these issues, counsel avoided the potential downside to this evidence.

        Regarding the issue of this evidence being double-edged, Brewer stated in his

  reply that the Director’s argument “fails because it misunderstands Texas’s capital

  sentencing scheme and misapplies Strickland.” DE 48 at 36. He then asserted:

  “Under the Texas capital sentencing scheme, mitigation and future dangerousness

  are two distinct issues, answered sequentially and never weighed against each other

  by the jury. Thus a juror could find sufficient mitigation regardless of the strength

  of the evidence supporting the future[-]dangerousness issue.” Id. at 37 (citations

  omitted). But under Supreme Court precedent, it is settled on habeas review that

  “[i]n assessing prejudice, we reweigh the evidence in aggravation against the totality

  of available mitigating evidence.” Wiggins, 539 U.S. at 534; see also Pinholster,

  563 U.S. at 198; Vasquez v. Thaler, 389 F. App’x 419, 428 (5th Cir. 2010) (“Naturally,

  the power of the newly amplified case to mitigate a jury’s selected punishment will

  be contingent on other factors in the case, such as the circumstances of the crime.”);

  Mosley v. State, 983 S.W.2d 249, 263 n.18 (Tex. Crim. App. 1998) (“In determining

  whether to dispense mercy to a defendant after it has already found the eligibility

  factors in the State’s favor, the jury is not, and should not be, required to look at

  mitigating evidence in a vacuum.”). The double-edged component to this evidence is

  one this Court can clearly take into account.

        Also in his reply, Brewer stated that the Supreme Court “has granted relief in

  cases involving precisely these sorts of powerful mitigating evidence without ever



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  suggesting that any potential ‘double-edged’ quality was relevant.” DE 48 at 37. The

  cases he refers to, Sears v. Upton34 and (Terry) Williams v. Taylor, pertained IATC

  claims where the non-presented evidence was on a different level than what was not

  offered here. In Sears, the evidence revealed Sears was sexually abused by a cousin;

  was subjected to age-inappropriate military-style drills by his father; was severely

  learning disabled and behaviorally handicapped by the time he reached high school;

  had “significant frontal lobe abnormalities”; suffered severe head injuries; and was in

  the first percentile of cognitive functioning on several tests “making him among the

  most impaired individuals in the population in terms of ability to suppress competing

  impulses and conform behavior only to relevant stimuli.” Sears, 561 U.S. at 948–49.

  In (Terry) Williams, records showed that

        Williams’ parents had been imprisoned for the criminal neglect of
        Williams and his siblings, that Williams had been severely and
        repeatedly beaten by his father, that he had been committed to the
        custody of the social services bureau for two years during his parents’
        incarceration (including one stint in an abusive foster home), and then,
        after his parents were released from prison, had been returned to his
        parents’ custody.

  529 U.S. at 395 (footnote omitted). Other evidence showed Williams’s home was

  covered with trash and urine; he and his siblings had no clothes and were under the

  influence of whiskey; his parents were usually intoxicated; and Williams was

  “borderline mentally retarded.” Id. at 395–96 & n.19.

        The instant case is dissimilar, as discussed above. But, in his reply, Brewer

  then incorrectly stated: “There is no “double-edged” evidence exception to Strickland



  34    561 U.S. 945 (2010).

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  prejudice. DE 48 at 37. To the contrary, in Pinholster, the Court rejected a similar

  IATC claim on prejudice grounds stating: “The new evidence relating to Pinholster’s

  family—their more serious substance abuse, mental illness, and criminal problems

  [ ]—is also by no means clearly mitigating, as the jury might have concluded that

  Pinholster was simply beyond rehabilitation.”       536 U.S. at 291 (citing Atkins v.

  Virginia, 536 U.S. 304, 321 (2002) (recognizing that mitigating evidence can be a

  “two-edged sword” that juries might find to show future dangerousness)). Brewer’s

  arguments, thus, are not meritorious.

               5.     Counsel made a wise decision not to focus on
                      Nystrom’s influence.

        Brewer complains that counsel failed to investigate and present evidence that

  Nystrom had a negative influence on Brewer. He alleges that she was controlling

  and domineering, and that he was susceptible to her manipulation. He believes that

  this evidence would have rebutted the State’s case that Brewer was the principal

  actor. DE 103 at 106–08.

        Even though Brewer presented this claim to the state court, 2 SHCR 294, 299,

  302, 340–41, he now relies on unsworn declarations never presented to the state court

  and barred under Pinholster. DE 103 at 106–08. Regardless, this claim has no merit.

  The Director addressed above the flaw if counsel had attempted a blame-shifting

  strategy as a form of mitigation. Brewer was guilty, and the jury knew it. If the jury

  was not inclined to spare Brewer after he took responsibility for his crime, it certainly

  would not have done so had counsel tried to deflect blame to a woman Brewer knew

  for only three months before he committed murder. This claim is meritless.

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        C.     Brewer’s claim that the              state    court    decision     is
               unreasonable has no merit.

        In his reply, Brewer argued that the state court’s denial of this claim is

  unreasonable. Much of this argument is premised on rehashing the facts discussed

  at length above. DE 48 at 38. But he also argued the state court failed to conduct

  the proper analysis:

        [T]he state court summarized the evidence presented at trial,
        immediately followed by the determination that “most of the unoffered
        mitigating evidence” was not substantially different. [ ]. The state court
        never addressed, discussed, identified or acknowledged what the newly
        discovered evidence was or could have been. The Supreme Court has
        made clear that such an analysis is “contrary to, or involved an
        unreasonable application of, clearly established Federal law.” [ ] Thus,
        because the state court’s conducted a “truncated” prejudice analysis and
        failed to evaluate the totality of the available mitigating evidence
        adduced in the postconviction proceeding, the state court’s decision was
        contrary to clearly established federal law.

  Id. at 39 (citations omitted) (footnote added). However, it is binding law in this circuit

  that the AEDPA authorizes a federal habeas court to review the state court’s decision

  and not the written decision explaining that opinion. Neal, 286 F.3d at 246 (citing 28

  U.S.C. § 2254(d)).     Recently, the Fifth Circuit, specifically referring to Richter,

  explained the scope of a federal court’s review of a state court decision, stating:

        Importantly, whether the state court’s decision involved an
        unreasonable application of Supreme Court precedent does not depend
        solely on the state habeas court’s actual analysis. Section 2254(d)
        requires us to “determine what arguments or theories supported or, ...
        could have supported, the state court’s decision.” We are therefore
        tasked with considering not only the arguments and theories the state
        habeas court actually relied upon to reach its ultimate decision but also
        all the arguments and theories it could have relied upon.




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  Evans v. Davis, 875 F.3d 210, 216 (5th Cir. 2017) (emphasis in original) (quoting

  Richter, 562 U.S. at 102).35

         Thus, Brewer’s suggestion that the state court decision is unreasonable

  because it did not specifically address in detail the mitigating evidence he offered is

  refuted by Supreme Court and Fifth Circuit precedent. The focus is on the ultimate

  conclusion, and if any objectively reasonable theory supported or could have

  supported the decision, relief must be denied. The state habeas court’s analysis in no

  way fails this test.

         Finally, Brewer’s argument falters for two additional reasons. First, the state

  habeas court may not have specifically addressed Brewer’s evidence, but the court

  said: “[M]ost of the unoffered mitigating evidence that [Brewer] complains about . . .

  was not substantially different in strength and subject matter from the mitigating

  evidence actually presented at the re-sentencing trial.” 10 SHCR 3123. Brewer

  seems to suggest that the evidence was never considered at all, when this finding

  reveals otherwise. Second, and more importantly, the CCA held as follows when it

  denied relief: “Based upon the trial court's findings and conclusions and our own




  35      Should Brewer subsequently claim that the “look through” doctrine of Wilson v.
  Sellers, 138 S. Ct. 1188 (2018), applies here rather than Richter, that argument has no merit.
  The Wilson standard is applicable only where the state high court’s decision is “unexplained”
  and there is a lower state court decision providing a “relevant rationale.” Id. at 1192. Here,
  the CCA’s order denying habeas relief is not unexplained, Ex parte Brewer, 2014 WL 5388114,
  at *1, and there is no lower state court decision because state court findings and conclusions
  are not binding on the CCA, Ex parte Brown, 205 S.W.3d 538, 546 (Tex. Crim. App. 2006).
  Moreover, the Fifth Circuit has generally rejected the argument that Wilson applies in
  circumstances akin to Brewer’s. Langley v. Prince, 926 F.3d 145, 163 (5th Cir. 2019) (en
  banc), cert. denied, 19-6413, 2020 WL 1906607 (U.S. Apr. 20, 2020); Thomas v. Vannoy,
  898 F.3d 561, 568 (5th Cir. 2018), cert. denied, 139 S. Ct. 1321 (2019).

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  review of the record, relief is denied. Ex parte Brewer, 2014 WL 5388114, at *1

  (emphasis added). Given this assertion, Brewer cannot show that the CCA did not

  consider all the evidence in its own review. There was no error in the analysis or

  decision, and relief should be denied.

  VII.   Brewer’s Additional Claims Pertaining to Nystrom Are Meritless and
         in Part Defaulted.

         Brewer’s next two claims also pertain to Kristie Nystrom. First, he alleges

  that trial counsel were ineffective for failing to impeach Nystrom with a prior

  statement and affidavit from Callen that Nystrom said she also stabbed

  Mr. Laminack and that Brewer cried after the offense. DE 103 at 108–10; see 5 SHCR

  1527–36. This claim is meritless. Defense counsel completed affidavits explaining

  that they did not want to impeach Nystrom with Callen’s prior statements because

  the statements conflicted with their trial strategy of having Brewer take personal

  responsibility for the crime and show remorse. 7 SHCR 2009, 2014. Counsel Keith

  believed that attempting to come up with different theories about how the crime

  occurred would only damage their credibility. 7 SHCR 2014. The state court found

  that trial counsel acted reasonably because (1) Callen’s statements did not

  affirmatively show Nystrom stabbed Mr. Laminack; (2) it was reasonable for counsel

  to conclude that Callen’s statements were inconsistent with counsel’s strategy; and

  (3) it was unnecessary for counsel to elicit testimony that Brewer was crying after the

  offense because the better strategy was for Brewer to personally express remorse to

  the jury. 10 SHCR 3126–27. This decision is not objectively unreasonable.




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        The Director addressed above why a decision to present evidence shifting the

  blame to Nystrom would have been unwise. Having been convicted of capital murder,

  Brewer’s guilt was not in doubt nor an issue in 2009. And he admitted at re-trial that

  he murdered Mr. Laminack.         Counsel made a tactical decision not to question

  Brewer’s guilt, which should not be second-guessed. Instead, counsel focused on

  Brewer’s prison behavior since the crime, accepting responsibility for the crime, and

  showing remorse. As counsel rightly questioned, that strategy is undermined if the

  defense is simultaneously advancing alternative theories about the offense.

        Moreover, in his 1997 affidavit, Callen stated: “The fact remains that Kristie

  did tell me she had stabbed the man. Brent told me he had, too, so I don’t really know

  who to believe. I was just trying to stay on the side of the law.” 5 SHCR 1536

  (emphasis added). In other words, Callen did not let Brewer off the hook; he just said

  that both admitted involvement. Had counsel tried to impeach Nystrom with this

  statement, the State would have pointed out that Callen’s statement incriminated

  Brewer as well. Thus, the defense would have forfeited its strategy of accepting

  responsibility for the murder with no gain to show for it.36 As for Callen’s statement

  that Brewer cried after the offense, this is insignificant because the State could have

  easily argued that Brewer cried not out of remorse but because he feared getting

  caught. Moreover, Brewer expressed remorse on the witness stand; thus the evidence

  was cumulative. In light of the cumulative nature of the Callen statements, as well




  36     In 2004, this Court also rejected a similar claim pertaining the Callen. Brewer v.
  Dretke, 2004 WL 1732312, at *12.

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  the ease of rebuttal by the State, there was no reasonable probability of a different

  result had they been utilized.37

         In his second claim, Brewer alleges that the State suppressed Nystrom’s

  medical records from Big Spring State Hospital; the trial court erred in failing to

  order the disclosure of these records; and trial counsel were ineffective for failing to

  obtain them. DE 103 at 110–13. Brewer claims that the records “contained a wealth

  of impeachment evidence that would have undermined the credibility of Ms. Nystrom,

  a key witness for the State,” including poor impulse control, being manipulative,

  having unhealthy relationships with males, projecting blame, and having borderline

  personality disorder. Id. at 111–12.

         Brewer raised this claim in his application dismissed for abuse of the writ.

  SHCR2 44–48; Ex parte Brewer, 2019 WL 5420444, at *1.                    Thus, the claim is

  defaulted. Because this is a Brady claim, Brewer cannot overcome the default unless

  he can meet the cause and prejudice standard—proving “suppression” and

  “materiality”—under Banks v. Dretke, 540 U.S. 668, 691 (2004). This he cannot do.




  37     In a footnote, Brewer states the following:

         When interviewed by Anthony Pagan of the Federal Public Defender Office
         prior to giving his 1997 affidavit, [Callen] indicated that law enforcement
         officers had talked about helping him find a job, had pressured him, and had
         not wanted him to talk to the defense. If there was in fact any assistance given,
         or pressure put upon this witness, those facts must be disclosed forthwith in
         accordance with the State’s continuing duty of disclosure . . .

  DE 103 at 110 n.37. Brewer provides no citation for this information. Brewer’s state habeas
  application includes four affidavits from Callen, but none mention these matters. 5 SHCR
  1528–40. To the extent this is a claim for relief, it is unexhausted and procedurally defaulted.
  Moreover, it is clearly speculative and conclusory.

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        At Brewer’s original trial in 1991, Nystrom’s records were sealed by the trial

  judge because he did not see their relevance since Nystrom did not testify. At the re-

  trial, defense counsel requested to review them because Nystrom would be testifying.

  The judge advised the defense that he would make a decision on their request prior

  to cross-examination. When the State ended its direct examination of Nystrom, the

  judge asked Nystrom if she would give the defense permission to review her records.

  She responded, “No.” The judge, having reviewed the records in camera, left them

  sealed because he found no relevance to them “or very little that’s even remotely

  helpful.” 22 RR 159–63, 226.

        Because nothing was suppressed, Brewer is not raising a valid claim under

  Brady v. Maryland.      Nystrom’s medical records were not even in the State’s

  possession; they were under seal with the trial court. The defense obviously knew

  this because counsel sought a ruling from the court. See United States v. Agurs,

  427 U.S. 97, 103 (1976) (Brady applies to “information which had been known to the

  prosecution but unknown to the defense”). Brewer recently claimed in his motion for

  a hearing on this issue that “the record contradicts this assertion, and suggests that

  trial prosecutor Mr. Farren possessed the records and handed a copy to the judge

  when he requested them.” See DE 94 at 33 (citing 22 RR 163). This may be true, but

  he also ignored this statement from defense counsel when the matter was discussed:

        It’s our understanding Ms. Nystrom is coming next, and there are
        records of hers . . . from the Big Spring Hospital, Your Honor. It is our
        understanding that they are here. In fact, Mr. Odiorne in looking at the
        exhibits, picked them up, realized what they were, put them back down,
        because it’s our understanding that they are under seal. And so she is



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        now testifying, and we would like to be able to look at those records
        before cross of her.

  22 RR 160 (emphasis added).        Thus, the defense had access to them, at least

  momentarily, but did not look at the records knowing they were under seal. The issue

  here is the trial court’s decision to seal records, not suppression by the State. Read

  properly, Brewer’s claim is that the trial court erred in ruling that the evidence would

  remain under seal, which is an evidentiary issue not cognizable on federal habeas

  review. Cupit, 28 F.3d at 536.38 And Brewer has failed to demonstrate that the

  admission of these records rendered his trial unfair. See DE 48 at 41.

        Finally, Brewer’s claim fails because he is arguing that the evidence was

  crucial to place more blame on Nystrom. As stated above, defense counsel said they

  had no intention of implementing a blame-shifting strategy. Trying to point the

  finger at Nystrom when it is clear Brewer committed the murder would have only

  damaged the defense’s credibility. And the idea that the evidence was needed to

  undermine Nystrom’s credibility is illogical given that Nystrom was Brewer’s

  accomplice and is serving a life sentence for this crime. Thus, the jury had all the

  evidence it needed to question her credibility. Miller v. Dretke, 431 F.3d 241, 251 (5th

  Cir. 2005) (“If the evidence provides only incremental impeachment value, it does not

  rise to the level of Brady materiality.”). Because Brewer can demonstrate neither

  suppression nor materiality, this claim is both procedurally barred and substantively

  meritless on de novo review.


  38    Brewer suggests in the alternative that to the extent the records were available,
  counsel were ineffective for failing to impeach Nystrom with them. DE 103 at 108. But
  Brewer’s counsel were not ineffective because they in fact requested the records.

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  VIII. Brewer’s Claims that the State Presented False and Misleading
        Testimony About Conditions of Confinement and that Trial and
        Appellate Counsel Were Ineffective Have No Merit.

         Brewer alleges that the State presented false and misleading testimony that,

  if sentenced to life in prison, Brewer would be eligible “for significantly less restrictive

  custody than he actually would, including that Mr. Brewer could be housed outside

  the prison fence with little to no supervision.” DE 103 at 114. He also claims that

  trial counsel failed to introduce any evidence rebutting this testimony, and that

  appellate counsel was ineffective for not raising the issue on appeal. Id. at 118–19.

  Brewer’s claims pertain to testimony by the State’s witnesses Bryant and Merillat,

  who testified in part about how capital murderers sentenced to life in prison are

  classified. See 23 RR 88–169. Brewer particularly takes exception to two statements

  by Merillat: (1) that a convicted murderer sentenced to life “will go anywhere there’s

  a bed available for that particular classification,” and (2) those inmates “are

  restricted in the kind of work they can do, but not where they’re housed or how they

  co-mingle with other inmates.” DE 103 at 116 (citing 23 RR 161–62). He also claims

  that Merillat lied about his remuneration for appearing at trial. Id. at 117. The state

  court properly rejected these claims, including the ineffectiveness claims. 10 SHCR

  3095–3110, 3145–50.

         As an initial matter, the state court found that Brewer defaulted his allegation

  that the State knowingly presented false testimony because he could have raised the

  claim on direct appeal and failed to do so. 10 SHCR 3145–46. Thus, this claim is

  procedurally barred. Dorsey, 494 F.3d at 532; Busby, 359 F.3d at 719. The arguments



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  Brewer has previously made in response to this bar are that the state court did not

  plainly apply it because it also reached the merits and that an extra-record claim

  cannot be raised on direct appeal. DE 48 at 41–42. The former argument is foreclosed

  under Harris, Busby, and Fisher, and the CCA adopted the state court’s finding

  thereby disagreeing with the latter argument. Moreover, Brewer’s allegation that

  this is an “extra-record claim” is not based on any new evidence, such as a recantation

  from Merillat, but on an affidavit from Frank Aubuchon about classification

  procedures, which has always been available to Brewer. In fact, the main state case

  Brewer relies on, Estrada v. State,39 is one where Merillat provided unintentionally

  false testimony, and the issue was addressed by the CCA on direct appeal.

  313 S.W.3d at 286–88. The error that occurred in Estrada and Velez did not occur

  here. Brewer’s arguments are meritless, and the claim is defaulted.

        Next, Brewer’s claim requires that he show: “1) the testimony was actually

  false, 2) the state knew it was false, and 3) the testimony was material . . . . The

  testimony is material if there is any reasonable likelihood that the false testimony

  could have affected the judgment of the jury.” Canales, 765 F.3d at 573 (citations and

  internal quotations omitted). Brewer’s claim fails because, as the state court found,

  none of the disputed testimony was false.

        Here, neither Merillat nor Bryant were asked whether an inmate given a life

  sentence for capital murder (1) will remain at a G3 level for a minimum of ten years;

  (2) can ever rise to a G1 level; and (3) will not be allowed to work on a job without


  39   313 S.W.3d 274 (Tex. Crim. App. 2009); see also Velez v. State, No. AP-76,051, 2012
  WL 2130890 (Tex. Crim. App. June 13, 2012).

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  armed supervision. 10 SHCR 3097; see also 7 SHCR 2030–31. Merillat also provided

  an affidavit on state habeas review, which the state court found to be credible.

  Merillat said that when asked if capital murderers sentenced to life are sent to a

  “special unit,” he “responded in the negative” but with these qualifications: (1) capital

  murderers sentenced to life in prison are assigned a “default” G3 classification; (2) G3

  inmates cannot be housed in minimum security locations; and (3) G3 inmates are

  incorporated into the general population with certain restrictions on housing and

  work. But they are not sent to a “special unit.” 7 SHCR 2024, 2026; 10 SHCR 3100.

  In his affidavit, Aubuchon stated that Merillat’s testimony about where inmates are

  housed was misleading because G3 offenders cannot be assigned a less restrictive

  custody for at least ten years. 4 SHCR 863. Merillat did not disagree with the

  statement about the ten-year requirement, but the restriction in custody “did not

  alter my testimony concerning where a G3 offender would be housed, according to his

  classification, nor does it render my testimony false or misleading.” Specifically, “[a]n

  inmate offender designated G3 [], regardless of the requirement that he serve ten

  years flat before becoming eligible for less restrictive custody will still be assigned to

  any unit that has a bed available for that particular classification.” 7 SHCR 2026;

  10 SHCR 3101 (emphases in original). Merillat then stated:

        Parenthetically, I note that Mr. Aubuchon’s affidavit confirms the truth
        and accuracy of my in-court testimony concerning the placement of G3
        offenders, like [Brewer], in “housing areas that are specifically
        designated for General Population Level III G3 custody offenders” which
        may be dependent on population levels and availability, when he states
        that G3 offenders “can be housed only with other G3 offenders, except
        when there are not enough G3 offenders to fill a cellblock, in which case



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         G2 and G3 offenders may be mixed in one cellblock area.” (emphasis
         added). This is substantially what I told the jury.

  7 SHCR 2027. Merillat further asserted that had he been asked about the “ten-year

  rule,” his testimony would have been consistent with Aubuchon’s affidavit.               Id.

  Indeed, although not asked, Bryant volunteered the information about the ten-year

  rule to the jury. 23 RR 99.40

         As for Merillat’s assertion that inmates “are restricted in the kind of work they

  can do, but not where they’re housed or how they co-mingle with other inmates,” he

  explained that conditions like overcrowding may require housing G3 and G2

  offenders together. But this exception is not allowed without the approval of the State

  Classification Committee. The rules do permit certain interaction between G3, G2,

  and G1 offenders. “Thus, my testimony was accurate and true, particularly when I

  observed in general terms that G3 offenders ‘start out’ under these conditions and,

  according to existing regulations, are permitted limited contact with offenders with a

  less restrictive custody status . . .” 7 SHCR 2028–29; 10 SHCR 3102–03.

         Brewer’s claim that Merillat lied about his remuneration is also meritless. He

  argues that because Merillat said he charged the State $495.00 per day for his expert

  services, he was charging 2.5 times his daily pay. Thus, he complains, the jury did

  not learn that Merillat profited from his testimony. DE 103 at 117. But as Merillat




  40     In his petition, Brewer states: “[T]he testimony of both Bryant and Merillat omitted
  the fact that, if sentenced to life, the 18 years Mr. Brewer has already served in TDCJ would
  not count towards that total, and the 10-year requirement would begin anew.” DE 103 at
  117. But neither Bryant nor Merillat stated or even inferred that that the ten-year rule did
  not apply because Brewer had already served that time. Brewer’s suggestion that the jury
  was given this impression by a topic never broached is conjecture.

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  explained, he charges $495.00 for his expert services because he is required to “burn”

  a vacation day when he testifies and has to deal with the inconvenience of traveling.

  23 RR 132–33; 7 SHCR 2029. Thus, he did not receive any additional benefit; the fee

  reflected compensation for what he lost. At any rate, Brewer has failed to show how

  this is material or otherwise affected the outcome of the trial.

        In his reply, Brewer argued that “the State does not address or explain

  Merillat’s unambiguous testimony that when inmates convicted of capital murder

  and sentenced to life first enter the prison system they are not restricted regarding

  ‘where they’re housed.’” DE 48 at 42. The Director addressed this above; Merillat

  stated his testimony was in fact accurate.       At best, Brewer’s complaint is that

  Aubuchon provided contradictory or inconsistent information about some of these

  matters, but as stated, contradictory or inconsistent testimony from or between

  prosecution witnesses do not, standing alone, establish perjury. Koch v. Puckett, 907

  F.2d 524, 531 (5th Cir. 1990); United States v. Martinez–Mercado, 888 F.2d 1484,

  1492 (5th Cir. 1989) (holding that the omission of certain facts from the reports and

  written statements of the prosecution’s witnesses, alone, is not adequate to put the

  prosecution on notice of perjury on their part, much less establish such perjury in fact

  occurred). Moreover, Brewer is simply nitpicking Merillat’s testimony. Hypothetical

  testimony about where Brewer could potentially be housed, whether right or wrong,

  does not rise to the level of material evidence sufficient to sway the jury.

        Brewer then argued: “[T]he State does not address Merillat’s false testimony

  that Mr. Brewer would be allowed to work in a furniture workshop or similar factory



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  in prison if sentenced to life.” DE 48 at 42. Brewer’s claim is misleading. Merillat

  testified that inmates in general population are allowed to work in certain factories,

  without mentioning Brewer or G3 inmates. 23 RR 158. He then asserted that

  inmates sentenced to life in prison are restricted in the kind of work they can do.

  23 RR 162. In his affidavit, Aubuchon leapt to many conclusions, one being that

  Merillat was talking about G3 offenders. Aubuchon stated: “[I]t would be virtually

  impossible for a G3 offender to be assigned to any factory within TDCJ because of the

  work restrictions placed on these offenders. G3 offenders are restricted to where they

  can work within the main building of the prison unit.” 4 SHCR 863–64. The latter

  sentence mirrors exactly what Merillat said. And in his affidavit, Merillat asserted,

  in reply to Aubuchon, that had he been asked more specific questions about work

  assignments, “I would have truthfully and honestly told the jury how a G3 offender

  is indeed restricted in the kind of jobs he or she can be assigned to.” 7 SHCR 2030–

  31; see also id. at 2031 (“Aubuchon’s ill-informed half-baked suggestion that I gave

  the jury some kind of false impression through omission as a result of my having

  failed to volunteer this additional information is totally without merit.”). Thus, this

  is not a case of a witness providing false testimony, let alone one where the

  prosecution knowingly presented such testimony. Instead, Brewer takes certain

  statements out of context, complains about omissions, takes Aubuchon’s affidavit at

  face value while discounting Merillat’s, and then speculates about what the jury was

  thinking. As stated, any contradictory information provided by Aubuchon, even if




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  believed, is insufficient to demonstrate a viable claim. Brewer’s Napue claim is also

  undermined by Devoe v. Davis, where the federal district court held:

        [T]his Court independently concludes Petitioner has failed to allege any
        specific facts showing the prosecution knowingly elicited any factually
        inaccurate or misleading testimony from Merillat during Petitioner's
        2009 capital murder trial. The fact Merillat may have testified
        erroneously in other cases regarding the details of the TDCJ's inmate
        classification system does not in any way establish a [ ] Napue violation
        where there is no showing Merillat testified erroneously during
        Petitioner’s 2009 trial.

  No. A-14-CA-151-SS, 2016 WL 5408169, at *18 (W.D. Tex. Sept. 27, 2016); see also

  Ruiz v. Davis, --- F. App’x ---, 2020 WL 3815296, at *3 n.5 (5th Cir. July 8, 2020).

        Regarding Brewer’s ineffectiveness claims, he simply says “[t]o the extent

  evidence rebutting the State’s false and misleading testimony was available to trial

  counsel, counsel was ineffective for failing to investigate and present this evidence.”

  DE 103 at 118. Brewer does not explain how counsel should have rebutted the

  testimony.   Thus, his allegation is conclusory.     Moreover, counsel believed that

  Merillat’s testimony would support the defense’s case that Brewer had not committed

  acts of violence in prison despite the opportunity to do so and chose not to challenge

  Merillat as a matter of sound trial strategy. 7 SHCR 2008–09, 2013; 10 SHCR 3099–

  3100, 3103–04; 3105–07. In his affidavit, trial counsel Keith stated:

        I and the defense team were familiar with the type of testimony
        Mr. Merillat offers at trial. Based upon our investigation of the facts of
        this case, Mr. Brewer’s record at both the Polunsky and Ellis Units and
        Mr. Merillat, the basic defensive strategy in this area was that if
        Mr. Merillat testified in his normal manner it would demonstrate that
        Mr. Brewer, while in this environment described by Merillat, was not a
        part of any violence, moreover not the things described by Merillat.
        According to Merillat’s testimony, Mr. Brewer would have had every



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        opportunity for violence and mayhem, yet he chose not to engage in this
        behavior.

  7 SHCR 2013. For example, on cross-examination, Merillat conceded the following:

  (1) inmates on death row do, by choice, commit acts of violence despite the enhanced

  security; (2) prior to 1999, death row was on the Ellis Unit, which was more like a

  general population unit than Polunsky; and (3) he never recalled having to

  investigate Brewer. 23 RR 164–69. The defense’s decision to use Merillat’s testimony

  to its benefit, given that Brewer had been incarcerated for eighteen years, was

  reasonable under the circumstances and should not be second-guessed. Indeed, had

  counsel chosen Brewer’s tactic of nitpicking Merillat’s testimony to assure the jury

  that Brewer would never have an opportunity to harm anyone, that could have

  implied that Brewer required strict confinement to prevent him from committing any

  violence. Moreover, Merillat did not provide much testimony specific to Brewer; his

  testimony was primarily limited to prison classification and environment. In other

  words, he did not provide any evidence pertaining to the central issue of Brewer’s

  future dangerousness. Thus, Brewer cannot demonstrate prejudice.

        Finally, Brewer’s claim that appellate counsel was ineffective for failing to

  raise this issue fails because, as shown, the State did not knowingly provide false

  testimony.   Also, as the state court found, counsel did not object to Merillat’s

  testimony for strategic reasons; thus, error would not have been preserved for appeal.

  10 SHCR 3108–09. Moreover, Brewer’s claim is premised on the CCA’s decision in

  Estrada v. State where the State conceded error because Merillat provided testimony

  about the “ten-year rule” that was unintentionally false. DE 103 at 118–19; Estrada,

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  313 S.W.3d at 286–87. The “ten-year rule” changed effective September 1, 2005, to

  preclude those capital offenders sentenced to life without parole from ever achieving

  a classification higher than G3, Estrada, 313 S.W.3d at 287, although the CCA

  mentioned that “it appears that before September 1, 2005, a sentenced-to-life-with-

  the-possibility-of-parole capital murderer could have obtained a lower and less

  restrictive G-3 status after ten years.” Id. Merillat testified that the “ten-year rule”

  applied to Estrada when it did not, id., and Brewer contends that “[t]he situation in

  this case is no different.” DE 103 at 119. Brewer is incorrect. Estrada is not on point

  because (1) Merillat did not provide any testimony about this rule, and, more

  importantly, (2) the new TDCJ rule does not apply to Brewer because at the time he

  committed his capital offense—April 26, 1990—he was parole eligible if sentenced to

  life, which includes his 2009 re-trial. See Buntion v. State, 482 S.W.3d 58, 108 (Tex.

  Crim. App. 2016) (“[T]hose defendants convicted at trial of capital-murder offenses

  occurring before September 1, 1991 are eligible for life imprisonment with the

  possibility of parole . . .”) (Alcala, J., concurring); see also Tex. Code Crim. Proc. art.

  37.0711, Section 1 (procedure in a capital case for an offense committed before

  September 1, 1991 “whether the sentencing procedure is part of the original trial of

  the offense, an award of a new trial for both the guilt or innocence stage and the

  punishment stage of the trial, or an award of a new trial only for the punishment

  stage of the trial”).41   Because Estrada would have afforded Brewer no relief,


  41     In his petition, Brewer states the jury sent out two notes regarding whether Brewer
  was eligible for parole, thus showing concern about his long-term future and supervision.
  DE 103 at 118 (citing 25 RR 227–28). “A juror confronted with the testimony of Merillat and
  Bryant would have been left with the strong impression that Mr. Brewer was only a few steps

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  appellate counsel could not have been ineffective for failing to raise it. Thus, the state

  court’s denial of relief is not unreasonable.

  IX.    Brewer’s Claim of Cumulative Error Does Not State a Basis for Relief.

         Brewer alleges that his constitutional rights were violated due to the

  cumulative effect of the State’s, trial court’s, and trial counsel’s errors. DE 103 at

  119. This claim fails for two reasons. First, Brewer never raised a cumulative-error

  claim on direct appeal or state habeas review. Therefore, the claim is unexhausted

  and procedurally barred. Coleman, 501 U.S. at 735 n.1 (1991); Beatty, 759 F.3d at

  465; Nobles, 127 F.3d at 420, 422. Second, the Fifth Circuit has repeatedly held that

  individual errors not of constitutional dimension cannot be cumulated to form an

  error worthy of relief. United States v. Thomas, 724 F.3d 632, 648 (5th Cir. 2013)

  (“there is no precedent supporting the idea that a series of ‘errors’ that fail to meet

  the standard of objectively unreasonable can somehow cumulate to meet the high

  burden set forth in Strickland”); Coble, 496 F.3d at 440; Turner v. Quarterman,

  481 F.3d 292, 301 (5th Cir. 2007) (“[W]here individual allegations of error are not of

  constitutional stature or are not errors, there is ‘nothing to cumulate.’”) (quoting

  Yohey, 985 F.2d at 229).       As shown, none of Brewer’s claims have merit; thus

  cumulation would afford Brewer no relief. Finally, the Fifth Circuit has recognized

  that the Supreme Court has never accepted cumulative error as a valid constitutional




  away from unsupervised access to the outside world if sentenced to life, and on that basis
  voted for death.” Id. The problem with this argument is that, as shown, Brewer was parole
  eligible if he had been sentenced to life, so any concern the jury had was justified. Brewer’s
  latter statement about the impression conveyed to the jury is conjecture because neither
  witness testified or implied anything close to Brewer’s claim.

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  claim. Hill v. Davis, 781 F. App’x 277, 280–81 (5th Cir.), cert. denied, 140 S. Ct. 389

  (2019). Thus, Brewer’s cumulative-error claim must be denied.

  X.    Brewer’s Challenges to Article 37.0711 Are Defaulted and Meritless.

        Brewer alleges that he was tried and sentenced to death under an

  unconstitutional statutory scheme; the trial court erred in denying his motion to

  declare Article 37.0711 unconstitutional; and appellate counsel was ineffective for

  failing to challenge the statute. Brewer challenges the statute on three grounds: (1) it

  permits the admission at punishment of unadjudicated extraneous offenses without

  requiring the State to prove the offenses beyond a reasonable doubt, in violation of

  Ring v. Arizona42; (2) it is vague because it does not define the terms “probability,”

  “criminal acts of violence,” or “continuing threat to society”; and (3) it requires ten or

  more jurors to answer the future-dangerousness special issue “No” or the mitigation

  special issue “Yes” (the “10-12” rule). DE 103 at 120–24.

        First, with regard to Brewer’s claims that the statute itself is unconstitutional

  and the trial court erred in denying his motion declaring the statute unconstitutional,

  these claims are unexhausted and procedurally barred. Brewer did not raise those

  legal challenges in his state habeas application; rather he presented these challenges

  solely as claims of ineffective assistance of appellate counsel. 2 SHCR 435–43.

        Second, Brewer did not present his first challenge to the statute—that the

  statute permits the admission of unadjudicated extraneous offenses—in his state

  habeas application.     Although he briefly referred to the topic in his habeas



  42    536 U.S. 584 (2002).

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  application, he claimed that appellate counsel was ineffective for failing to challenge

  Texas’s death-penalty scheme because it does not require that certain terms be

  defined in the indictment. 2 SHCR 435–43. The instant allegation is not the same;

  thus, it is unexhausted and procedurally barred. To the extent it is exhausted, the

  state court properly rejected it. 10 SHCR 3161–62. The Fifth Circuit has held that

  the Constitution does not require that the State prove unadjudicated extraneous

  offenses beyond a reasonable doubt at punishment, and it has rejected the argument

  premised on Ring. See, e.g., Parr v. Thaler, 481 F. App’x 872, 879 (5th Cir. 2012);

  Jackson v. Dretke, 181 F. App’x 400, 410 (5th Cir. 2006). The Fifth Circuit has also

  found this claim to be barred under the non-retroactivity doctrine of Teague v. Lane,

  489 U.S. 288 (1989). Hughes v. Dretke, 412 F.3d 582, 593 (5th Cir. 2005).

        Third, regarding Brewer’s claim about the failure to define the three terms

  above, he did not raise this specific claim on state habeas review.         Rather, he

  referenced the issue in his claim that appellate counsel failed to challenge the Texas

  statute for not requiring that the terms be defined in the indictment. 2 SHCR 435–

  43. Thus, it is unexhausted and procedurally barred. Regardless, the Fifth Circuit

  has repeatedly denied this claim, Sprouse v. Stephens, 748 F.3d 609, 622–23 (5th Cir.

  2014) (rejecting claim that the terms “probability,” “criminal acts of violence,” or

  “continuing threat to society” must be defined); Leal v. Dretke, 428 F.3d 543, 552–53

  (5th Cir. 2005) (listing numerous Fifth Circuit opinions rejecting complaints about

  the failure of Texas courts to define the terms “probability,” “criminal acts of




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  violence,” and “continuing threat to society”), and has determined the claim is Teague-

  barred, Rowell v. Dretke, 398 F.3d 370, 378–79 (5th Cir. 2005).

        Fourth, the state court rejected Brewer’s challenge to Texas’s “10-12 Rule.”

  10 SHCR 3158–59. This decision is not unreasonable because both the United States

  Supreme Court and Fifth Circuit have rejected the claim that jurors must be informed

  of the effect of one holdout juror, despite the requirements of the statute. Jones v.

  United States, 527 U.S. 373, 382 (1999); Davila v. Davis, 650 F. App’x 860, 871–72

  (5th Cir. 2016), aff’d on other grounds, 137 S. Ct. 2058 (2017); Sprouse, 748 F.3d at

  623; Druery, 647 F.3d at 542–44. The Fifth Circuit has also held this claim is Teague-

  barred. Alexander v. Johnson, 211 F.3d 895, 897 (5th Cir. 2000).

        Lastly, the state court’s rejection of Brewer’s claims that appellate counsel was

  ineffective for failing to raise these issues on appeal is not objectively unreasonable.

  10 SHCR 3132–34, 3158–64. The CCA has repeatedly rejected these claims. Coble,

  330 S.W.3d at 297 (“[A]ppellant argues that the statutory ‘future dangerousness’

  special issue is unconstitutional because the terms ‘probability,’ ‘criminal acts of

  violence,’ and ‘society’ are not defined. We have repeatedly rejected these claims.”);

  Mays v. State, 318 S.W.3d 368, 397 (Tex. Crim. App. 2010) (“We have previously held

  that the ‘10–12 Rule’ is constitutional and that no Supreme Court precedent requires

  the trial judge to inform the jurors of the effect of a ‘holdout’ juror.”); Russeau,

  171 S.W.3d at 885–86 (Ring does not require that special issues be pled in indictment;

  also rejecting challenge to the “10-12” rule); Paredes v. State, 129 S.W.3d 530, 541

  (Tex. Crim. App. 2004) (“The admission of unadjudicated extraneous offenses at the



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  punishment phase of a capital case does not violate due process.”); Tong v. State,

  25 S.W.3d 707, 711 (Tex. Crim. App. 2000) (en banc) (the statute allows for the

  admission of unadjudicated extraneous offenses and does not violate the Fourteenth

  Amendment). Therefore, these claims would not have succeeded on appeal.

  XI.   Brewer’s Claim that the Trial Court Improperly Allowed Thirteen
        Unqualified Jurors to Remain on the Jury Panel Is Procedurally
        Defaulted, Conclusory, and Invalid.

        Brewer alleges that the trial court violated his rights by allowing unqualified

  jurors to remain on the panel, forcing the defense to “burn” thirteen peremptory

  strikes. Brewer states: “These thirteen jurors ranged from automatic death jurors to

  those who could not consider mitigating evidence once someone has been convicted of

  first degree murder, to a juror who thought death appropriate for vehicular homicide

  and one who believed in an eye for an eye.” He then lists the jurors. DE 103 at 124.

        Brewer raised this allegation on state habeas review, and the state court found

  that Brewer forfeited the claim because he should have raised it on direct appeal.

  10 SHCR 3139–40, 3166–67. Therefore, the claim is procedurally barred.

        Moreover, the state court determined that the trial judge’s decision not to

  remove these prospective jurors did not violate Brewer’s constitutional rights. Id.

  This decision is not unreasonable because Brewer has failed to present any briefing

  to support his claim, other than naming the jurors and providing vague references to

  some of their testimony. Conclusory allegations do not state a claim for federal

  habeas corpus relief and are subject to summary dismissal. Koch, 907 F.2d at 530;

  Ross, 694 F.2d at 1011–12.



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         Finally, this is not a valid constitutional claim. In Ross v. Oklahoma, the

  Supreme Court held:

         We have long recognized that peremptory challenges are not of
         constitutional dimension. They are a means to achieve the end of an
         impartial jury. So long as the jury that sits is impartial, the fact that
         the defendant had to use a peremptory challenge to achieve that result
         does not mean the Sixth Amendment was violated.

  487 U.S. 81, 88 (1988) (citations omitted). Thus, a trial court’s erroneous refusal to

  grant a defendant’s challenge for cause, thereby possibly forcing the defense to use a

  peremptory strike, is only grounds for reversal if the defendant establishes that the

  jury which actually sat to decide his guilt or innocence was not impartial. United

  States v. Snarr, 704 F.3d 368, 386 (5th Cir. 2013). Brewer has not made this showing,

  and his claim must be denied.

  XII.   Brewer’s Rights Were Not Violated by the Trial Court’s Decision Not
         to Grant the Defense’s Challenges for Cause.

         Brewer also contends that because he had to exercise peremptory strikes on

  jurors who should have been removed for cause, “automatic death jurors” were

  allowed to sit on his jury. Brewer specifically refers to two jurors he challenged for

  cause: Robinson and Morgan. However, he also lists the others who were on his jury,

  and he claims they all should have been removed for cause. DE 103 at 125.

         Brewer raised the claim pertaining to jurors Robinson and Morgan on habeas

  review. 2 SHCR 467–71. The state court found that the claim should have been

  raised on direct appeal but was not and, thus, was forfeited. 10 SHCR 3139–40, 3166–

  67. Therefore, the claim is procedurally defaulted. The state court also found that

  the trial court did not violate Brewer’s rights, and this decision is not objectively

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  unreasonable. Id. Additionally, it does not appear Brewer ever raised a claim, either

  on direct appeal or habeas review, specifically challenging the other jurors who sat

  on his jury.43     This portion of his claim is, consequently, unexhausted and

  procedurally defaulted.

         Brewer’s claim also has no merit. To prove a juror was biased, a petitioner

  must show that the juror had such a fixed opinion that the juror could not judge

  impartially. See Patton v. Yount, 467 U.S. 1025, 1035 (1984). Preconceived notions

  as to guilt or innocence are not adequate to show bias. See Murphy v. Florida,

  421 U.S. 794, 800 (1975). “It is sufficient if the juror can lay aside his impression or

  opinion and render a verdict based on the evidence presented in court.” Irvin v. Dowd,

  366 U.S. 717, 722–23 (1961).

         Here, juror Morgan did not say she would always vote for death if a defendant

  was convicted of capital murder. She said the Bible instructed her that it was her

  responsibility to look at all aspects of the case, listen carefully, and give her answer,

  19 RR 115; she would take everything into consideration and be fair, 19 RR 117, 135;

  remorse is important to her, 19 RR 126; she could find sufficient mitigating

  circumstances even if she found the defendant acted deliberately and was a future



  43      In his petition, Brewer’s frames this allegation as follows: “Upon information and
  belief, many of the seated jurors – Martinez, Trogden, Treat, Zavatsky, Eberly, Frazier,
  Lafleur, Elliot, Davis, Escobar, Morgan, and Francis – also should have been removed for
  cause but were not because the defense had burned its peremptory strikes on jurors the court
  refused to strike.” DE 103 at 125. He also complains that the court “denied a defense request
  for additional peremptory strikes.” Id. On state habeas review, Brewer alleged that he was
  forced to exercise peremptory strikes against thirteen veniremembers who should have been
  removed for cause, 2 SHCR 457–67, but he did not claim that because he had to exercise
  peremptory strikes against these veniremembers, he was unable to remove those who sat on
  the jury, aside from Morgan and Robinson, the latter being the alternate juror.

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  danger, 19 RR 128; not every juror has to agree on what evidence is mitigating, 19 RR

  130, 148; her questionnaire response that she believes in “an eye for an eye” is no

  longer her position, 19 RR 139; and if the other eleven jurors agreed on a special issue

  and she did not, she would not change her vote. 19 RR 146. Thus, the trial judge’s

  denial of the defense’s challenge for cause was not erroneous.

        Regarding juror Robinson, she was the alternate juror, 20 RR 97–98, and

  Brewer has presented nothing to show she cast a vote. Regardless, Robinson affirmed

  that she could listen to all the facts and evidence, put aside her personal feelings, and

  answer the special issues based on the evidence. 20 RR 57–59, 74. She also said that

  a life sentence is a “possibility” depending on the circumstances even if a person

  deliberately killed another, 20 RR 83, and she would need to hear evidence proving

  that Brewer acted deliberately regardless of the jury’s determination at the first trial

  that Brewer acted intentionally. 20 RR 65–66. Thus, the trial court’s denial of the

  defense’s challenge for cause of Robinson was not in error.

        As for the other jurors Brewer mentions, he does not point to any evidence or

  portions in the record demonstrating their supposed biases. This aspect of his claim

  is must be rejected as conclusory. Koch, 907 F.2d at 530; Ross, 694 F.2d at 1011–12.

  XIII. There Was No Ex Post Facto Violation.

        In his next claim, Brewer alleges a violation of the Ex Post Facto Clause. At

  the time Brewer committed capital murder, Texas law provided that where reversal

  is granted based on error occurring only during punishment, the defendant shall be

  granted a new trial on both guilt-innocence and punishment. However, effective



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  September 1, 1991, the law changed to permit a new trial as to punishment only with

  regard to capital offenses, and in 1993, the law was made retroactive to all capital

  murder defendants. Brewer claims that this change resulted in an ex post facto

  violation. DE 103 at 126–27.

        First, Brewer did not raise this claim in his subsequent application the CCA

  dismissed for abuse of the writ. SHCR2 49–50; Ex parte Brewer, 2019 WL 5420444,

  at *1. Thus, the claim is procedurally barred.

        Second, Brewer’s claim has no merit. Effective September 1, 1991, the Texas

  Legislature enacted Texas Code of Criminal Procedure, Article 44.29(c), which

  conferred upon the CCA the power to remand a death-penalty case for a hearing on

  punishment only. Clark v. State, 994 S.W.2d 166, 167 (Tex. Crim. App. 1999). A 1993

  provision enacted by the legislature applied the law to offenses occurring before, on,

  or after the effective date. Id. at 168.

        However, the change in the law did not result in an ex post facto violation. Any

  statute which punishes as a crime, an act previously committed, which was innocent

  when done, or which makes more burdensome the punishment for a crime, after its

  commission, or which deprives one charged with a crime of any defense available

  according to law at the time when the act was committed, is prohibited as ex post

  facto. Collins v. Youngblood, 497 U.S. 37, 42, 52 (1990). The instant case presents

  no such statutory change. Clearly, capital murder was an offense when Brewer

  committed the act in question, and a death sentence was a potential

  punishment. See Tex. Penal Code §§ 12.31 & 19.03 (Vernon’s 1990). The statute did



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  not alter the punishment or available defenses for capital murder. See Tex. Penal

  Code §§ 19.03, 12.31, 9.01 et seq. (Vernon’s 1990). As in Youngblood, where the

  statutory change allowed reformation of improper verdicts, the statutory change that

  Brewer complains of does not fall within the Supreme Court’s definition of ex post

  facto. Youngblood, 497 U.S. at 52; see also Grimes v. State, 807 S.W.2d 582, 586–87

  (Tex. Crim. App. 1991) (finding that companion statute for non-capital cases, Article

  44.29(b), did not violate Ex Post Facto Clause and citing Youngblood).

        In his reply, Brewer relied on Lindsey v. Washington44 for the proposition that

  he was deprived of “all opportunity” to receive a lesser sentence. 301 U.S. at 402;

  DE 48 at 44. In Lindsey, the defendant was convicted of grand larceny, and at the

  time of his offense, the law provided that the defendant could be sentenced to a term

  up to fifteen years imprisonment.      301 U.S. at 398.    Before the defendant was

  sentenced, the law changed and made the maximum fifteen-year sentence

  mandatory. Id. at 398–400. The Court held this was a violation of the Ex Post Facto

  Clause because the defendant no longer had the opportunity to be sentenced to a term

  less than fifteen years. Id. at 401. The Court stated: “It is plainly to the substantial

  disadvantage of petitioners to be deprived of all opportunity to receive a sentence

  which would give them freedom from custody and control prior to the expiration of

  the fifteen-year term.” Id. at 401–02. In his reply, Brewer latched on to the phrase

  “all opportunity” and stated that he was deprived of the opportunity to “receive no

  further punishment.” DE 48 at 44. Brewer, however, misconstrues the precedent.



  44    301 U.S. 397 (1937).

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         As Brewer concedes, the law at the time of his offense required a new trial on

  both guilt-innocence and punishment if the appellate court reversed on a punishment

  issue. DE 103 at 126 & n.52. It appears Brewer is arguing that because a full re-

  trial carried the possibility of a “not guilty” verdict and thus no punishment at all, he

  was deprived of “all opportunity” to receive that lesser sentence. But per Youngblood,

  the Ex Post Facto Clause is concerned with (1) punishing actions as crimes that were

  innocent when committed; (2) making more burdensome the punishment for a crime

  after its commission; or (3) depriving a defendant of a defense available when he

  committed the crime. The first and third factors clearly do not apply here, thus

  Brewer’s claim must rest on the second. However, even if Brewer had received a full

  re-trial, the punishment for the crime, i.e., a guilty verdict, still would have been life

  or death. Indeed, in Weaver v. Graham, on which Brewer also relies, the Court noted

  that “[w]hen a court engages in ex post facto analysis, [it should be] concerned solely

  with whether a statute assigns more disadvantageous criminal or penal consequences

  to an act than did the law in place when the act occurred, [and] it is irrelevant whether

  the statutory change touches any vested rights.”          450 U.S. 24, 29 n.13 (1981)

  (emphasis added).     The Youngblood Court also held the following regarding its

  original understanding of the Ex Post Facto Clause: “Legislatures may not

  retroactively alter the definition of crimes or increase the punishment for criminal

  acts.” 497 U.S. at 43. Even Lindsey fails to support Brewer’s claim. 301 U.S. at 401

  (“The Constitution forbids the application of any new punitive measure to a crime

  already consummated, to the detriment or material disadvantage of the wrongdoer.”).



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        Thus, Brewer’s claim is not that the potential punishment for his crime

  changed between his trials, but that he was deprived of second opportunity to prove

  his innocence, which, as a consequence, would lead to no punishment at all. This

  argument is, of course, contingent on a different guilt-innocence verdict, which is

  completely speculative and not a relevant factor to an ex post facto claim. Cf. Peugh

  v. U.S., 569 U.S. 530, 539 (2013) (“[W]e have made it clear that mere speculation or

  conjecture that a change in law will retrospectively increase the punishment for a

  crime will not suffice to establish a violation of the Ex Post Facto Clause.”). Indeed,

  Brewer’s claim is a clear distortion of the precedent, which is concerned with

  retroactive punishment changes where a defendant has been convicted of the crime

  charged. That is not the case here; thus, Brewer’s claim is meritless.

        Further, because the Supreme Court has never held that this change in Texas

  law violates the Ex Post Facto Clause, Brewer is seeking a new rule of constitutional

  law barred under Teague v. Lane.

        Finally, Brewer alleges that trial and appellate counsel were ineffective for

  failing to raise this issue. DE 103 at 126–27. Brewer raised these claims in his

  abusive habeas application. SHCR2 at 50. For the reasons stated, these claims are

  defaulted. Moreover, because Brewer’s ex post facto argument has no merit, neither

  trial nor appellate counsel could have been ineffective for failing to raise this matter.




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  XIV. Brewer’s Claim that His Death Sentence After a Prolonged Stay on
       Death Row Constitutes Cruel and Unusual Punishment Has Been
       Consistently Rejected.

        Finally, Brewer alleges that his execution after a prolonged stay on death row

  constitutes cruel and unusual punishment in violation of the Eighth Amendment.

  DE 103 at 127–28. Brewer did not raise this claim on either direct appeal or state

  habeas review. Therefore, it is unexhausted and procedurally barred. Regardless,

  the Fifth Circuit has repeatedly rejected this claim. Ruiz v. Davis, 850 F.3d 225, 228–

  29 (5th Cir. 2017); ShisInday v. Quarterman, 511 F.3d 514, 526 (5th Cir. 2007); Reed

  v. Quarterman, 504 F.3d 465, 488 (5th Cir. 2007). The Fifth Circuit has also found

  this claim to be Teague-barred. White v. Johnson, 79 F.3d 432, 438–39 (5th Cir. 1996).

  The claim must be denied.

                                     CONCLUSION

        For the above reasons, the Director respectfully requests that Brewer’s federal

  habeas petition be denied with prejudice. Furthermore, because the resolution of

  Brewer’s claims is not debatable among jurists of reason, the Court should deny a

  certificate of appealability. See Alexander, 211 F.3d at 898 (explaining that the

  district court has the power to sua sponte deny a certificate of appealability without

  prior briefing and argument by counsel).

                                          Respectfully submitted,

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                             CERTIFICATE OF SERVICE

        I do hereby certify that a copy of the above and foregoing Answer has been

  served electronically to Philip Wischkaemper, Peter Walker, and Shawn Nolan,

  counsel for Petitioner, on this the 20th day of July, 2020.



                                          /s/ Erich Dryden
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